                   Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 1 of 267

                                        FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                  TRIAL DIVISION - CIVIL
                                               OFFICE OF JUDICIAL RECORDS


            Eric Feder                                                           Steven J. Wulko, Deputy Director
   Deputy Court Administrator                                                    Anjeza Keirstead, Deputy Director
Director, Office of Judicial Records


                                             RECORD RECEIPT

                                                          Philadelphia Case Number:      \ q, ~ {) 06 l)..

          Dear Sir/Madam:

          . The enclosed case(s) have been REMOVED from the COURT OF COMMON PLEAS,
            PHILADELPHIA COUNTY to the US DISTRICT COURT, EASTERN DISTRICT OF
            PENNSYLVANIA, under 1)0 ~c..v - 4qq1

           Accordingly, I am enclosing all related filings.

           Please return this receipt addressed to:

                                                 Office of Judicial Records of
                                                     PhiladelpMa County
                                                  · Records Management
                                                     Room 264, City Hall
                                                   Philadelphia, PA 19107




           If you have any questions, please feel free to contact me at 215-686~ 7008.


                                                                          Office of Judicial Records
                Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 2 of 267
    -   >

                                                                                     PAGE      1
REPORT   ZDRDOCT                       First Judicial District                 RUN DATE 10/13/20
USER ID: DXS                             CIVIL DOCKET REPORT                   RUN TIME 12:03 PM
                                          CASE ID 191200012



CASE NUMBER                  CASE CAPTION
191200012                    COCHRAN VS ULTA BEAUTY INC.         ETAL

FILING DATE                  COURT            LOCATION    JURY
27-NOV-2019                  JS               CH          J

CASE TYPE: PREMISES LIABILITY, SLIP/FALL
STATUS: NOT OF REMOVAL TO US DIST CT


Seq # Assoc Expn Date            Type    ID              Party Name I Address & Phone No.

1                                APLF    A86013          SAILER, TODD M
                                                            FALCON LAW FIRM LLC
                                                            122 E.    COURT STREET
                                                            3RD FLOOR
                                                            DOYLESTOWN PA 18901
                                                             (267)838-2016
                                                             (215)345-6487 - FAX
                                                            t.sailer@FALCONLAWFIRM.COM

2           1                    PLF     @10764990       COCHRAN, DIANNE
                                                            4 BRAXTON COURT
                                                            QUAKERTOWN PA 18951

3           7                    DFT     @10764991       ULTA BEAUTY INC
                                                            1000 REMINGTON BLVD
                                                            #120
                                                            BOLINGBROOK IL 60440

4           7                    DFT     @10764992       ULTA BEAUTY
                                                            6164 CARLISLE PIKE
                                                            MECHANICSBURG PA 17050

5                    05-JAN-20   TL      J357            NEW, ARNOLD L
                                                            606 CITY HALL
                                                            PHILADELPHIA PA 19107
                                                             (215) 686-7260

6                                TL      J461            ANDERS, DANIEL J
                                                            ROOM 292 CITY HALL
                                                            PHILADELPHIA PA 19107

7                                ADFT    A206536         BAKER, SARAH M
                                                            1801 MARKET STREET
                                                            TEN PENN CENTER
                                                            SUITE 770
                                                            PHILADELPHIA PA 19103
                                                            (215)569-4433
                                                            (215)569-4434 - FAX
                                                            sbaker@kiernantrebach.com
             Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 3 of 267

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REPORT   ZDRDOCT                   First Judicial District             RUN DATE 10/13/20
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                                      CASE ID 191200012


Seq # Assoc Expn Date        Type    ID          Party Name I Address & Phone No.

8        7                   ADFT    A318898     ARSHANAPALLY, VAISHNAVI
                                                    KIERNAN TREBACH LLP
                                                    1801 MARKET ST SUITE 770
                                                    TEN PENN CENTER
                                                    PHILADELPHIA PA 19103
                                                     (215)569-4433
                                                     (215)569-4434 - FAX
                                                    varshanapally@kiernantrebach.com

9        7       03-SEP-20   DFT     @10919542   HARRELL, ERICA S
                                                    C/O ULTA
                                                    40 TOWN CENTER DRIVE
                                                    COLLEGEVILLE PA 19426

10                           ADDF    @10937068   MATCH CONVERGE
                                                    7361 COCA COLA DRIVE
                                                    HANOVER MD 21076

11                           ADDF    @10937069   CONVERGENCE MARKETING INC
                                                    7361A COCA COLA DRIVE
                                                    HANOVER MD 21076

12                           ADDF    @10937070   MATCH MARKETING GROUP
                                                    800 CONNECTICUT AVENUE
                                                    3RD FLOOR EAST
                                                    NORWALK CT 06584


Filing Date I Time        Docket Entry                                         Date Entered

27-NOV-19 13:06:59        ACTIVE CASE                                             02-DEC-19
                          E-Filing Number: 1911062392

27-NOV-19 13:06:59        COMMENCEMENT CIVIL ACTION JURY                          02-DEC-19
                                                                             SAILER, TODD M

27-NOV-19 13:06:59        PRAE TO ISSUE WRIT OF SUMMONS                         02-DEC-19
                                                                           SAILER, TODD M
                          PRAECIPE TO ISSUE WRIT OF SUMMONS FILED.     WRIT OF
                          SUMMONS ISSUED.

    27-NOV-19 13:06:59    JURY TRIAL PERFECTED                                    02-DEC-19
                                                                             SAILER, TODD M
                          12 JURORS REQUESTED.

    27-NOV-19 13:06:59    WAITING TO LIST CASE MGMT CONF                          02-DEC-19
                                                                             SAILER, TODD M

    07-JAN-20 16:10:10    ENTRY OF APPEARANCE                                      07-JAN-20
                                                                              BAKER, SARAH M
                          ENTRY OF APPEARANCE OF SARAH M BAKER FILED.        (FILED ON
                          BEHALF OF ULTA BEAUTY,INC. AND ULTA BEAUTY)
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                                 CASE ID 191200012


Filing Date I Time    Docket Entry                                    Date Entered

16-JAN-20 11:18:41    AFFIDAVIT OF SERVICE FILED                          16-JAN-20
                                                                    SAILER, TODD M
                      AFFIDAVIT OF SERVICE OF PLAINTIFF'S WRIT OF SUMMONS
                      UPON ULTA BEAUTY INC BY PERSONAL SERVICE ON 12/06/2019
                      FILED.   (FILED ON BEHALF OF DIANNE COCHRAN)

16-JAN-20 11:21:23    AFFIDAVIT OF SERVICE FILED                          16-JAN-20
                                                                    SAILER, TODD M
                      AFFIDAVIT OF SERVICE OF PLAINTIFF'S WRIT OF SUMMONS
                      UPON ULTA BEAUTY BY PERSONAL SERVICE ON 12/19/2019
                      FILED.  (FILED ON BEHALF OF DIANNE COCHRAN)

22-JAN-20 14:24:28    ENTRY OF APPEARANCE-CO COUNSEL                     22-JAN-20
                                                          ARSHANAPALLY, VAISHNAVI
                      ENTRY OF APPEARANCE OF VAISHNAVI ARSHANAPALLY AS
                      CO-COUNSEL FILED.  (FILED ON BEHALF OF ULTA SALON
                      COSMETICS & FRAGRANCE, INC.)

12-FEB-20 16:19:39    LISTED FOR CASE MGMT CONF                           12-FEB-20

14-FEB-20 00:30:16    NOTICE GIVEN                                        14-FEB-20

05-MAR-20 08:39:48    PLF CONTINUANCE REQ APPROVED                        05-MAR-20

05-MAR-20 08:40:06    LISTED FOR CASE MGMT CONF                           05-MAR-20

07-MAR-20 00:30:09    NOTICE GIVEN                                        07-MAR-20

14-APR-20 12:45:59    COMPLAINT FILED NOTICE GIVEN                        14-APR-20
                                                                    SAILER, TODD M
                      COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
                      AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.
                      (FILED ON BEHALF OF DIANNE COCHRAN)

14-APR-20 12:45:59    JURY TRIAL PERFECTED                                14-APR-20
                                                                     SAILER, TODD M
                      12 JURORS REQUESTED.

16-APR-20 00:30:06    NOTICE GIVEN                                        16-APR-20

 14-MAY-20 14:35:20   PRAECIPE TO REINSTATE CMPLT                         14-MAY-20
                                                                     SAILER, TODD M
                      COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
                      AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1
                      REINSTATED.   (FILED ON BEHALF OF DIANNE COCHRAN)

 12-JUN-20 14:43:06    PRAECIPE - WRIT TO JOIN                            15-JUN-20
                                                           ARSHANAPALLY, VAISHNAVI
                       PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                       MATCH CONVERGE. WRIT ISSUED.   (FILED ON BEHALF OF ULTA
                       BEAUTY AND ULTA BEAUTY INC)
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12-JUN-20 14:46:17   PRAECIPE - WRIT TO JOIN                            15-JUN-20
                                                         ARSHANAPALLY, VAISHNAVI
                     PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                     CONVERGENCE MARKETING, INC .. WRIT ISSUED.  (FILED ON
                     BEHALF OF ULTA BEAUTY AND ULTA BEAUTY INC)

12-JUN-20 14:49:49   PRAECIPE - WRIT TO JOIN                             15-JUN-20
                                                         ARSHANAPALLY, VAISHNAVI
                     PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                     MATCH MARKETING GROUP. WRIT ISSUED.    (FILED ON BEHALF
                     OF ULTA BEAUTY AND ULTA BEAUTY INC)

12-JUN-20 14:59:43   PRAECIPE TO REINSTATE CMPLT                         12-JUN-20
                                                                    SAILER, TODD M
                     COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
                     AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1
                     REINSTATED.   (FILED ON BEHALF OF DIANNE COCHRAN) ENTRY
                     OF APPEARANCE FILED ON BEHALF OF DIANNE COCHRAN.

26-JUN-20 15:37:09   ENTRY OF APPEARANCE                                 29-JUN-20
                                                                    BAKER, SARAH M
                     ENTRY OF APPEARANCE OF VAISHNAVI ARSHANAPALLY AND SARAH
                     M BAKER FILED.   (FILED ON BEHALF OF ERICA S HARRELL)

29-JUN-20 17:26:08   CASE MGMT CONFERENCE COMPLETED                      29-JUN-20
                                                                      ORVIK, ERIK

29-JUN-20 17:26:08   CASE MANAGEMENT ORDER ISSUED                         29-JUN-20
                     CASE MANAGEMENT ORDER STANDARD TRACK - AND NOW,
                     29-JUN-2020, it is Ordered that: 1. The case
                     management and time standards adopted for standard
                     track cases shall be applicable to this case and are
                     hereby incorporated into this Order.     2. All discovery
                     on the above matter shall be completed not later than
                     01-MAR-2021.   3. Plaintiff shall identify and submit
                     curriculum vitae and expert reports of all expert
                     witnesses intended to testify at trial to all other
                     parties not later than Ol-MAR-2021.     4. Defendant
                     and any additional defendants shall identify and
                     submit curriculum vitae and expert reports of all
                     expert witnesses intended to testify at trial not
                     later than 05-APR-2021.    5. All pre-trial motions
                     shall be filed not later than 05-APR-2021.    6. A
                     settlement conference may be scheduled at any time
                     after 05-APR-2021.    Prior to the settlement conference
                     all counsel shall serve all opposing counsel and file
                     a settlement memorandum containing the following: (a)
                     A concise summary of the nature of the case if
                     plaintiff or of the defense if defendant or additional
                     defendant; (b) A statement by the plaintiff or all
                     damages accumulated, including an itemization of
                     injuries and all special damages claimed by categories
        Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 6 of 267
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                      and amount; (c) Defendant shall identify all
                      applicable insurance carriers, together with
                      applicable limits of liability.     7. A pre-trial
                      conference will be scheduled any time after
                      07-JUN-2021.     Fifteen days prior to pre-trial
                      conference, all counsel shall serve all opposing
                      counsel and file a pre-trial memorandum containing the
                      following: (a) A concise summary of the nature of the
                      case if plaintiff or the defense if defendant or
                      additional defendant; (b) A list of all witnesses who
                      may be called to testify at trial by name and address.
                      Counsel should expect witnesses not listed to be
                      precluded from testifying at trial; (c) A list of all
                      exhibits the party intends to offer into evidence.
                      All exhibits shall be pre-numbered and shall be
                      exchanged among counsel prior to the conference.
                      Counsel should expect any exhibit not listed to be
                      precluded at trial; (d) Plaintiff shall list an
                      itemization of injuries or damages sustained together
                      with all special damages claimed by category and
                      amount.     This list shall include as appropriate,
                      computations of all past lost earnings and future lost
                      earning capacity or medical expenses together with any
                       other unliquidated damages claimed; and (e) Defendant
                       shall state its position regarding damages and shall
                       identify all applicable insurance carriers, together
                      with applicable limits of liability; (f) Each counsel
                       shall provide an estimate of the anticipated length of
                       trial.    8.  It is expected that the case will be ready
                       for trial 05-JUL-2021, and counsel should anticipate
                       trial to begin expeditiously thereafter.    9. All
                       counsel are under a continuing obligation and are
                       hereby ordered to serve a copy of this order upon all
                       unrepresented parties and upon all counsel entering an
                       appearance subsequent to the entry of this order .
                        ... BY THE COURT: DANIEL ANDERS, J.

29-JUN-20 17:26:08    LISTED FOR SETTLEMENT CONF                            29-JUN-20

 29-JUN-20 17:26:09   LISTED FOR PRE-TRIAL CONF                             29-JUN-20

 29-JUN-20 17:26:09   LISTED FOR TRIAL                                      29-JUN-20

 29-JUN-20 17:26:09   NOTICE GIVEN UNDER RULE 236                        30-JUN-20
                      NOTICE GIVEN ON 30-JUN-2020 OF CASE MANAGEMENT ORDER
                      ISSUED ENTERED ON 29-JUN-2020.

 10-JUL-20 14:31:28   ANSWER TO COMPLAINT FILED                          10-JUL-20
                                                          ARSHANAPALLY, VAISHNAVI
                      ANSWER WITH NEW MATTER TO PLAINTIFF'S COMPLAINT FILED.
                      (FILED ON BEHALF OF ULTA BEAUTY AND ULTA BEAUTY INC)


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10-JUL-20 17:04:59    PRAECIPE TO REINSTATE CMPLT                         13-JUL-20
                                                                     SAILER, TODD M
                      COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
                      AFTER SERVICE IN ACCORDANCE· WITH RULE 1018.1
                      REINSTATED.   (FILED ON BEHALF OF DIANNE COCHRAN)

13-JUL-20 14:23:43    PRAECIPE TO REISSUE SUMMONS                         13-JUL-20
                                                           ARSHANAPALLY, VAISHNAVI
                      PREACIPE TO REISSUE WRIT OF SUMMONS FILED. WRIT
                      REISSUED.   (FILED ON BEHALF OF ULTA BEAUTY AND ULTA
                      BEAUTY INC)

13-JUL-20 14:26:45    PRAECIPE TO REISSUE SUMMONS                         14-JUL-20
                                                           ARSHANAPALLY, VAISHNAVI
                      PREACIPE TO REISSUE WRIT OF SUMMONS FILED. WRIT
                      REISSUED.   (FILED ON BEHALF OF ULTA BEAUTY AND ULTA
                      BEAUTY INC)

13-JUL-20 14:29:54    PRAECIPE - WRIT TO JOIN                             14-JUL-20
                                                          ARSHANAPALLY, VAISHNAVI
                      PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                      MATCH MARKETING GROUP. WRIT RE-ISSUED.    (FILED ON
                      BEHALF OF ULTA BEAUTY AND ULTA BEAUTY INC)

13-JUL-20 14:53:09     PRAECIPE - WRIT TO JOIN                            14-JUL-20
                                                           ARSHANAPALLY, VAISHNAVI
                       PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                       MATCH CONVERGE. WRIT RE-ISSUED.   (FILED ON BEHALF OF
                       ULTA BEAUTY AND ULTA BEAUTY INC)

13-JUL-20 14:54:48     PRAECIPE - WRIT TO JOIN                            14-JUL-20
                                                           ARSHANAPALLY, VAISHNAVI
                       PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                       CONVERGENCE MARKETING INC. WRIT RE-ISSUED.   (FILED ON
                       BEHALF OF ULTA BEAUTY AND ULTA BEAUTY INC)

30-JUL-20 11:59:43     AFFIDAVIT OF SERVICE FILED                         30-JUL-20
                                                                     SAILER, TODD M
                       AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON
                       ERICA S HARRELL BY PERSONAL SERVICE ON 07/20/2020
                       FILED.  (FILED ON BEHALF OF DIANNE COCHRAN)

10-AUG-20 13:31:27     PRELIMINARY OBJECTIONS                             10-AUG-20
                                                           ARSHANAPALLY, VAISHNAVI
                       34-20080634 PRELIMINARY OBJECTIONS TO PLAINTIFF'S
                       COMPLAINT FILED.  RESPONSE DATE: 08/31/2020 (FILED ON
                       BEHALF OF ERICA S HARRELL)

13-AUG-20 14:39:30     PRAECIPE - WRIT TO JOIN                            14-AUG-20
                                                           ARSHANAPALLY, VAISHNAVI
                       PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                       CONVERGENCE MARKETING INC. WRIT RE-ISSUED.   (FILED ON
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                      BEHALF OF ULTA BEAUTY AND ULTA BEAUTY INC)

13-AUG-20 14:41:13    PRAECIPE - WRIT TO JOIN                            14-AUG-20
                                                          ARSHANAPALLY, VAISHNAVI
                      PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                      MATCH CONVERGE. WRIT RE-ISSUED.   (FILED ON BEHALF OF
                      ULTA BEAUTY AND ULTA BEAUTY INC)

13-AUG-20 14:42:53    PRAECIPE - WRIT TO JOIN                             14-AUG-20
                                                          ARSHANAPALLY, VAISHNAVI
                      PRAECIPE TO ISSUE WRIT TO JOIN ADDITIONAL DEFENDANT(S)
                      MATCH MARKETING GROUP. WRIT RE-ISSUED.    (FILED ON
                      BEHALF OF ULTA BEAUTY AND ULTA BEAUTY INC)

02-SEP-20 12:42:07    PRELIM OBJECTIONS ASSIGNED                         02-SEP-20
                      34-20080634 PRELIMINARY OBJECTIONS ASSIGNED TO JUDGE:
                      ANDERS, DANIEL J.  ON DATE: SEPTEMBER 02, 2020

08-SEP-20 10:14:10    ORDER ENTERED/236 NOTICE GIVEN                       08-SEP-20
                                                                    ANDERS, DANIEL J
                      34-20080634 IT IS ORDERED THAT DEFENDANT, ERICA S.
                      HARRELL'S PRELIMINARY OBJECTIONS ARE SUSTAINED.    IT IS
                      FURTHER ORDERED THAT PLAINTIFF'S COMPLAINT AS TO ERICA
                      S.  HARRELL IS STRICKEN AS A WHOLE, AND DISMISSED, WITH
                      PREJUDICE . . . . BY THE COURT; ANDERS, J. 9-3-20

08-SEP-20 10:14:11     NOTICE GIVEN UNDER RULE 236                        09-SEP-20
                       NOTICE GIVEN ON 09-SEP-2020 OF ORDER ENTERED/236 NOTICE
                       GIVEN ENTERED ON 08-SEP-2020.

ll-SEP-20 12:11:46     AFFIDAVIT OF SERVICE FILED                         ll-SEP-20
                                                           ARSHANAPALLY, VAISHNAVI
                       AFFIDAVIT OF SERVICE OF WRIT TO JOIN ADDITIONAL
                       DEFENDANT(S) UPON MATCH CONVERGE BY CERTIFIED MAIL ON
                       08/27/2020 FILED.  (FILED ON BEHALF OF ULTA BEAUTY AND
                       ULTA BEAUTY INC)

ll-SEP-20 12:13:12     AFFIDAVIT OF SERVICE FILED                          11-SEP-20
                                                           ARSHANAPALLY, VAISHNAVI
                       AFFIDAVIT OF SERVICE OF WRIT TO JOIN ADDITIONAL
                       DEFENDANT(S) UPON CONVERGENCE MARKETING INC BY
                       CERTIFIED MAIL ON 08/27/2020 FILED.   (FILED ON BEHALF
                       OF ULTA BEAUTY AND ULTA BEAUTY INC)

11-SEP-20 12:14:18     AFFIDAVIT OF SERVICE FILED                          11-SEP-20
                                                            ARSHANAPALLY, VAISHNAVI
                       AFFIDAVIT OF SERVICE OF WRIT TO JOIN ADDITIONAL
                       DEFENDANT{S) UPON MATCH MARKETING GROUP BY CERTIFIED
                       MAIL ON 08/27/2020 FILED.   (FILED ON BEHALF OF ULTA
                       BEAUTY AND ULTA BEAUTY INC)
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                                CASE ID 191200012


Filing Date I Time   Docket Entry                                                             Date Entered

08-0CT-20 14:46:23   RETURNED MAIL RECEIVED                              08-0CT-20
                     RETURNED MAIL ORDER DATED 09/03/20 AS UNDELIVERABLE AT
                     THE ADDRESS ON FILE WITH THE COURT TO THE FOLLOWING
                     PARTY: CONVERGENCE MARKETING INC.

09-0CT-20 15:34:25   NOT OF REMOVAL TO US DIST CT                        09-0CT-20
                                                                    BAKER, SARAH M
                     NOTICE OF REMOVAL TO THE U.S.   (EASTERN) DISTRICT COURT
                     UNDER 20-CV-4997.   (FILED ON BEHALF OF ULTA BEAUTY AND
                     ULTA BEAUTY INC)

13-0CT-20 10:50:47   RETURNED MAIL RECEIVED                              13-0CT-20
                     RETURNED MAIL ORDER DATED 09/03/20 AS UNDELIVERABLE AT
                     THE ADDRESS ON FILE WITH THE COURT TO THE FOLLOWING
                     PARTY: MATCH CONVERGE.




                            * * * End of Docket * * *




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                                                CERTlFl~DFROMTHERECOROO~ -Ocr 1 4 2020
                                                       ,,,- :_ - ERIC FEDER -~ -
                                                     DIRECTOR, OFFICE Of--JUDICIAL RECORDS
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        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        COMMENCEMENT CIVIL ACTION JURY

                              NOVEMBER 27, 2019 13:06:59

               Sequence:      2


       File:          1    Final Cover




zlrppdf 2127/2013                                                                    #9638357
                                                                            10/13/20 02:33 PM
                   Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 11 of 267

       Court of Common Pleas of Philadelphia County
                     Trial Division
                   Civil Cover Sheet
PLAINTIFF'S NAME                                                         DEFENDANTS NAME
 DIANNE COCHRAN                                                            ULTA BEAUTY INC.

PLAINTIFF'S ADDRESS                                                      DEFENDANTS ADDRESS
 4 BRAXTON COURT                                                           1000 REMINGTON BLVD #120
 QUAKERTOWN PA 18951                                                       BOLINGBROOK IL 60440


PLAINTIFF'S NAME                                                         DEFENDANTS NAME
                                                                           ULTA BEAUTY

PLAINTIFF'S ADDRESS                                                      DEFENDANTS ADDRESS
                                                                           6164 CARLISLE PIKE
                                                                           MECHANICSBURG PA 17050


PLAINTIFF'S NAME                                                         DEFENDANTS NAME




PLAINTIFF'S ADDRESS                                                      DEFENDANTS ADDRESS




TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS

               1

AMOUNT IN CONTROVERSY

                                                                                                              0 Settlement
0 $50,000.00 or less                                                                                          0 Minors
lil More than $50,000.00                                                                                      0 W/D/Survival
CASE TYPE AND CODE

  2S - PREMISES LIABILITY

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                     IS CASE SUBJECT TO
                                                                                                   COORDINATION ORDER?
                                                                                                               YES       NO


                                                                 NOV 27 2019
                                                                     A. SILIGRINI

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: DIANNE COCHRAN
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANTS ATTORNEY                     ADDRESS

 TODD M. SAILER                                                           FALCON LAW FIRM LLC
                                                                          122 E. COURT STREET
PHONE NUMBER                            FAX NUMBER                        3RD FLOOR
  (267)838-2016                         (215)345-6487                     DOYLESTOWN PA 18901

SUPREME COURT IDENTIFICATION NO.                                         E-MAIL ADDRESS

 86013                                                                    t.sailer@FALCONLAWFIRM.COM

SIGNATURE OF FILING ATTORNEY OR PARTY                                    DATE SUBMITTED
 TODD SAILER                                                              Wednesday, November 27, 2019, 01:06 pm

                                                 FINAL COPY (Approved by the Prothonotary Clerk)
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 12 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        PRAE TO ISSUE WRIT OF SUMMONS

                              NOVEMBER 27, 2019 13:06:59

               Sequence:      3


       File:          1    Cochran-PraecWritSummons.pdf
                      2    CochranWritofSummons.pdf
                      3    P Discovery in Aide of filing Complaint.pd£




zlrppdf 2127/2013                                                                    #9638357
                                                                            10/13/20 02:35 PM
            Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 13 of 267




                                                                                y the
Todd M. Sailer, Esquire                                                         cords

Falcon Law Firm, LLC                            Attorney for Plainli}j
I.D. #86013
122 E. Court Street, Doylestown, PA 18901
Tel: (215) 360-3880

DIANNE COCHRAN
4 Braxton Court                                 PHILADELPHIA COUNTY
Quakertown, PA 18951                            COURT OF COMMON PLEAS
                                                TRIAL DIVISION
       v.

ULTA BEAUTY, INC.                               NO:
1000 Remington Blvd. #120                       _ _ _ _ _ _ TERM, 20
Bolingbrook, IL 60440
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050


                            PRAECIPE FOR WRIT OF SUMMONS


TO THE PROTHONOTARY:

     Kindly issue a Writ of Summons in the above-captioned matter.


                                          Falcon Law Firm, LLC


                                    By:   Isl Todd M. Sailer, Esq.
                                          Attorney I.D. #86013
                                          Attorney for Plaintiff




                                                                         Case ID: 191200012
                     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 14 of 267

                                                                                                  Summons
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                                               <!Commonwealtb. of ~enn~plbania
                                                      COUNTY OF PHILADgLPI:IIA
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              DIANNE COCHRAN                                            COURT OF COivIMON\
           Plaintiff
                                                                        _ _ _ _ _Term, 20_ _

                                  vs.
                                                                        No . _ _ _ _ _ __

              ULTABEAUTY, INC. AND ULTA BEAUTY
           Defendant


              To 1
              ULTA BEAUTY iNc. and ULTA
              BEAUTY




                                                       Writ of Summons

              You are notified .that the Plaintitr2
              Usted esta avisado que el demandante
              DIANNE COCHRAN




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                 Date:. _ _ _ _ _ __.,

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)
          2
              Name(s) of Plaintiff(s)
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 15 of 267




                           Court of Common Pleas
                               _ _ _ _ _ Tenn, 20 _ __

                                   No._·_ _ _ __




                            DIANNE COCHRAN
                           Plaintiff·
                                          vs.

                            ULTA BEAUTY, INC. AND ULTA BEAjj
                           Defendant




                                    SUMMONS




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    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 16 of 267




Todd M. Sailer, Esquire
Falcon Law Firm, LLC                               Attorney for ¥l ,
I.D. #86013
122 E. Court Street, Doylestown, PA 18901
Tel: (215) 360-3880

DIANNE COCHRAN
4 Braxton Court                                    PHILADELPHIA COUNTY
Quakertown, PA 18951                               COURT OF COMMON
PLEAS
                                                   TRIAL DIVISION
        v.

ULTA BEAUTY, INC.                                  NO:
1000 Remington Blvd. #120                          _ _ _ _ TERM, 20_
Bolingbrook, IL 60440
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050


             Plaintiff's Interrogatories to Defendant in Aid of Filing
                                   A Complaint
       Plaintiff(s) by their attorneys, Todd M. Sailer and Falcon Law Firm, LLC,
hereby propound the following Interrogatories under and pursuant to the discovery
rules of Pennsylvania Rules of Civil Procedure. These Interrogatories are deemed
to continuing so as to require that information secured subsequent to the filing of
answers hereto, which would have been includable in the answers had it been
known or available, be supplied by supplemental answers.

      These Interrogatories must be answered separately and fully by you in the
space provided in writing under oath, or if insufficient space is provided, then in
writing under oath on a supplemental sheet.




                                                                           Case ID: 191200012
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 17 of 267




       The answers must be signed by you and under the Pennsylvania Rules of
Civil Procedure you must file and serve the answers on the attorney for the
Plaintiff within thirty (30) days after service of these Interrogatories. Failure to so
answer these Interrogatories may result in the entry of a judgment of a non pros or
default against you, or such other sanctions as may be ordered by the Court. The
word "person11 or "persons" shall include "entity11 or "entities11 •




1. Identify the manager of the store where the incident occurred on May 6, 2018 at
the Collegeville store.


2. Identify the persons or entities who were responsible for installing and
maintaining the nail polish display at the Collegeville store on and before May 6,
2018.


3. Identify any persons or entities who inspected, maintained and/or repaired the
nail polish display at the Collegeville store on and before May 6, 2018.


4. Identify how the nail polish display was secured from falling at the Collegeville
store on and before May 6, 2018.


5. Identify how the nail polish display at the Collegeville store was caused to fall
on the date of the incident May 6, 2018 which lead to Plaintiffs injuries.


6. Was Defendant responsible to inspect, maintain, and/or repair the nail polish
display at the Collegeville store on and before May 6, 2018. If the answer to this
interrogatory is yes, then state all ways in which Defendant was so responsible. If
the answer to this interrogatory is no, then state the basis thereof.




                                                                              Case ID: 191200012
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 18 of 267




7. Please produce any written agreements, correspondence, or other documents
between defendant and any other person or entity regarding the installation,
maintenance, and/or repair of the nail polish display at Defendant's Collegeville
store on and before May 6, 2018.


                                     FALCON LAW FIRM, LLC.


                                     BY: Isl Todd M. Sailer
                                         Todd M. Sailer, Esquire
                                         Attorney for Plaintiff
                                         Attorney I.D. #86013




                                                                         Case ID: 191200012
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 19 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        ENTRY OF APPEARANCE

                              JANUARY 7, 2020 16:10:10

               Sequence:      6


       File:          1    Cochran - Entry of Appearance.pd£




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  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 20 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
IDENTIFICATION NO: 206536                                        Office
TEN PENN CENTER, SUITE 770                                           o7 J.
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
Attorneys for Defendant, ULTA Salon Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                      j COURT OF COMMON PLEAS
                                                         PHILADELPHIA COUNTY

                          v.
                                         Plaintiff   IIDECEMBER TERM, 2019
                                          ,No: 00012
 ULTA BEAUTY, INC. and ULTA BEAUTY
                               Defendants I          1

                                                     I

                               ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter my appearance on behalf of Defendant, ULTA Salon Cosmetics &

Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty), in the

above-captioned matter.


                                         Respectfully submitted,
                                         BONNER KIERNAN TREBACH & CROCIATA LLP




                                         By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                             SARAH M. BAKER, ESQUIRE
                                             Attorney for Defendant, ULTA Salon Cosmetics
                                             & Fragrance, Inc. (improperly identified as
                                             ULTA Beauty, Inc. and ULTA Beauty)

Dated: January 7. 2020




                                                                                 Case ID: 191200012
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 21 of 267




                                CERTIFICATE OF SERVICE

       I, Sarah M. Baker, Esquire, hereby certify that the foregoing Entry of Appearance has

been electronically filed with the Court and is available for viewing and downloading from the

Electronic Filing System by the following:



                                  COUNSEL FOR PLAINTIFFS
                                    Todd M. Sailer, Esquire
                                   FALCON LAW FIRM, LLC
                                  122 E. Court Street, 3rd Floor
                                    Doylestown, PA 18901




                                             BONNER KIERNAN TR.EBACH & CROCIATA LLP




                                             By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                     SARAH M. BAKER, ESQUIRE
                                                     Attorney for Defendant, ULTA Salon
                                                     Cosmetics & Fragrance, Inc. (improperly
                                                     identified as ULTA Beauty, Inc. and ULTA
                                                     Beauty)


Dated: January 7, 2020




                                                                                       Case ID: 191200012
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 22 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




              Docket:         AFFIDAVIT OF SERVICE FILED

                              JANUARY 16, 2020 11:18:41

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                       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 23 of 267

 DIANNE COCHRAN             •.
                                                                                          Plaintiff
                                                                                                                                lllHllllllHllllllllllJll 1.1111
                                               vs                                                                                         ~-
                                                                                                                                                   /<
 ULTA BEAUTY; INC, ET AL                                                                                                       Filed           fI!

                                                                                        Defendant                             Office~
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 ULTA B-EAlJTYINC.  .-                 -
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 24 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         AFFIDAVIT OF SERVICE FILED

                              JANUARY 16, 2020 11:21:23

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 DtANNE COCHRAN
               --           -     -

                                                                                                                Plaintiff-_
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 ULTA B!;A!JTV;_lf\JG~, ;ETAL                                                                                                                                           ~:-==::<-'i:'-r::-"'""'Venue
                                                                                                            Defendant

 P~rso1Ho be sei"\f~d (Narrie and'Address):
 ULTA BEAUTY _                                                     -
 10.00 REMINGTON BLVD.#120
 BQLINGBRQOK IL 60440 _                                                                                                                       (For Use l;>yPrivate Service)
 Byservlng:.,!JLTA,BE1W,TY:_
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 Attorney: TODD-M. SAILER, ESQ.

 Papers Served: CIVILGOVER SHEET, PHAECIPE !=OR WRIT .OFSUMMONS,                                                                                    $ _ _. _
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Name of Private-Se_r,ver: _ _ _ _ _ _ _~ AddrE!ss: 2009Morris Avenue UNION, NJ 07083 Phone: (800) 672"1952

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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 26 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         ENTRY OF APPEARANCE-CO COUNSEL

                              JANUARY 22, 2020 14:24:28

              Sequence:       9


       File:          1    Cochran - Entry of Appearance - VA.pd£




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  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 27 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 206536 I 318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PIDLADELPHIA, PA 19103
(215) 569-4433
s baker@bonnerkiernan.com
varshanapallv@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon Cosmetics & Fragrance, Inc. (improperly identified as ·
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                       I COURT OF COMMON PLEAS
                                                      IPHILADELPHIA COUNTY
                                          Plaintiff   ·1


                          v.                                   DECEMBER TERM, 2019
                                                      i No:        00012
 ULTA BEAUTY, INC. and ULTA BEAUTY                    I
                               Defendants I


                               ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter my appearance as co-counsel on behalf of Defendant, ULTA Salon

Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA

Beauty), in the above-captioned matter.


                                          Respectfully submitted,
                                          BONNER KIERNAN TREBACH & CROCIATA LLP

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                                          By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                     0
                                              VAISHNAVI ARSHANAPALLY, ESQUIRE
                                              Attorney for Defendant, ULTA Salon Cosmetics
                                              & Fragrance, Inc. (improperly identified as
                                              ULTA Beauty, Inc. and ULTA Beauty)
Dated: January 22, 2020



                                                                                                 - Case ID: 191200012
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 28 of 267




                                CERTIFICATE OF SERVICE

       I, Vaishnavi Arshanapally, Esquire, hereby certify that the foregoing Entry of

Appearance as co-counsel has been electronically filed with the Court and is available for

viewing and downloading from the Electronic Filing System by the following:



                                   COUNSEL FOR PLAINTIFFS
                                    Todd M. Sailer, Esquire
                                    FALCON LAW FIRM, LLC
                                  122 E. Court Street, 3rd Floor
                                     Doylestown, PA 18901




                                             BONNER KIERNAN TREBACH & CROCIATA LLP

                                                      I r             .. .               .·

                                                     ·v~~
                                             By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                VAISHNAVI ARSHANAPALLY, ESQUIRE
                                                Attorney for Defendant, ULTA Salon Cosmetics
                                                & Fragrance, Inc. (improperly identified as
                                                ULTA Beauty, Inc. and ULTA Beauty)


Dated: January 22, 2020




                                                                                        Case ID: 191200012
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 29 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:        COMPLAINT FILED NOTICE GIVEN

                             APRIL 14, 2020 12:45:59

              Sequence:       15


      File:           1    CochranComplaintfinal.pdf




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       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 30 of 267




FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                                   AttorfllflJP                      pm
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      CIVIL ACTION - LAW

DIANNE COCHRAN                                     CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                         TERM,2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. #120
Bolingbrook, IL 60440                                JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426
                                      NOTICE

You have been sued in court. Ifyou wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the compliant or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO


                                                                                     Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 31 of 267




NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL
HELP.
              LA WYER REFERENCE SERVICE
                   Philadelphia Bar
                   Association One
                   Reading Center
                  Philadelphia, PA
                   19107
                   (215) 238-1701

                                        AVISO

Le han demandado a usted en la carte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazao al partir de
la fecha de la demanda y la notificacion. Hace falta asentar una comparencia escrita
o en persona o con un abogado y entregar a la carte en forma escrita sus defensas o
sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no
se defiende, la carte tomara medidas y puede continuar la demanda en contra suya
sin previo aviso o notificacion. Ademas, la corte puede decidir a favor del
demandante y requiere que usted cumpla con toas las provisiones de esta demanda.
U sted puede perder dinero o sus propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
TIENE ABOGADO OSI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA OLLAMEFOR TELEFONOALAOFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR AS IS TEN CIA LEGAL.

SERVICIO DE REFERENCIA LEGAL
    Filadelfia Bar
    Association One Reading
    Center
    Filadelfia, Pennsylvania 19107
    (215) 238-1701




                                                                                Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 32 of 267




FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                           Attorneys for Plaintiff
Attorney l.D. #86013
122 E. Court Street
Doylestown, PA 18901
Tel: 215-360-3880

   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     CIVIL ACTION - LAW

DIANNE COCHRAN                             CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                         JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426




                                 COMPLAINT


     1. Plaintiff, Dianne Cochran, is an adult individual who resides at 4 Braxton

Court, Quakertown, PA 18951.



                                                                           Case ID: 191200012
       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 33 of 267




       2.   Defendant, Ulta Beauty Inc. is a corporation with an address of 1000

Remington Blvd. #120 Bolingbrook, IL and regularly conducts business within the

Commonwealth of Pennsylvania including Philadelphia County.

       3.   Defendant Ulta Beauty is a business entity with a registered address of 6164

Carlisle Pike, Mechanicsburg, PA 17050.

       4.   Defendant, Erica S. Harrell is an adult individual and resident of the

Commonwealth of Pennsylvania and at all times relevant hereto was the manager of

the Ulta store located at 40 Town Center Drive Collegeville PA 19426.

       5.   At all time relevant hereto, Defendants were in exclusive possess10n,

management and control of the Ulta Beauty store located in Collegeville, PA 19426

individually and through its employees who were acting within the course and scope

of their employment by Defendant and in furtherance of Defendant's store, including

the merchandise endcap shelving units.

      6.    At all times relevant hereto, Defendant failed to maintain and keep its

premises in a reasonably safe condition.

      7. On or about May 6, 2018, Plaintiff, Dianne Cochran was working on a

display at Defendants' store when a large endcap shelving unit suddenly fell on top of

her and violently knocked her backwards causing her to fall to the floor.

      8.     The carelessness and negligence of the Defendants caused Plaintiff to

sustain serious injuries which will be set forth in greater detail herein.



                                                                               Case ID: 191200012
       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 34 of 267




      9. Defendant as owner and operator of the business located in Collegeville

Pennsylvania owed a duty to keep the premises of the property, including the endcap

in a reasonably safe condition for use by persons at the store including Plaintiff.

       10.   Defendants violated this duty owed, including to the Plaintiff, in that

Defendant negligently and carelessly failed to maintain the endcap and permitted a

dangerous condition to exist. Defendant knew this condition had existed for some time

prior to the accident, and Defendant had, or should have had, due notice of this

condition. Defendant knew or should have known this condition posed a danger to

persons present at the premises.

      11. The aforesaid incident and injuries resulting to the Plaintiff, Dianne Cochran

occurred as a result of the negligence and carelessness of the Defendant.

                                       COUNT I

               PLAINTIFF, DIANNE COCHRAN v. DEFENDANTS



      12. Plaintiff incorporates by reference all the allegations of this Complaint as

though the same were fully set forth at length herein.

      13. The aforesaid incident and injuries resulting to the Plaintiff occurred as a
result of the negligence and carelessness of the Defendants, which consisted of the
following:
              a.    Failing to maintain the shelving unit/endcap of the premises in
                    a safe manner;

              b.    Failing to discover and rectify the danger of the broken


                                                                                 Case ID: 191200012
     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 35 of 267




                     shelving unit/endcap;

            c.    Failing to ensure that the endcap was properly and adequately
                  secured;

            d.    Failing to warn Plaintiff regarding the dangerous condition
                  caused by the broken shelving unit/endcap in the area where
                  the incident occurred;

            e.    Failing to take proper precautions to remedy the dangerous
                  condition of the broken shelving unit/endcap in the area where
                  the incident occurred;

            f.    Failing to use reasonable care to keep their business premises
                  and, in particular, the endcap a safe condition;

            g.    Failing to make a reasonable inspection of the area which
                  would have revealed the existence of the dangerous condition
                  posed by the broken shelving unit/endcap in the area where
                  the incident occurred;

            h.    Allowing the broken endcap to continue to exist when
                  Defendants knew, or in the exercise of reasonable care should
                  have known, that the condition created an unreasonable risk of
                  harm to visitors of the premises.

            i.    Failing to properly inspect the endcap for defective conditions.



      14.    At all times relevant hereto, Plaintiff, despite the exercise of

reasonable care, could not protect herself against the dangerous condition created

by the Defendants.

      15. As a result of the negligence and carelessness of the Defendants,




                                                                             Case ID: 191200012
            Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 36 of 267




      Plaintiff sustained concussion, post-traumatic headaches, postconcussional

      syndrome, brain aneurysm, brain hemorrhage, cervical radiculopathy, lumbar

      radiculopathy, cervicalgia, peripheral tear of the medial meniscus of the left knee

      requiring surgery and other injuries, which are permanent in nature and have

      caused Plaintiff pain and suffering and severe nervous shock.

            16. Solely as a result of Defendants' negligence, Plaintiff was forced to

      bear extensive medical expenses in the treatment of her injuries, which expenses

      will continue for an indefinite time in the future.

             17. Solely as a result of Defendants' negligence, Plaintiff has or may

suffer a severe loss of earnings and an impairment of her earning capacity and power.

             18. Solely as a result of Defendants' negligence, Plaintiff was unable to

attend to her usual duties and occupations or life's pleasures for a substantial period of

time, and may be unable to attend to the aforesaid duties and occupations for an

indefinite time in the future.

            19.    As a result of the injuries sustained by Plaintiff, she has been forced

to   suffer severe physical pain and mental anguish and may be forced to undergo

physical pain and mental anguish for an indefinite period of time in the future.



            WHEREFORE, Plaintiff, Dianne Cochran demands judgment against the



                                                                                   Case ID: 191200012
     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 37 of 267




Defendants in an amount in excess of $50,000 together with interest and cost.




                                   FALCON LAW FIRM, LLC



                                   BY: Isl Todd M. Sailer, Esq.
                                       Todd M. Sailer, Esquire
                                       Attorney for Plaintiffs
                                       Attorneyl.D.#86013




                                                                          Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 38 of 267




                                                                 Case ID: 191200012
                   Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 39 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




             Docket:         PRAECIPE TO REINSTATE CMPLT

                             MAY 14, 2020 14:35:20

              Sequence:      18


      File:          1    Cochran Praec ReinstateCmpt.pdf
                     2    CochranComplaintfinalTS.pdf




zlrppdf2/27/2013                                                                    #9638357
                                                                           10/13/20 02:44 PM
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 40 of 267




                                                                             cords
FALCON LAW FIRM, LLC                                                         pm

BY: Todd M. Sailer, Esquire
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

 IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                   CIVIL ACTION - LAW

DIANNE COCHRAN                               CASE ID # 191200012
                                                    TERM, 2019
           v.

ULTA BEAUTY INC. and ULTA                      JURY TRIAL DEMANDED
BEAUTY and ERICA S. HARRELL


                PRAECIPE TO REINSTATE COMPLAINT


TO THE PROTHONOTARY:

     Kindly reinstate the Complaint in the above-captioned matter.


                                           Falcon Law Firm, LLC


                                    By:    /s/ Todd M. Sailer, Esq.
                                            Todd M. Sailer, Esquire
                                           Attorney I.D. #86013
                                           Attorney for Plaintiff




                                                                      Case ID: 191200012
       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 41 of 267




FALCON LAW FIRM, LLC                                                 Filed
BY: Todd M. Sailer, Esquire                                   Atton9lf1Jf
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      CIVIL ACTION - LAW

DIANNE COCHRAN                                     CASE ID# 191200012
4 Braxton Court
Quakertown, PA 18951                                         TERM,2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                                JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426
                                      NOTICE

You have been sued in court. Ifyou wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the compliant or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO


                                                                                     Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 42 of 267




NOT HAVEA LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL
HELP.
              LAWYER REFERENCE SERVICE
                  Philadelphia Bar
                  Association One
                  Reading Center
                  Philadelphia, PA
                  19107
                  (215) 238-1701

                                        AVISO

Le han demandado a usted en la carte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazao al partir de
la fecha de la demanda y la notificacion. Hace falta asentar una comparencia escrita
o en persona o con un abogado y entregar a la carte en forma escrita sus defensas o
sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no
se defiende, la carte tomara medidas y puede continuar la demanda en contra suya
sin previo aviso o notificacion. Ademas, la corte puede decidir a favor del
demandante y requiere que usted cumpla con toas las provisiones de esta demanda.
U sted puede perder dinero o sus propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
TIENE ABOGADO OSI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA 0 LLAME FOR TELEFONO A LA OFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.

SERVICIO DE REFERENCIA LEGAL
    Filadelfia Bar
    Association One Reading
    Center
    Filadelfia, Pennsylvania 19107
    (215) 238-1701




                                                                                Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 43 of 267




FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                           Attorneys for Plaintiff
Attorney l.D. #86013
122 E. Court Street
Doylestown, PA 18901
Tel: 215-360-3880

   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     CIVIL ACTION - LAW

DIANNE COCHRAN                             CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                         JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426




                                COMPLAINT


     1. Plaintiff, Dianne Cochran, is an adult individual who resides at 4 Braxton

Court, Quakertown, PA 18951.



                                                                           Case ID: 191200012
       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 44 of 267




       2.   Defendant, Ulta Beauty Inc. is a corporation with an address of 1000

Remington Blvd. #120 Bolingbrook, IL and regularly conducts business within the

Commonwealth of Pennsylvania including Philadelphia County.

       3.   Defendant Ulta Beauty is a business entity with a registered address of 6164

Carlisle Pike, Mechanicsburg, PA 17050.

       4.   Defendant, Erica S. Harrell is an adult individual and resident of the

Commonwealth of Pennsylvania and at all times relevant hereto was the manager of

the Ulta store located at 40 Town Center Drive Collegeville PA 19426.

       5.   At all time relevant hereto, Defendants were in exclusive possession,

management and control of the Ulta Beauty store located in Collegeville, PA 19426

individually and through its employees' who were acting within the course and scope

of their employment by Defendant and in furtherance of Defendant's store, including

the merchandise endcap shelving units.

       6.   At all times relevant hereto, Defendant failed to maintain and keep its

premises in a reasonably safe condition.

      7. On or about May 6, 2018, Plaintiff, Dianne Cochran was working on a

display at Defendants' store when a large endcap shelving unit suddenly fell on top of

her and violently knocked her backwards causing her to fall to the floor.

      8.     The carelessness and negligence of the Defendants caused Plaintiff to

sustain serious injuries which will be set forth in greater detail herein.



                                                                               Case ID: 191200012
       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 45 of 267




      9. Defendant as owner and operator of the business located in Collegeville

Pennsylvania owed a duty to keep the premises of the property, including the endcap

in a reasonably safe condition for use by persons at the store including Plaintiff.

      10.   Defendants violated this duty owed, including to the Plaintiff, in that

Defendant negligently and carelessly failed to maintain the endcap and permitted a

dangerous condition to exist. Defendant knew this condition had existed for some time

prior to the accident, and Defendant had, or should have had, due notice of this

condition. Defendant knew or should have known this condition posed a danger to

persons present at the premises.

      11. The aforesaid incident and injuries resulting to the Plaintiff, Dianne Cochran

occurred as a result of the negligence and carelessness of the Defendant.

                                       COUNT I

               PLAINTIFF, DIANNE COCHRAN v. DEFENDANTS



      12. Plaintiff incorporates by reference all the allegations of this Complaint as

though the same were fully set forth at length herein.

      13. The aforesaid incident and injuries resulting to the Plaintiff occurred as a
result of the negligence and carelessness of the Defendants, which consisted of the
following:
              a.    Failing to maintain the shelving unit/endcap of the premises in
                    a safe manner;

              b.    Failing to discover and rectify the danger of the broken


                                                                                 Case ID: 191200012
     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 46 of 267




                  shelving unit/endcap;

            c.    Failing to ensure that the endcap was properly and adequately
                  secured;

            d.    Failing. to warn Plaintiff regarding the dangerous condition
                  caused by the broken shelving unit/endcap in the area where
                  the incident occurred;

            e.    Failing to take proper precautions to remedy the dangerous
                  condition of the broken shelving unit/endcap in the area where
                  the incident occurred;

            f.    Failing to use reasonable care to keep their business premises
                  and, in particular, the endcap a safe condition;

            g.    Failing to make a reasonable inspection of the area which
                  would have revealed the existence of the dangerous condition
                  posed by the broken shelving unit/endcap in the area where
                  the incident occurred;

            h.    Allowing the broken endcap to continue to exist when
                  Defendants knew, or in the exercise of reasonable care should
                  have known, that the condition created an unreasonable risk of
                  harm to visitors of the premises.

            i.    Failing to properly inspect the endcap for defective conditions.



      14.    At all times relevant hereto, Plaintiff, despite the exercise of

reasonable care, could not protect herself against the dangerous condition created

by the Defendants.

      15. As a result of the negligence and carelessness of the Defendants,




                                                                             Case ID: 191200012
            Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 47 of 267




      Plaintiff sustained concussion, post-traumatic headaches, postconcussional

      syndrome, brain aneurysm, brain hemorrhage, cervical radiculopathy, lumbar

      radiculopathy, cervicalgia, peripheral tear of the medial meniscus of the left knee

      requiring surgery and other injuries, which are permanent in nature and have

      caused Plaintiff pain and suffering and severe nervous shock.

            16. Solely as a result of Defendants' negligence, Plaintiff was forced to

      bear extensive medical expenses in the treatment of her injuries, which expenses

      will continue for an indefinite time in the future.

             17. Solely as a result of Defendants' negligence, Plaintiff has or may

suffer a severe loss of earnings and an impairment of her earning capacity and power.

             18. Solely as a result of Defendants' negligence, Plaintiff was unable to

attend to her usual duties and occupations or life's pleasures for a substantial period of

time, and may be unable to attend to the aforesaid duties and occupations for an

indefinite time in the future.

            19.    As a result of the injuries sustained by Plaintiff, she has been forced

to   suffer severe physical pain and mental anguish and may be forced to undergo

physical pain and mental anguish for an indefinite period of time in the future.



            WHEREFORE, Plaintiff, Dianne Cochran demands judgment against the



                                                                                   Case ID: 191200012
     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 48 of 267




Defendants in an amount in excess of $50,000 together with interest and cost.




                                   FALCON LAW FIRM, LLC



                                   BY: Isl Todd M. Sailer, Esq.
                                       Todd M. Sailer, Esquire
                                       Attorney for Plaintiffs
                                       Attorneyl.D.#86013




                                                                         Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 49 of 267




                                                                 Case ID: 191200012
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 50 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              JUNE 12, 2020 14:43:06

               Sequence:      20


       File:          1    Cochran - Praecipe for Writ to Join Match Converge.pd£




zlrppdf 2/27/2013                                                                    #9638357
                                                                            10/13/20 02:45 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 51 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
V AISHNAVI ARSHANAPALLY, ESQUIRE
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1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapallv@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        I COURT OF COMMON PLEAS
                                                       I PHILADELPHIA COUNTY
                         v.
                                           Plaintiff   IDECEMBER TERM, 2019
 ULTABEAUTY, INC.; ULTABEAUTY; and
                                                       INo: 00012
 ERICA S. HARRELL                      I
                            Defendants                 I
                                                       !


           PRAECIPE TO FILE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to execute a Writ to Join
against:
                                     Match Converge
                                   7361 Coca Cola Drive
                                 Hanover, Maryland, 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
                                                                ,.:..~
                                     \ t
                                     \J~W-~-'- .
                                                   ."      .
                                                                      00--
                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: June 12, 2020




                                                                                   Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 52 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               DECEMBER
                                                               _                                   19 __
                                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ Term, 20_
                                vs.

ULTA BEAUTY, INC. et al.                                       No. 00012



    TO
            Match Converge
            7361 Coca Cola Drive
            Hanover, Maryland 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS
                                                                               Prothonotary




10-245 (Rev. 1101)




                                                                                                          Case ID: 191200012
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 53 of 267




                              COURT OF COMMON PLEAS
                              COUNTY OF PHILADELPHIA


                     DECEMBER                   19   00012
                    _ _ _ _ _ _ Term, 20_ _ No. _ _ __




                     DIANNE COCHRAN




                                         vs.



                     ULTA BEAUTY, INC. et al.




                            WRIT TO JOIN ADDITIONAL
                                  DEFENDANTS
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 54 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        PRAECIPE - WRIT TO JOIN

                              JUNE 12, 2020 14:46:17

               Sequence:      21


       File:          1    Cochran - Praecipe for Writ to Join Convergence
                           Marketing.pd£




zlrppdf 2/27/2013                                                                    #9638357
                                                                            10/13/20 02:47 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 55 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
V AISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                      ! COURT OF COMMON PLEAS
                                                     I PHILADELPHIA COUNTY
                                           Plaintiff I
                         v.                         IDECEMBER TERM, 2019
                                                     j No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants
                                                    II
                                                     I


           PRAECIPE TO FILE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to execute a Writ to Join
against:
                                Convergence Marketing, Inc.
                                  7361A Coca Cola Drive
                                   Hanover, MD 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP

                                     \j~~v-~yjo-

                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: June 12, 2020




                                                                                   Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 56 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



                               Ol11mm11nfu£altly 11£ J:£nnzulfiania
                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               _ _ _ _ _ _ _ _ _ _ _ _ _ _ T erm, 20 _
                                                               DECEMBER                              19 __
                               vs.

ULTA BEAUTY, lNC. et al.                                       No. 00012



    TO Convergence Marketing, Inc.
            7361A Coca Cola Drive
            Hanover, MD 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




    has } joined you as an additional defendant in this action with you are required to defend.
    have




                                                                            JOSEPH H. EVERS
                                                                               Prothonotary




10·245 (Rev. 1101)
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 57 of 267




                              COURT OF COMMON PLEAS
                              COUNTY OF PHILADELPHIA


                     DECEMBER                   19   00012
                    _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                     DIANNE COCHRAN




                                         vs.




                     ULTA BEAUTY, INC. et al.




                            WRIT TO JOIN ADDITIONAL
                                  DEFENDANTS
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 58 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              JUNE 12, 2020 14:49:49


              Sequence:       22


       File:          1    Cochran - Praecipe for Writ to Join Match Marketing
                           Group.pd£




zlrppdf 2/27/2013                                                                    #9638357
                                                                            10/13/20 02:48 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 59 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 206536 I 318898
                                                                    Office
TEN PENN CENTER, SUITE 770
                                                                        12
1801 MARKET STREET
PHILADELPIDA, PA 19103
(215) 569-4433
sbaker@J,bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


           PRAECIPE TO FILE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to execute a Writ to Join
against:
                                  Match Marketing Group
                                  800 Connecticut Avenue
                                       3rd Floor East
                                    Norwalk, CT 06584

                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP

                                     \J~~LLa--
                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: June 12, 2020




                                                                                   Case ID: 191200012 ·
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 60 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                                DECEMBER                                              19
                                 vs.                           ~~~~~~~~~~~~~~Term,20~~-


ULTABEAUTY, INC. etal.                                         No. 00012



    TO Match Marketing Group
            800 Connecticut A venue
            3rd Floor East
            Norwalk, CT 06584




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




    has } joined you as an additional defendant in this action with you are required to defend.
    have




                                                                            JOSEPH H. EVERS
                                                                               Prothonotary




10-245 (Rev. 1/01)




                                                                                                          Case ID: 191200012
          Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 61 of 267




                               COURT OF COMMON PLEAS
                               COUNTY OF PHILADELPHIA


                      DECEMBER                   19   00012
                      _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                      DIANNE COCHRAN




                                          vs.




                      ULTA BEAUTY, INC. et al.




                             WRIT TO JOIN ADDITIONAL
                                   DEFENDANTS
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 62 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        PRAECIPE TO REINSTATE CMPLT

                              JUNE 12, 2020 14:59:43

               Sequence:      19


       File:          1    Praec to Reinstate Complaint2.pdf
                      2    CochranComplaintfinalTS.pdf




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                                                                            10/13/20 02:49 PM
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 63 of 267




                                                                             cords
FALCON LAW FIRM, LLC                                                         pm

BY: Todd M. Sailer, Esquire                            Attorneys
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

 IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                   CIVIL ACTION - LAW

DIANNE COCHRAN                               CASE ID # 191200012
                                                    TERM,2019
           v.

ULTA BEAUTY INC. and ULTA                      JURY TRIAL DEMANDED
BEAUTY and ERICA S. HARRELL


                PRAECIPE TO REINSTATE COMPLAINT


TO THE PROTHONOTARY:

     Kindly reinstate the Complaint in the above-captioned matter.


                                           Falcon Law Firm, LLC


                                    By:    Isl Todd M. Sailer, Esq.
                                           Todd M. Sailer, Esquire
                                           Attorney I.D. #86013
                                           Attorney for Plaintiff




                                                                      Case ID: 191200012
        Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 64 of 267




 FALCON LAW FIRM, LLC                                                 Filed   fo
 BY: Todd M. Sailer, Esquire                                  AttorfllflJf 1
 Attorney l.D. #86013
.122 E. Court Street Doylestown, PA 18901
 Tel: 215-360-3880

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      CIVIL ACTION - LAW

DIANNE COCHRAN                                     CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                         TERM,2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. #120
Bolingbrook, IL 60440                                JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426
                                      NOTICE

You have been sued in court. Ifyou wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the compliant or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO


                                                                                     Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 65 of 267




NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL
HELP.
             LAWYER REFERENCE SERVICE
                 Philadelphia Bar
                 Association One
                 Reading Center
                 Philadelphia, PA
                 19107
                 (215) 238-1701

                                       AVISO

Lehan demandado a usted en la carte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazao al partir de
la fecha de la demanda y la notificacion. Race falta asentar una comparencia escrita
o en persona o con un abogado y entregar a la carte en forma escrita sus defensas o
sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no .
se defiende, la carte tomara medidas y puede continuar la demanda en contra suya
sin previo aviso o notificacion. Ademas, la corte puede decidir a favor del
demandante y requiere que usted cumpla con toas las provisiones de esta demanda.
U sted puede perder dinero o sus propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
TIENE ABOGADO OSI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA 0 LLAME FOR TELEFONO A LA OFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR AS IS TENCIA LEGAL.

SERVICIO DE REFERENCIA LEGAL
    Filadelfia Bar
    Association One Reading
    Center
    Filadelfia, Pennsylvania 19107
    (215) 238-1701




                                                                              Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 66 of 267




FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                           Attorneys for Plaintiff
Attorney I.D. #86013
122 E. Court Street
Doylestown, PA 18901
Tel: 215-360-3880

   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     CIVIL ACTION - LAW

DIANNE COCHRAN                              CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                 TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                          JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426




                                 COMPLAINT


      1. Plaintiff, Dianne Cochran, is an adult individual who resides at 4 Braxton

Court, Quakertown, PA 18951.



                                                                           Case ID: 191200012
       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 67 of 267




       2.   Defendant, Ulta Beauty Inc. is a corporation with an address of 1000

Remington Blvd. #120 Bolingbrook, IL and regularly conducts business within the

Commonwealth of Pennsylvania including Philadelphia County.

       3.   Defendant Ulta Beauty is a business entity with a registered address of 6164

Carlisle Pike, Mechanicsburg, PA 17050.

       4.   Defendant, Erica S. Harrell is an adult individual and resident of the

Commonwealth of Pennsylvania and at all times relevant hereto was the manager of

the Ulta store located at 40 Town Center Drive Collegeville PA 19426.

       5.   At all time relevant hereto, Defendants were in exclusive possession,

management and control of the Ulta Beauty store located in Collegeville, PA 19426

individually and through its employees who were acting within the course and scope

of their employment by Defendant and in furtherance of Defendant's store, including

the merchandise endcap shelving units.

      6.    At all times relevant hereto, Defendant failed to maintain and keep its

premises in a reasonably safe condition.

      7. On or about May 6, 2018, Plaintiff, Dianne Cochran was working on a

display at Defendants' store when a large endcap shelving unit suddenly fell on top of

her and violently knocked her backwards causing her to fall to the floor.

      8.     The carelessness and negligence of the Defendants caused Plaintiff to

sustain serious injuries which will be set forth in greater detail herein.



                                                                               Case ID: 191200012
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      9. Defendant as owner and operator of the business located in Collegeville

Pennsylvania owed a duty to keep the premises of the property, including the endcap

in a reasonably safe condition for use by persons at the store including Plaintiff.

      10.   Defendants violated this duty owed, including to the Plaintiff, in that

Defendant negligently and carelessly failed to maintain the endcap and permitted a

dangerous condition to exist. Defendant knew this condition had existed for some time

prior to the accident, and Defendant had, or should have had, due notice of this

condition. Defendant knew or should have. known this condition posed a danger to

persons present at the premises.

      11. The aforesaid incident and injuries resulting to the Plaintiff, Dianne Cochran

occurred as a result of the negligence and carelessness of the Defendant.

                                       COUNT I

               PLAINTIFF, DIANNE COCHRAN v. DEFENDANTS



      12. Plaintiff incorporates by reference all the allegations of this Complaint as

though the same were fully set forth at length herein.

      13. The aforesaid incident and injuries resulting to the Plaintiff occurred as a
result of the negligence and carelessness of the Defendants, which consisted of the
following:
              a.    Failing to maintain the shelving unit/endcap of the premises in
                    a safe manner;

              b.    Failing to discover and rectify the danger of the broken


                                                                                 Case ID: 191200012
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                     shelving unit/endcap;

            c.    Failing to ensure that the endcap was properly and adequately
                  secured;

            d.    Failing to warn Plaintiff regarding the dangerous condition
                  caused by the broken shelving unit/endcap in the area where
                  the incident occurred;

            e.    Failing to take proper precautions to remedy the dangerous
                  condition of the broken shelving unit/endcap in the area where
                  the incident occurred;

            f.    Failing to use reasonable care to keep their business premises
                  and, in particular, the endcap a safe condition;

            g.    Failing to make a reasonable inspection of the area which
                  would have revealed the existence of the dangerous condition
                  posed by the broken shelving unit/endcap in the area where
                  the incident occurred;

            h.    Allowing the broken endcap to continue to exist when
                  Defendants knew, or in the exercise of reasonable care should
                  have known, that the condition created an unreasonable risk of
                  harm to visitors of the premises.

            i.    Failing to properly inspect the endcap for defective conditions.



      14.    At all times relevant hereto, Plaintiff, despite the exercise of

reasonable care, could not protect herself against the dangerous condition created

by the Defendants.

      15. As a result of the negligence and carelessness of the Defendants,




                                                                             Case ID: 191200012
            Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 70 of 267




      Plaintiff sustained concussion, post-traumatic headaches, postconcussional

      syndrome, brain apeurysm, brain hemorrhage, cervical radiculopathy, lumbar

      radiculopathy, cervicalgia, peripheral tear of the medial meniscus of the left knee

      requiring surgery and other injuries, which are permanent in nature and have

      caused Plaintiff pain and suffering and severe nervous shock.

            16. Solely as a result of Defendants' negligence, Plaintiff was forced to

      bear extensive medical expenses in the treatment of her injuries, which expenses

      will continue for an indefinite time in the future.

            17. Solely as a result of Defendants' negligence, Plaintiff has or may

suffer a severe loss of earnings and an impairment of her earning capacity and power.

             18. Solely as a result of Defendants' negligence, Plaintiff was unable to

attend to her usual duties and occupations or life's pleasures for a substantial period of

time, and may be unable to attend to the aforesaid duties and occupations for an

indefinite time in the future.

            19.    As a result of the injuries sustained by Plaintiff, she has been forced

to   suffer severe physical pain and mental anguish and may be forced to undergo

physical pain and mental anguish for an indefinite period of time in the future.



            WHEREFORE, Plaintiff, Dianne Cochran demands judgment against the



                                                                                   Case ID: 191200012
     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 71 of 267




Defendants in an amount in excess of $50,000 together with interest and cost.




                                   FALCON LAW FIRM, LLC



                                   BY: Isl Todd M. Sailer, Esq.
                                       Todd M. Sailer, Esquire
                                       Attorney for Plaintiffs
                                       Attorneyl.D.#86013




                                                                         Case ID: 191200012
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                                                                 Case ID: 191200012
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       COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




              Docket:        ENTRY OF APPEARANCE

                             JUNE 26, 2020 15:37:09

               Sequence:     23


       File:          1    Cochran - Harrell Entry of Appearance SMB and VA.pdf




zlrppdf 2/27/2013                                                                    #9638357
                                                                            10/13/20 02:50 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 74 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE                                                    /
IDENTIFICATION NO: 206536 I 318898                                  Filed a
                                                                    Office    if
TEN PENN CENTER, SUITE 770
                                                                       26
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapallv@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty) and Erica S. Harrell

 DIANNE COCHRAN                                       I COURT OF COMMON PLEAS
                                                      I PHILADELPHIA COUNTY
                                          Plaintiff   IDECEMBER TERM, 2019
                        v.
                                                      No:   00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants
                   v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants

                             ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

          Kindly enter the appearance of Sarah M. Baker, Esquire and Vaishnavi

Arshanapally, Esquire, on behalf of Defendant, Erica S. Harrell, in the above-captioned

matter.

                                         Respectfully submitted,
                                         BONNER KIERNAN TREBACH & CROCIATA LLP



                                         By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                             SARAH M. BAKER, ESQUIRE
                                             V AISHNAVI ARSHANAPALLY, ESQUIRE
                                             Attorneys for Defendant, ULTA Salon
                                             Cosmetics & Fragrance, Inc. (improperly
                                             identified as ULTA Beauty, Inc. and ULTA
                                             Beauty) and Erica S. Harrell

                                                                                       Case ID: 191200012
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 75 of 267




                                CERTIFICATE OF SERVICE

       I, Sarah M. Baker, Esquire, hereby certify that the foregoing Entry of Appearance for
Defendant, Erica S. Harrell has been electronically filed with the Court and is available for
viewing and downloading from the Electronic Filing System by the following:


                                   COUNSEL FOR PLAINTIFFS
                                    Todd M. Sailer, Esquire
                                    FALCON LAW FIRM, LLC
                                  122 E. Court Street, 3rd Floor
                                    Doylestown, PA 18901




                                            BONNER KIERNAN TREBACH & CROCIATA LLP



                                            By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                   SARAH M. BAKER, ESQUIRE
                                                  Attorney for Defendant, ULTA Salon
                                                   Cosmetics & Fragrance, Inc. (improperly
                                                   identified as ULTA Beauty, Inc. and ULTA
                                                   Beauty) and Erica S. Harrell


Dated: June 26, 2020




                                                                                       Case ID: 191200012
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 76 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:       CASE MANAGEMENT ORDER ISSUED

                             JUNE 29, 2020 17:26:08

               Sequence:     25


       File:          1    CMOIS_25.pdf




zlrppdf 2/27/2013                                                                    #9638357
                                                                           10/13/20 02:52 PM
                     Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 77 of 267




                                                IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
                                                                     COUNTY
                                                    FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                              TRIAL DIVISION - CIVIL




                                   COCHRAN                                          December Term2019

                                       vs                                                 No. 00012

                              ULTA BEAUTY INC. ETAL

                                                 CASE MANAGEMENT ORDER                             DOCKETED
                                                     STANDARD TRACK                        TRl,J~L DJVl,SJON -     CIVIL
                                                                                                    29-JUN-2020
                                                                                                    E. ORVIK
                   AND NOW, Monday, June 29, 2020, it is Ordered that:

              1.       The case management and time standards adopted for standard track cases shall be
                       applicable to this case and are hereby incorporated into this Order.

             2.        All discovery on the above matter shall be completed not later than 01-MAR-2021.

             3.        Plaintiff shall identify and submit curriculum vitae and expert reports of all expert witnesses
                       intended to testify at trial to all other parties not later than 01-MAR-2021.

             4.        Defendant and any additional defendants shall identify and submit curriculum vitae and expert
                       reports of all expert witnesses intended to testify at trial not later than 05-APR-2021.
             5.        All pre-trial motions shall be filed not later than 05-APR-2021.

             6.        A settlement conference may be scheduled at any time after 05-APR-2021. Prior to the
                       settlement conference all counsel shall serve all opposing counsel and file a settlement
                       memorandum containing the following:

                       (a).            A concise summary of the nature of the case if plaintiff or of the defense if
                                       defendant or additional defendant;

                       (b).            A statement by the plaintiff or all damages accumulated, including an
                                       itemization of injuries and all special damages claimed by categories and
                                       amount;

                       (c).            Defendant shall identify all applicable insurance carriers, together with
                                       applicable limits of liability.




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          Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 78 of 267




7.           A pre-trial conference will be scheduled any time after 07-JUN-2021. Fifteen days prior to
             pre-trial conference, all counsel shall serve all opposing counsel and file a pre-trial memorandum
             containing the following:

             (a).            A concise summary of the nature of the case if plaintiff or the defense if
                             defendant or additional defendant;
             (b).            A list of all witnesses who may be called to testify at trial by name and address.
                             Counsel should expect witnesses not listed to be precluded from testifying at
                             trial;

             (c).            A list of all exhibits the party intends to offer into evidence. All exhibits shall be
                             pre-numbered and shall be exchanged among counsel prior to the conference.
                             Counsel should expect any exhibit not listed to be precluded at trial;

             (d).            Plaintiff shall list an itemization of injuries or damages sustained together with
                             all special damages claimed by category and amount. This list shall include as
                             appropriate, computations of all past lost earnings and future lost earning
                             capacity or medical expenses together with any other unliquidated damages
                             claimed; and

             (e).            Defendant shall state its position regarding damages and shall identify all
                             applicable insurance carriers, together with applicable limits of liability;

             (f).            Each counsel shall provide an estimate of the anticipated length of trial.

8.           It is expected that the case will be ready for trial 05-JUL-2021, and counsel should anticipate
             trial to begin expeditiously thereafter.

9.           All counsel are under a continuing obligation and are hereby ordered to serve a copy of this order
             upon all umepresented parties and upon all counsel entering an appearance subsequent to the
             entry of this Order.


                                                                BY THE COURT:




                                                                DANIEL ANDERS, J.
                                                                TEAM LEADER

EK090060(REV 11/04)
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 79 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




              Docket:        ANSWER TO COMPLAINT FILED

                             JULY 10, 2020 14:31:28

               Sequence:      30


       File:          1    Cochran - ULTA Answer to Complaint.pd£




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                                                                            10/13/20 02:53 PM
   Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 80 of 267




                                                                To: Plaintiff
                                                                You are her:bpJ~t~ed<
                                                                within New l}Jfttr& w1 ·
                                                                days hereof or a a;/a
                                                                other adverse action
                                                                taken/entered against yo .

                                                                 \J~~~

                                                                Vaishnavi Arshanapally, Esquire

BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
V AISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 206536 I 318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                          II   COURT OF COMMON PLEAS
                                                              PHILADELPHIA COUNTY
                                             Plaintiff
                          v.                             I. No:
                                                            DECEMBER TERM, 2019
                                                                00012
 ULTABEAUTY, INC.; ULTABEAUTY; and                       I
 ERICA s. HARRELL                                        I
                            Defendants                   I
  ANSWER WITH NEW MATTER OF DEFENDANT, ULTA SALON, COSMETICS &
   FRAGRANCE, INC. (IMPROPERLY IDENTIFIED AS ULTA BEAUTY, INC. AND
               ULTA BEAUTY) TO PLAINTIFF'S COMPLAINT

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA

Beauty, Inc. and ULTA Beauty) (hereinafter referred to as "Answering Defendant"), hereby files

this Answer with New Matter to Plaintiffs Complaint, and in support thereof avers as follows:

       1.      Denied. After reasonable investigation, Answering Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averments set forth in



                                                                                             Case ID: 191200012
   Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 81 of 267




this paragraph. Therefore, said averments are deemed denied and strict proof thereof is

demanded at the time of trial.

        2.      Denied as stated. The proper entity and defendant in this matter is ULT A Salon,

Cosmetics & Fragrance, Inc. By way of further response, ULTA Salon, Cosmetics & Fragrance,

Inc. is a Delaware Corporation with a principal place of business located at 1000 Remington

Boulevard, Suite 120, Bolingbrook, Illinois, 60440.

        3.      Denied as stated. The proper defendant in this matter is ULTA Salon, Cosmetics

& Fragrance, Inc. By way of further response, ULTA Salon, Cosmetics & Fragrance, Inc. is a

Delaware Corporation with a principal place of business located at 1000 Remington Boulevard,

Suite 120, Bolingbrook, Illinois, 60440.

        4.     The averments contained in this paragraph are directed to a party other than

Answering Defendant and therefore, no response is required.

        5.     Admitted in part; denied in part. It is admitted only that ULTA Salon, Cosmetics

& Fragrance, Inc. operated the Ulta business located at 40 Town Center Drive, Suite 2,

Collegeville, PA 19426. The remaining averments contained in this paragraph are conclusions of

law to which no response is required under the Pennsylvania Rules of Civil Procedure. By way

of further response, Answering Defendant specifically denies any express or implied allegations

of agency or employment, as these averments do not identify any alleged agents, servants,

workmen, and/or employees. Strict proof thereof is demanded at trial.

       6.      Denied. The averments contained in this paragraph are conclusions of law to

which no response is required under the Pennsylvania Rules of Civil Procedure. Strict proof

thereof is demanded at the time of trial.

       7.      Denied. After reasonable investigation, Answering Defendant is without

knowledge or information sufficient to form a belief as to the truth of the averments set forth in




                                                                                        Case ID: 191200012
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 82 of 267




this paragraph. Therefore, said averments are deemed denied and strict proof thereof is

demanded at the time of trial.

         8.     Denied. Answering Defendant specifically denies any and all allegations of

carelessness and negligence. Additionally, the averments contained in this paragraph are

conclusions of law to which no response is required under the Pennsylvania Rules of Civil

Procedure. By way of further response, after reasonable investigation, Answering Defendant is

without knowledge or information sufficient to form a belief as to Plaintiffs alleged injuries.

Strict proof thereof is demanded at the time of trial.

         9-10. Denied. Answering Defendant specifically denies any and all allegations of

carelessness and negligence. By way of further response, the averments contained in these

paragraphs are conclusions of law to which no response is required under the Pennsylvania Rules

of Civil Procedure. Strict proof thereof is demanded at the time of trial.

         11.   Denied. The averments contained in these paragraphs are conclusions of law to

which no response is required under the Pennsylvania Rules of Civil Procedure. The same are

therefore denied. By way of further answer, to the extent the averments in these paragraphs are

deemed to be factual, after reasonable investigation, Answering Defendant is without knowledge

or information sufficient to form a belief as to the truth of the averments set forth in these

paragraphs. Therefore, said averments are deemed denied and strict proof thereof is demanded at

trial.

                                                  Count I
                                 Plaintiff, Dianne Cochran v. Defendants

         12.   Answering Defendant incorporates by reference its answers to paragraphs 1

through 11 as though fully set forth at length herein.

         13(a) - (i). Denied. The averments of negligence and carelessness contained in this

paragraph and its subparagraphs are conclusions of law to which no response is required under

the Pennsylvania Rules of Civil Procedure. Strict proof thereof is demanded at the time of trial.


                                                                                       Case ID: 191200012
   Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 83 of 267




Additionally, it is specifically denied that Answering Defendant breached any duty owed to

Plaintiff and/or was the cause of Plaintiffs alleged injuries. By way of further response, it is

specifically denied that any action or failure to act on part of Answering Defendant caused or

contributed in any manner or to any degree to Plaintiffs alleged injuries and losses.

        14.       Denied. The averments contained in this paragraph are conclusions of law to

which no response is required under the Pennsylvania Rules of Civil Procedure. The same are

therefore denied.

        15-19. Denied. The averments of negligence and carelessness contained in this paragraph

are conclusions of law to which no response is required under the Pennsylvania Rules of Civil

Procedure. By way of further answer, after reasonable investigation, Answering Defendants are

without knowledge or information sufficient to form a belief as to the truth of the averments set

forth in these paragraphs. Therefore, said averments are deemed denied and strict proof thereof

is demanded at trial.

       WHEREFORE, Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly

identified as ULTA Beauty, Inc. and ULTA Beauty), demands judgment in its favor and against

Plaintiff, together with the awarding of attorneys' fees and costs or other relief deemed

appropriate by the Court.

                                        NEW MATTER

       20.     Plaintiffs Complaint fails, in whole or in part, to state a claim upon which relief

can be granted.

       21.     Plaintiffs claims, if any, are barred and/or substantially reduced due to Plaintiffs

comparative negligence, pursuant to 42 Pa. C.S.A. §7102, et seq.

       22.     Plaintiffs claims may be barred and/or reduced in accordance with

Pennsylvania's Fair Share Act, 42 Pa.C.S.A. § 7102, et seq.




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        23.    No act or omission of Answering Defendant caused or contributed to Plaintiffs

alleged claims, injuries or damages, if any, in this matter, the existence of any said act, omission,

or harm being expressly denied.

       24.     Plaintiffs damages, if any, were the direct, proximate and sole result, or were

substantially contributed to, by the negligence and/or carelessness of parties, entities and/or

individuals over whom Answering Defendant had no control or right of control and for whom

Answering Defendant is not responsible.

       25.     Plaintiffs damages, if any, were caused by circumstances over which Answering

Defendant had no control and no right to control or involvement.

       26.     To the extent any collateral source provides benefits to Plaintiff for medical bills,

wages or other damages, Plaintiffs recovery, if any, against Answering Defendant must be

reduced by that amount.

       27.     Plaintiffs claims, if any, are barred and/or reduced by Plaintiffs failure to

mitigate damages, if any.

       28.     Plaintiffs claims, if any, are barred and/or limited by any releases that Plaintiff

has executed or will execute in favor of any person or party.

       29.     Answering Defendant did not create the condition which Plaintiff alleges caused

and/or contributed to the incident that forms the subject of Plaintiffs Complaint.

       30.     Answering Defendant exercised all reasonable care to protect Plaintiff from the

condition which Plaintiff alleges caused and/or contributed to the incident that forms the subject

of Plaintiffs Complaint.

       31.     Plaintiffs claims are barred by the statute of limitations.

       32.     Plaintiffs claims, if any, are barred and/or substantially reduced by her

assumption of the risks of proceeding as she did.




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        33.    Plaintiffs claims, if any, are barred by the doctrines of collateral estoppel or res

judicata.

        34.    Plaintiffs claims, if any, are be barred by the doctrines oflaches or waiver.

        35.    Insofar as, and to the extent that, any injuries, losses and damages to Plaintiff, if

any, were the result, in whole or in part, of an ordinary disease of life, idiosyncratic reaction or

some other circumstance, event or exposure, responsibility, if any, for damages to the extent

thereof must be apportioned and allocated, in whole or in part, to such cause(s) pursuant to

§ 433(a) of the Restatement (2d) of Torts.

       WHEREFORE, Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly

identified as ULTA Beauty, Inc. and ULTA Beauty), demands judgment in its favor and against

Plaintiff, together with the awarding of attorneys' fees and costs or other relief deemed

appropriate by the Court.

                                              Respectfully submitted,
                                              BONNER KIERNAN TREBACH & CROCIATA LLP




                                              By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                  SARAH M. BAKER, ESQUIRE
                                                  VAISHNAVI ARSHANAPALLY, ESQUIRE
                                                  Attorneys for Defendant, ULTA Salon,
                                                  Cosmetics & Fragrance, Inc. (improperly
                                                  identified as ULTA Beauty, Inc. and ULTA
                                                  Beauty)
Dated: July 10, 2020




                                                                                          Case ID: 191200012
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                                        VERIFICATION

        The undersigned, having read the foregoing Answer with New Matter of Defendant,

ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and

ULTA Beauty), to Plaintiffs Complaint verifies that the responses are based on information

furnished to counsel, which information has been gathered by counsel in the course of this

lawsuit. The language of the pleading is that of counsel and not of signer. Signer verifies that he

has read the foregoing Answer with New Matter to Plaintiffs Complaint and that it is true and

correct to the best of the signer's knowledge, information and belief. To the extent that the

contents of the foregoing document are that of counsel, verifier has relied upon counsel in

making this verification; that certain of the matters stated therein are not within the personal

knowledge of the signer; that the facts stated therein have been assembled by authorized agents,

employees, and counsel, and signer is informed that the facts stated therein are true.

        This verification is made subject to the penalties of 18 Pa. C.S. §4904 relating to unsworn

falsification to authorities.

                                      By: ULTA Salon, Cosmetics & Fragrance, Inc.



                                      BY:



Dated: 7/10/2020




                                                                                          Case ID: 191200012
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                               CERTIFICATE OF SERVICE

       I, Vaishnavi Arshanapally, Esquire, hereby certify that the foregoing ANSWER WITH

NEW MATTER OF DEFENDANT, ULTA SALON, COSMETICS & FRAGRANCE, INC.

(IMPROPERLY IDENTIFIED AS ULTA BEAUTY, INC. AND ULTA BEAUTY) TO

PLAINTIFF'S COMPLAINT has been electronically filed with the Court and is available for

viewing and downloading from the Electronic Filing System by the following:



                                  COUNSEL FOR PLAINTIFF
                                  Todd M. Sailer, Esquire
                                  FALCON LAW FIRM, LLC
                                122 E. Court Street, 3rd Floor
                                   Doylestown, PA 18901




                                           BONNER KIERNAN TREBACH & CROCIATA LLP




                                           By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                              SARAH M. BAKER, ESQUIRE
                                              VAISHNAVI ARSHANAPALLY, ESQUIRE
                                              Attorneys for Defendant, ULTA Salon,
                                              Cosmetics & Fragrance, Inc. (improperly
                                              identified as ULTA Beauty, Inc. and ULTA
                                              Beauty)


Dated: July 10, 2020




                                                                               Case ID: 191200012
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        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




              Docket:        PRAECIPE TO REINSTATE CMPLT

                             JULY 10, 2020 17:04:59

               Sequence:     31


       File:          1    Praec to Reinstate Complaint3.pdf
                      2    CochranComplaintfinalTS.pdf




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                                                                           10/13/20 02:54 PM
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 89 of 267




                                                                     /1
                                                           Filed          ,
                                                          Office
FALCON LAW FIRM, LLC                                          10

BY: Todd M. Sailer, Esquire                            Attorneys
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

 IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                   CIVIL ACTION - LAW

DIANNE COCHRAN                               CASE ID # 191200012
                                                    TERM,2019
           v.

ULTA BEAUTY INC. and ULTA                      JURY TRIAL DEMANDED
BEAUTY and ERICA S. HARRELL


                PRAECIPE TO REINSTATE COMPLAINT


TO THE PROTHONOTARY:

     Kindly reinstate the Complaint in the above-captioned matter.


                                           Falcon Law Firm, LLC


                                    By:    Isl Todd M. Sailer, Esq.
                                            Todd M. Sailer, Esquire
                                           Attorney I.D. #86013
                                           Attorney for Plaintiff




                                                                              Case ID: 191200012
        Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 90 of 267




FALCON LAW FIRM, LLC                                                  Filed
BY: Todd M. Sailer, Esquire                                   AttorfTefi!f
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      CIVIL ACTION - LAW

DIANNE COCHRAN                                     CASE ID# 191200012
4 Braxton Court
Quakertown, PA 18951                                         TERM,2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. #120
Bolingbrook, IL 60440                                JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426
                                      NOTICE

You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the compliant or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO


                                                                                     Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 91 of 267




NOT HAVEA LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL
HELP.
              LA WYER REFERENCE SERVICE
                   Philadelphia Bar
                   Association One
                   Reading Center
                  .Philadelphia, PA
                   19107
                   (215) 238-1701

                                        AVISO

Le han demandado a usted en la carte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazao al partir de
la fecha de la demanda y la notificacion. Race falta asentar una comparencia escrita
o en persona o con un abogado y entregar a la carte en forma escrita sus defensas o
sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no
se defiende, la carte tomara medidas y puede continuar la demanda en contra suya
sin previo aviso o notificacion. Ademas, la carte puede decidir a favor del
demandante y requiere que usted cumpla con toas las provisiones de esta demanda.
U sted puede perder dinero o sus propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
TIENE ABOGADO OSI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA 0 LLAME FOR TELEFONO A LA OFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.

SERVICIO DE REFERENCIA LEGAL
    Filadelfia Bar
    Association One Reading
    Center
    Filadelfia, Pennsylvania 19107
    (215) 238-1701




                                                                                Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 92 of 267




FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                           Attorneys for Plaintiff
Attorney I.D. #86013
122 E. Court Street
Doylestown, PA 18901
Tel: 215-360-3880

   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     CIVIL ACTION - LAW

DIANNE COCHRAN                             CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. #120
Bolingbrook, IL 60440                         JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426




                                 COMPLAINT


     1. Plaintiff, Dianne Cochran, is an adult individual who resides at 4 Braxton

Court, Quakertown, PA 18951.



                                                                           Case ID: 191200012
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       2.   Defendant, Ulta Beauty Inc. is a corporation with an address of 1000

Remington Blvd. #120 Bolingbrook, IL and regularly conducts business within the

Commonwealth of Pennsylvania including Philadelphia County.

       3.   Defendant Ulta Beauty is a business entity with a registered address of 6164

Carlisle Pike, Mechanicsburg, PA 17050.

       4.   Defendant, Erica S. Harrell is an adult individual and resident of the

Commonwealth of Pennsylvania and at all times relevant hereto was the manager of

the Ulta store located at 40 Town Center Drive Collegeville PA 19426.

       5.   At all time relevant hereto, Defendants were in exclusive possession,

management and control of the Ulta Beauty store located in Collegeville, PA 19426

individually and through its employees who were acting within the course and scope

of their employment by Defendant and in furtherance of Defendant's store, including

the merchandise endcap shelving units.

      6.    At all times relevant hereto, Defendant failed to maintain and keep its

premises in a reasonably safe condition.

      7. On or about May 6, 2018, Plaintiff, Dianne Cochran was working on a

display at Defendants' store when a large endcap shelving unit suddenly fell on top of

her and violently knocked her backwards causing her to fall to the floor.

      8.     The carelessness and negligence of the Defendants caused Plaintiff to

sustain serious injuries which will be set forth in greater detail herein.



                                                                               Case ID: 191200012
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      9. Defendant as owner and operator of the business located in Collegeville

Pennsylvania owed a duty to keep the premises of the property, including the endcap

in a reasonably safe condition for use by persons at the store including Plaintiff.

      10.   Defendants violated this duty owed, including to the Plaintiff, in that

Defendant negligently and carelessly failed to maintain the endcap and permitted a

dangerous condition to exist. Defendant knew this condition had existed for some time

prior to the accident, and Defendant had, or should have had, due notice of this

condition. Defendant knew or should have known this condition posed a danger to

persons present at the premises.

      11. The aforesaid incident and injuries resulting to the Plaintiff, Dianne Cochran

occurred as a result of the negligence and carelessness of the Defendant.

                                       COUNT I

               PLAINTIFF, DIANNE COCHRAN v. DEFENDANTS



      12. Plaintiff incorporates by reference all the allegations of this Complaint as

though the same were fully set forth at length herein.

      13. The aforesaid incident and injuries resulting to the Plaintiff occurred as a
result of the negligence and carelessness of the Defendants, which consisted of the
following:
              a.    Failing to maintain the shelving unit/endcap of the premises in
                    a safe manner;

              b.    Failing to discover and rectify the danger of the broken


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                  shelving unit/endcap;

            c.    Failing to ensure that the endcap was properly and adequately
                  secured;

            d.    Failing to warn Plaintiff regarding the dangerous condition
                  caused by the broken shelving unit/endcap in the area where
                  the incident occurred;

            e.    Failing to take proper precautions to remedy the dangerous
                  condition of the broken shelving unit/endcap in the area where
                  the incident occurred;

            f.    Failing to use reasonable care to keep their business premises
                  and, in particular, the endcap a safe condition;

            g.    Failing to make a reasonable inspection of the area which
                  would have revealed the existence of the dangerous condition
                  posed by the broken shelving unit/endcap in the area where
                  the incident occurred;

            h.    Allowing the broken endcap to continue to exist when
                  Defendants knew, or in the exercise of reasonable care should
                  have known, that the condition created an unreasonable risk of
                  harm to visitors of the premises.

            i.    Failing to properly inspect the endcap for defective conditions.



      14.    At all times relevant hereto, Plaintiff, despite the exercise of

reasonable care, could not protect herself against the dangerous condition created

by the Defendants.

      15. As a result of the negligence and carelessness of the Defendants,




                                                                             Case ID: 191200012
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      Plaintiff sustained concussion, post-traumatic headaches, postconcussional

      syndrome, brain aneurysm, brain hemorrhage, cervical radiculopathy, lumbar

      radiculopathy, cervicalgia, peripheral tear of the medial meniscus of the left knee

      requiring surgery and other injuries, which are permanent in nature and have

      caused Plaintiff pain and suffering and severe nervous shock.

            16. Solely as a result of Defendants' negligence, Plaintiff was forced to

      bear extensive medical expenses in the treatment of her injuries, which expenses

      will continue for an indefinite time in the future.

             17. Solely as a result of Defendants' negligence, Plaintiff has or may

suffer a severe loss of earnings and an impairment of her earning capacity and power.

             18. Solely as a result of Defendants' negligence, Plaintiff was unable to

attend to her usual duties and occupations or life's pleasures for a substantial period of

time, and may be unable to attend to the aforesaid duties and occupations for an

indefinite time in the future.

            19.    As a result of the injuries sustained by Plaintiff, she has been forced

to   suffer severe physical pain and mental anguish and may be forced to undergo

physical pain and mental anguish for an indefinite period of time in the future.



            WHEREFORE, Plaintiff, Dianne Cochran demands judgment against the



                                                                                   Case ID: 191200012
      Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 97 of 267




Defendants in an amount in excess of $50,000 together with interest and cost.




                                   FALCON LAW FIRM, LLC



                                   BY: Isl Todd M. Sailer, Esq.
                                       Todd M. Sailer, Esquire
                                       Attorney for Plaintiffs
                                       Attorney I.D.#86013




                                                                         Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 98 of 267




                                                                 Case ID: 191200012
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 99 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:        PRAECIPE TO REISSUE SUMMONS

                             JULY 13, 2020 14:23:43

              Sequence:      32


       File:          1    Cochran - Praecipe to Reinstate Writ to Join Match
                           Converge.pd£




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  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 100 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
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1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOT ARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                     Match Converge
                                   7361 Coca Cola Drive
                                 Hanover, Maryland, 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP




                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: July 13, 2020




                                                                                   Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 101 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               DECEMBER
                                                               _                                 19 __
                                                                 _ _ _ _ _ _ _ _ _ _ _ _ Term, 20_
                               vs.

ULTABEAUTY, INC. etal.                                         No. 00012



    TO
           Match Converge
           7361 Coca Cola Drive
           Hanover, Maryland 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




10-245 (Rev. 1101)
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 102 of 267




                               COURT OF COMMON PLEAS
                               COUNTY OF PHILADELPHIA


                     DECEMBER                    19   00012
                     _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                      DIANNE COCHRAN




                                          vs.



                      ULTA BEAUTY, INC. et al.




                             WRIT TO JOIN ADDITIONAL
                                   DEFENDANTS
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       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE TO REISSUE SUMMONS

                              JULY 13, 2020 14:26:45

              Sequence:       36


       File:          1    Cochran - Praecipe to Reinstate Writ to Join Convergence
                           Marketing.pd£




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                                                                            10/13/20 02:57 PM
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BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker(iiJ.bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOT ARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                Convergence Marketing, Inc.
                                  7361A Coca Cola Drive
                                   Hanover, MD 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
                                    \ ,           ..     .   .

                                     t)~~~--

                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: July 13, 2020




                                                                                   Case ID: 191200012
              Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 105 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                            COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               DECEMBER
                                                               _                                  19 __
                                                                 _ _ _ _ _ _ _ _ _ _ _ _ Term, 20 _
                                 vs.

ULTABEAUTY, INC. etal.                                         No. 00012




    TO
            Convergence Marketing, Inc.
            7361A Coca Cola Drive
            Hanover, MD 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




10-245 (Rev. 1/01)
          Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 106 of 267




                                COURT OF COMMON PLEAS
                                COUNTY OF PHILADELPHIA


                      DECEMBER                    19   00012
                      _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                       DIANNE COCHRAN




                                           vs.



                       ULTA BEAUTY, INC. et al.




                              WRIT TO JOIN ADDITIONAL
                                    DEFENDANTS
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       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              JULY 13, 2020 14:29:54

              Sequence:       33


       File:          1    Cochran - Praecipe to Reinstate Writ to Join Match
                           Marketing Group.pdf




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                                                                            10/13/20 02:58 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 108 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898                                                         Fi·1 ed        a ;f              the
TEN PENN CENTER, SUITE 770                                                             Office
                                                                                              13
1801 MARKET STREET
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varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                                    COURT OF COMMON PLEAS
                                                                   PHILADELPHIA COUNTY
                                                   Plaintiff
                         v.                                        DECEMBER TERM, 2019
                                                                   No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOT ARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                  Match Marketing Group
                                  800 Connecticut Avenue
                                       3rd Floor East
                                    Norwalk, CT 06584

                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
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                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: July 13, 2020




                                                                                                               Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 109 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                            COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               DECEMBER                              19
                               vs.                             - - - - - - - - - - - - - T e r m , 20_ __

ULTA BEAUTY, INC. et al.                                       No. 00012



    TO Match Marketing Group
           800 Connecticut Avenue
           3rd Floor East
           Norwalk, CT 06584




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




10-245 (Rev. 1101)
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 110 of 267




                               COURT OF COMMON PLEAS
                               COUNTY OF PHILADELPHIA


                     DECEMBER                    19   00012
                     _ _ _ _ _ _ Term, 20_ _ No. _ _ __




                      DIANNE COCHRAN




                                          vs.




                      ULTA BEAUTY, INC. et al.




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                                   DEFENDANTS
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       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              JULY 13, 2020 14:53:09

              Sequence:       34


       File:          1    Cochran - Praecipe to Reinstate Writ to Join Match
                           Converge.pdf




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BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 206536 I 318898
TEN PENN CENTER, SUITE 770                                              Office
                                                                           13
1801 MARKET STREET
PHILADELPIDA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                           COURT OF COMMON PLEAS
                                                          PHILADELPHIA COUNTY
                                              Plaintiff
                         v.                               DECEMBER TERM, 2019
                                                          No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                     Match Converge
                                   7361 Coca Cola Drive
                                 Hanover, Maryland, 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
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                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: July 13, 2020




                                                                                   Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 113 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                                DECEMBER                                              19
                               vs.                             - - - - - - - - - - - - - T e r m , 20_ __

ULTA BEAUTY, INC. et al.                                       No. 00012



    TO
           Match Converge
           7361 Coca Cola Drive
           Hanover, Maryland 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




10-245 (Rev. 1101)
          Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 114 of 267




                                COURT OF COMMON PLEAS
                                COUNTY OF PHILADELPHIA


                      DECEMBER                    19   00012
                      _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                      DIANNE COCHRAN




                                           vs.



                       ULTA BEAUTY, INC. et al.




                              WRIT TO JOIN ADDITIONAL
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       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              JULY 13, 2020 14:54:48

              Sequence:       35


       File:          1    Cochran - Praecipe to Reinstate Writ to Join Convergence
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  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 116 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
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                                                                        13
1801 MARKET STREET
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(215) 569-4433
sbaker@bonnerkiernan.com
varshanapallv@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        I COURT OF COMMON PLEAS
                                                       I PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOT ARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                Convergence Marketing, Inc.
                                  7361A Coca Cola Drive
                                   Hanover, MD 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP




                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: July 13, 2020




                                                                                   Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 117 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                            COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               DECEMBER
                                                               _                                  19 __
                                                                 _ _ _ _ _ _ _ _ _ _ _ _ Term, 20 _
                               vs.

ULTABEAUTY, INC. eta!.                                         No. 00012




    TO Convergence Marketing, Inc.
            7361A Coca Cola Drive
            Hanover, MD 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS
                                                                               Prothonotary




10-245 (Rev. 1/01)
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                              COURT OF COMMON PLEAS
                              COUNTY OF PHILADELPHIA


                     DECEMBER                   19   00012
                     _ _ _ _ _ _ Term, 20_ _ No. _ _ __




                     DIANNE COCHRAN




                                         vs.



                     ULTA BEAUTY, INC. et al.




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       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




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 DIANNE COCHRAN                                                                                                11111 HJ mu JIH 11111RllLll11 Oii
                                                                                        Plaintiff'

                                               vs
ULTABEAUTY, INC; ET AL
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 COLLEGEVILLE PA i 9426                                                                                           (For Use bY:.Private Service)
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Attorney: Teioo·fv1. 'SAILER, ESQ.

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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 121 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRELIMINARY OBJECTIONS

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              Sequence:       38


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 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 122 of 267




 DIANNE COCHRAN
                                                                                              the
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                         v.                          DECEMBER TE!Uv!tif<}J
                                                     No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants
                   v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants

                                          ORDER

       AND NOW, this _ _ _ _ day of _ _ _ _ _ _ _~ 2020, upon consideration of

the Preliminary Objections of Defendant, Erica S. Harrell, to Plaintiffs Complaint, and any

response thereto, it is hereby ORDERED and DECREED that said Preliminary Objections are

SUSTAINED. It is further ORDERED and DECREED that Plaintiffs Complaint as to Erica S.

Harrell is stricken as a whole, and DISMISSED, with prejudice.

                                                  BY THE COURT:




                                                                 J.




                                                                                 Case ID: 191200012
                                                                               Control No.: 20080634
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                                                     NOTICE TO PLEAD TO PLAINTIFF:
                                                     You are hereby notified to plead to the enclosed
                                                     Preliminary Objections within twenty (20) days from
                                                     service hereof or a judgment may be entered against you.
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                                                     Attorneys for Defendants, Erica S. Harrell and ULTA
                                                     Salon, Cosmetics & Fragrance, Inc. (improperly identified
                                                     as ULTA Beauty, Inc. and ULTA Beauty)

BONNER KIERNAN TREBACH & CROCIATA LLP
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sbaker@bonnerkiernan.com
varshanapallv@bonnerkiernan.com

Attorneys for Defendants, Erica S. Harrell and ULTA Salon, Cosmetics & Fragrance, Inc.
(improperly identified as ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                              COURT OF COMMON PLEAS
                                                             PHILADELPHIA COUNTY
                                             Plaintiff
                          v.                                 DECEMBER TERM, 2019
                                                             No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants
                          v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants

     DEFENDANT'S PRELIMINARY OBJECTIONS TO PLAINTIFF'S COMPLAINT

       Defendant, Erica S. Harrell (hereinafter referred to as "Ms. Harrell" or "Moving

Defendant"), by and through her undersigned counsel, hereby files the within Preliminary

Objections to Plaintiffs Complaint, and in support thereof, aver as follows:




                                                                                               Case ID: 191200012
                                                                                             Control No.: 20080634
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    I.        FACTS AND PROCEDURAL BACKGROUND

         1.     Plaintiff initiated this action via a Writ filed on November 27, 2019.

         2.     On April 15, 2020, Plaintiff filed a Complaint against Defendant, ULTA Salon,

Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty),

and individual defendant, Erica S. Harrell. See Plaintiff's Complaint attached hereto as Exhibit "A."

         3.     On July 30, 2020, Plaintiff filed an Affidavit of Service stating that Moving

Defendant was served via personal service on July 20, 2020.

         4.     In her Complaint, Plaintiff alleges on or about May 6, 2018, she was working on a

display at the ULTA Store located at 40 Town Center Drive, Collegeville, PA 19426, when a large

endcap shelving unit fell on top of her and knocked her backwards causing her to fall to the floor.

See Exhibit "A."

         5.     Plaintiff attempts to set forth a cause of action for negligence against all named

Defendants, UL TA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty,

Inc. and ULTA Beauty), and, individual defendant, Ms. Harrell. See Exhibit "A."

         6.     As it relates specifically to Moving Defendant, Plaintiff only contends the following:

"Defendant, Erica S. Harrell is an adult individual and resident of the Commonwealth of

Pennsylvania and at all times relevant hereto was the manager of the Ulta store located at 40 Town

Center Drive Collegeville PA 19426." See Exhibit "A" at ,4.

         7.     Throughout the Complaint, Plaintiff makes references to "Defendant" without

specifying which of the defendants Plaintiff is actually referring to. For instance,

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                   premlsescfo a reasonably safe condition.




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See Exhibit "A" at~~ 6, 9, 10.

        8.      Similarly, Plaintiff uses the term "Defendants" throughout the Complaint, and there

is no way to understand which of the Defendants (ULTA Salon, Cosmetics & Fragrance, Inc.

(improperly identified as ULTA Beauty, Inc. and ULTA Beauty) or individual defendant, Ms.

Harrell) the allegations refer to. See Exhibit "A" at~~ 10, 13a-i, 14-18.

        9.      Notably, Plaintiff uses the term "Defendants" in paragraphs alleging negligent acts

supposedly performed by the same without actually attributing these acts to a specific defendant.

For instance,

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See Exhibit "A" at, 13a-i.

        10.     Additionally, Plaintiff claims throughout the Complaint that "as a result of

Defendants' negligence, " she has suffered various injuries and harm, such as "concussion, post-

traumatic headaches, post-concussional syndrome, brain aneurysm, brain hemorrhage, cervical

radiculopathy, lumbar radiculopathy, cervicalgia, peripheral tear of the medical meniscus of the

left knee requiring surgery and other injuries .... " See Exhibit "A" at,, 14-18.

        11.     In none of these paragraphs does Plaintiffs Complaint assign any specific

negligent conduct to Moving Defendant.

        12.     Consequently, Plaintiffs negligence claim against Moving Defendant must fail

under Pa. R. Civ. P. 1028(a)(3) and (4), for lack of specificity and failure to state a claim upon

which relief can be granted.

  II.         PRELIMINARY OBJECTION PURSUANT TO PA.RC.P.1028(A)(3) FOR
              LACK OF SPECIFICITY IN A PLEADING.

        13.     Moving Defendant hereby incorporates by reference paragraphs 1-12 above as

though the same were fully set forth herein at length.



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        14.    Pennsylvania Rule of Civil Procedure No. 1028(a)(2) permits a defendant to move

to strike a Complaint because of lack of conformity to law or rule of Court. See Pa.R.C.P. No.

1028(a)(2).

        15.    Pennsylvania Rule of Civil Procedure No. 1028(a)(3) permits a defendant to move

to strike a pleading due to a lack of specificity. See Pa.R.C.P. No. 1028(a)(3).

        16.    Pennsylvania Rule of Civil Procedure No. 1019(a) requires that "material facts on

which a cause of action or defense is based shall be stated in a concise and summary form." See

Pa.R.C.P. No. 1019.

        17.    In a complaint, the facts plead must be "sufficiently specific so as to enable

defendants to prepare a defense." See Loffv. Granville, 51 Pa. D. & C. 4th 563, 575 (Lackawanna

Co. 2001) (citing Baker v. Rangos, 229 Pa. Super. 333, 324 A.2d 498 (1974)).

        18.    In Connor v. Allegheny General Hospital, 461 A.2d 600 (Pa. 1983), the

Pennsylvania Supreme Court made it clear that if the defendants did not understand the breadth

and depth of the allegations against them, they should file preliminary objections challenging

same.

        19.    Here, Plaintiff makes non-specific allegations of negligence against Moving

Defendant that are objectionable under Connor and unsupported by the Complaint.

        20.    As it relates specifically to Moving Defendant, Plaintiff only contends the following:

"Defendant, Erica S. Harrell is an adult individual and resident of the Commonwealth of Pennsylvania

and at all times relevant hereto was the manager of the Ulta store located at 40 Town Center Drive

Collegeville PA 19426." See Exhibit "A" at ~4.

        21.    Throughout the Complaint, Plaintiff makes references to "Defendant" without

specifying which of the defendants Plaintiff is actually referring to. For instance,



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                                                                                         Case ID: 191200012
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  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 128 of 267




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                  premises in a reasonably safe condition.


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See Exhibit "A" at iii! 6, 9, 10.

        22.     Similarly, Plaintiff uses the term "Defendants" throughout the Complaint, without

again specifying which of the Defendants she is referring to.

        23.     Notably, Plaintiff uses the term ''Defendants" in paragraphs alleging acts of negligence

supposedly performed by the same without actually attributing them to a specific defendant. For

instance,

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See Exhibit "A" at 113.

       24.     Plaintiff further claims throughout the Complaint that "as a result of Defendants'

negligence, " she has suffered various injuries and harm, such as "concussion, post-traumatic

headaches,    post-concussional             syndrome,                brain          aneurysm,                brain        hemorrhage,   cervical

radiculopathy, lumbar radiculopathy, cervicalgia, peripheral tear of the medical meniscus of the

left knee requiring surgery and other injuries ... ."See Exhibit "A" at 1114-18.

       25.     In none of these paragraphs does Plaintiffs Complaint assign any specific

allegation of negligent conduct to Moving Defendant.

       26.     Plaintiff further fails to set forth the factual basis of her conclusory assertions that

she was owed a duty, which was breached, by Moving Defendant, Ms. Harrell.

       27.     Rather, Plaintiff attempts to "boot strap" her negligence claim against Moving

Defendant by only naming her and then referring to "Defendants" and assigning conclusory

allegations of negligence against all parties. See Exhibit "A."



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          28.     Moving Defendant's ability to respond to the allegations in the Complaint, as well

as prepare a defense, will be severely compromised if Plaintiffs Complaint remains unchanged.

See Baker v. Rangos, 229 Pa. Super 333, 324 A.2d 498 (1974) (the facts and damages alleged in a

complaint must be "sufficiently specific so as to enable defendant to prepare a defense).

          WHEREFORE, Defendant, Erica S. Harrell, respectfully requests that this Honorable

Court grant Moving Defendant's Preliminary Objections and strike Plaintiffs Complaint, with

prejudice, for lack of specificity.

   III.         PRELIMINARY OBJECTION PURSUANT TO PA.R.C.P. 1028(A)(4) FOR
                FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

          29.     Moving Defendant hereby incorporates by reference paragraphs 1-28 above as

though the same were fully set forth herein at length.

          30.     Pursuant to Pa. R. Civ. P. 1028(a)(4), a complaint may be dismissed for failure to

state a claim upon which relief can be granted.

          31.     Plaintiff both fails to plead a viable cause of action for negligence against Moving

Defendant, and Plaintiff fails to state a cause of action against Moving Defendant in her individual

capacity.

          32.     In order to adequately plead a claim for negligence, a plaintiff must allege the

following elements: "l) a duty or obligation recognized by the law that requires an actor to

conform his actions to a standard of conduct for the protection of others against unreasonable risks;

2) failure on the part of the defendant to conform to that standard of conduct, i.e., a breach of duty;

3) a reasonably close causal connection between the breach of duty and the injury sustained; and 4)

actual loss or damages that result from the breach." Ney v. Axelrod, 723 A.2d 719, 721 (Pa. Super.

1999).

          33.     As stated above, Plaintiffs Complaint does not assign any specific allegation of

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negligent conduct to Moving Defendant.

         34.      Rather, after setting forth the basic factual predicates of her claims, in which

Plaintiff never assigns any negligent acts to the three named defendants, Plaintiff then sets forth

conclusory, boilerplate negligence allegations against all parties without specifying which party, if

any, committed the acts of negligence. See Exhibit "A."

         35.      Thus, Plaintiff fails to set forth the factual basis of her conclusory assertions that

she was owed a duty, which was breached, by Moving Defendant, Ms. Harrell.

         36.      In addition, "[n]egligence might consist not only of nonfeasance, that is, omitting to

do, or not doing, something which ought to be done, which a reasonable and prudent man would

do, but also of a misfeasance, that is, the doing of something which ought not be done, something

which a reasonable man would not do, or doing it in such a manner as a man of reasonable and

ordinary prudence would not do it, in either case leading to mischief or injury." Brindley v.

Woodland Village Rest., 652 A.2d 865, 869 (Pa. Super. 1995).

         37.      However, Pennsylvania law has long recognized that pursuant to the participation

theory, 1 officers or employees of a corporation cannot be held personally liable for '"mere

nonfeasance', i.e. the omission of an act which a person ought to do." Brindley v. Woodland

Restaurant, Inc., 652 A.2d 685 (Pa. Super. 1995); Wicks v. Milzoco Builders, Inc., 470 A.2d 86

(Pa. 1983); Leb. Valley Ins. Co. v. Flaxman, 2017 Pa. Super. Unpub. LEXIS 1174168, *7 (Pa.

Super. 2017).

         38.      In order to "impose liability on a corporate officer pursuant to the participation

theory, a plaintiff must establish that the corporate officer engaged in misfeasance." Leb. Valley


1
  "Under the participation theory, the court imposes liability on the individual as an actor rather than as an owner. Such
liability is not predicated on a finding that the corporation is a sham and a mere alter ego of the individual corporate
officer. Instead, liability attaches where the record establishes the individual's participation in the tortious activity."
Brindley v. Woodland Viii. Rest., 652 A.2d 865, 868 (Pa. Super. 1995) (citing Wicks v. Milzoco Builders, Inc., 470
A.2d 86, 89 (Pa. 1983)).
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Ins. Co. v. Flaxman, 2017 Pa. Super. Unpub. LEXIS 1174168, *7 (Pa. Super. 2017) (internal

citation omitted).

        39.       In Brindley, plaintiff sued the owners/employees of a restaurant/corporation, in their

individual capacity, after he had sustained personal injuries from slipping and falling on a pool of

water while using the restaurant's bathroom. Brindley v. Woodland Village Rest., 652 A.2d 865,

866 (Pa. Super. 1995).

        40.       Following a bench trial, a verdict was entered in favor of plaintiff and against all

defendants. Id.

        41.       On appeal, the Superior Court remanded the matter for a new trial, and held that the

owners/employees could not be held personally liable because they did not engage in misfeasance.

Id. at 866, 869-70.

        42.       The Superior Court stated that the alleged negligence or inaction that led to the

condition which caused plaintiffs injury was plainly more analogous to negligence consisting of

nonfeasance, i.e., omitting to do something which ought to be done. Id. at 870.

        43.       In that, the individual employees allegedly neglected their duty to clean and keep

safe the restaurant's restroom. Id.

        44.       There was no evidence, however, that the condition existing in the restroom was a

result of an active, knowing participation by the individual employees. Id.

       45.        Thus, the owners/employees have not engaged in the evils the participation theory

seeks to address to hold them personally liable. Id.

       46.        In the instant action, in subparagraphs of ~13, Plaintiffs conclusory allegations

against Defendants are almost exclusively claims of nonfeasance or their alleged failure to act. See

Exhibit "A" at ~ 13.



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       47.       The sole allegation of misfeasance is nothing more than a conclusory statement

without any factual support because Plaintiff never alleges that Moving Defendant performed the

act. See Exhibit "A" at~~ 6,9,10,13-18.

       48.       Furthermore, in Leb. Valley Ins. Co. v. Flaxman, 2017 Pa. Super. Unpub. LEXIS

1174168, *13 (Pa. Super. 2017), the Court has stated that when a sole allegation is viewed in the

context of the Complaint as a whole, which alleges nonfeasance and failure to act, misfeasance has

not been pled.

       49.       Thus, Plaintiffs conclusory claims that all defendants, including Moving

Defendant, engaged in nonfeasance cannot support a negligence claim against Moving Defendant,

in her individual capacity, under Pennsylvania law.

       50.       In the alternative, all of the conclusory allegations contained in subparagraphs of~

13 against the individual defendant should be disregarded for purposes of determining whether

Plaintiff has a adequately pled a claim against the individual Moving Defendant because Plaintiff

has not set forth any factual predicate for supporting the allegations, and is in violation of Pa. R.

Civ. P. 1019(a).

       WHEREFORE, Defendant, Erica S. Harrell, respectfully requests that this Honorable

Court strike Plaintiffs Complaint against Moving Defendant, with prejudice, for failure to state a

claim upon which relief can be granted.

                                       Respectfully submitted,
                                       BONNER KIERNAN TR.EBACH & CROCIATA LLP

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                                       By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                             SARAH M. BAKER, ESQUIRE
                                             VAISHNAVI ARSHANAPALLY, ESQUIRE
Date: August 10, 2020


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BONNER KIERNAN TREBACH & CROCIATA LLP
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Attorneys for Defendants, Erica S. Harrell and ULTA Salon, Cosmetics & Fragrance, Inc.
(improperly identified as ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        1
                                                           COURT OF COMMON PLEAS
                                                       IPHILADELPHIA COUNTY
                                             Plaintiff i
                          v.                               DECEMBER TERM, 2019
                                                           No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants
                          v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants .
                                                       I
      DEFENDANT'S MEMORANDUM OF LAW IN SUPPORT OF THE PRELIMINARY
                   OBJECTIONS TO PLAINTIFF'S COMPLAINT

        Defendant, Erica S. Harrell (hereinafter referred to as "Ms. Harrell" or "Moving

Defendant"), by and through her undersigned counsel, hereby submits the following Memorandum

of Law in Support of the Preliminary Objections to Plaintiffs Complaint, and in support thereof, ·

avers as follows:

I.      MATTER BEFORE THE COURT

        Preliminary Objections of Defendant Erica S. Harrell.




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II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY

        Plaintiff initiated this action via a Writ filed on November 27, 2019. On April 15, 2020,

Plaintiff filed a Complaint against Defendant, ULTA Salon, Cosmetics & Fragrance, Inc.

(improperly identified as ULTA Beauty, Inc. and ULTA Beauty), and individual defendant, Erica S.

Harrell. See Plaintiffs Complaint attached hereto as Exhibit "A" On July 30, 2020, Plaintiff filed an

Affidavit of Service stating that Moving Defendant was served via personal service on July 20, 2020.

        In her Complaint, Plaintiff alleges on or about May 6, 2018, she was working on a display at

the ULTA Store located at 40 Town Center Drive, Collegeville, PA 19426, when a large endcap

shelving unit fell on top of her and knocked her backwards causing her to fall to the floor. See

Exhibit "A" Plaintiff attempts to set forth a cause of action for negligence against all named

Defendants, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty,

Inc. and ULTA Beauty), and, individual defendant, Ms. Harrell. See Exhibit "A"

       As it relates specifically to Moving Defendant, Plaintiff only contends the following:

"Defendant, Erica S. Harrell is an adult individual and resident of the Commonwealth of

Pennsylvania and at all times relevant hereto was the manager of the Ulta store located at 40 Town

Center Drive Collegeville PA 19426." See Exhibit "A" at ,4. Throughout the Complaint, Plaintiff

makes references to "Defendant" without specifying which of the defendants Plaintiff is

actually referring to. For instance,
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See Exhibit "A" at iii! 6, 9, 10.

        Similarly, Plaintiff uses the term "Defendants" throughout the Complaint, and there is no

way to understand which of the Defendants (ULTA Salon, Cosmetics & Fragrance, Inc.

(improperly identified as ULTA Beauty, Inc. and ULTA Beauty) or individual defendant, Ms.

Harrell) the allegations refer to. See Exhibit "A" at ifif 10, 13a-i,14-18. Notably, Plaintiff uses the

term "Defendants" in paragraphs alleging negligent acts supposedly performed by the same without

actually attributing these acts to a specific defendant. For instance,

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See Exhibit "A" at, l 3a-i.

            Additionally, Plaintiff claims throughout the Complaint that "as a result of Defendants'

negligence," she has suffered various injuries and harm, such as "concussion, post-traumatic

headaches, post-concussional syndrome, brain aneurysm,                   brain hemorrhage, cervical

radiculopathy, lumbar radiculopathy, cervicalgia, peripheral tear of the medical meniscus of the

left knee requiring surgery and other injuries .... " See Exhibit "A" at,, 14-18.

            In none of these paragraphs does Plaintiffs Complaint assign any specific negligent

conduct to Moving Defendant. Consequently, Plaintiffs negligence claim against Moving

Defendant must fail under Pa. R. Civ. P. 1028(a)(3) and (4), for lack of specificity and failure to

state a claim upon which relief can be granted.

III.        STATEMENT OF QUESTIONS INVOLVED

                   1. Whether Plaintiffs Complaint should be stricken as a whole, with prejudice,

                       where Plaintiff has failed to set forth with sufficient specificity her claim of

                       negligence against Defendant, Erica S. Harrell?

               Suggested Answer:         Yes.

                   2. Whether Plaintiffs Complaint should be stricken as a whole, with prejudice,

                       where Plaintiff has failed to plead a legally cognizable cause of action for

                       negligence against Defendant, Erica S. Harrell?

               Suggested Answer:         Yes.

IV.         LEGAL ARGUMENT

       A.      PRELIMINARY OBJECTION PURSUANT TO PA.R.C.P. 1028(A)(3) FOR
               LACK OF SPECIFICITY IN A PLEADING
            Pennsylvania Rule of Civil Procedure No. 1028(a)(2) permits a defendant to move to strike

a Complaint because of lack of conformity to law or rule of Court. See Pa.R.C.P. No. 1028(a)(2).


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        Pennsylvania Rule of Civil Procedure No. 1028(a)(3) permits a defendant to move to strike

a pleading due to a lack of specificity. See Pa.R.C.P. No. 1028(a)(3).

        Pennsylvania Rule of Civil Procedure No. 1019(a) requires that "material facts on which a

cause of action or defense is based shall be stated in a concise and summary form." See Pa.R.C.P.

No. 1019.

       In a complaint, the facts plead must be "sufficiently specific so as to enable defendants to

prepare a defense." See Lojf v. Granville, 51 Pa. D. & C. 4th 563, 575 (Lackawanna Co. 2001)

(citing Baker v. Rangos, 229 Pa. Super. 333, 324 A.2d 498 (i974)). In Connor v. Allegheny

General Hospital, 461 A.2d 600 (Pa. 1983), the Pennsylvania Supreme Court made it clear that if

the defendants did not understand the breadth and depth of the allegations against them, they

should file preliminary objections challenging same.

       Here, Plaintiff makes non-specific allegations of negligence against Moving Defendant that

are objectionable under Connor and unsupported by the Complaint. As it relates specifically to

Moving Defendant, Plaintiff only contends the following: "Defendant, Erica S. Harrell is an adult

individual and resident of the Commonwealth of Pennsylvania and at all times relevant hereto was the

manager of the Ulta store located at 40 Town Center Drive Collegeville PA 19426." See Exhibit "A"

at ~4. Throughout the Complaint, Plaintiff makes references to "Defendant" without specifying

which of the defendants Plaintiff is actually referring to. For instance,

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See Exhibit "A" at~~ 6, 9, 10.

        Similarly, Plaintiff uses the term "Defendants" throughout the Complaint, without again

specifying which of the Defendants she is referring to. Notably, Plaintiff uses the term "Defendants"

in paragraphs alleging acts of negligence supposedly performed by the same without actually

attributing them to a specific defendant. For instance,

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See Exhibit "A" at if 13.

        Plaintiff further claims throughout the Complaint that "as a result ofDefendants' negligence, "

she has suffered various injuries and harm, such as "concussion, post-traumatic headaches, post-

concussional syndrome, brain aneurysm, brain hemorrhage, cervical radiculopathy, lumbar

radiculopathy, cervicalgia, peripheral tear of the medical meniscus of the left knee requiring

surgery and other injuries .... " See Exhibit "A" at iii! 14-18.

        In none of these paragraphs does Plaintiffs Complaint assign any specific allegation of

negligent conduct to Moving Defendant. Plaintiff further fails to set forth the factual basis of her

conclusory assertions that she was owed a duty, which was breached, by Moving Defendant, Ms.

Harrell. Rather, Plaintiff attempts to "boot strap" her negligence claim against Moving Defendant

by only naming her and then referring to "Defendants" and assigning conclusory allegations of

negligence against all parties. See Exhibit "A."

        Moving Defendant's ability to respond to the allegations in the Complaint, as well as

prepare a defense, will be severely compromised if Plaintiffs Complaint remains unchanged. See

Baker v. Rangos, 229 Pa. Super 333, 324 A.2d 498 (1974) (the facts and damages alleged in a

complaint must be "sufficiently specific so as to enable defendant to prepare a defense). As such,

Plaintiffs Complaint against Moving Defendant must be stricken as a whole, with prejudice.

   B.       PRELIMINARY OBJECTION PURSUANT TO PA.RC.P. 1028(A)(4) FOR
            FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

        Plaintiff both fails to plead a viable cause of action for negligence against Moving

Defendant, and Plaintiff fails to state a cause of action against Moving Defendant in her individual

capacity.

        Pursuant to Pa. R. Civ. P. 1028(a)(4), a complaint may be dismissed for failure to state a

claim upon which relief can be granted. In order to adequately plead a claim for negligence, a


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plaintiff must allege the following elements: "1) a duty or obligation recognized by the law that

requires an actor to conform his actions to a standard of conduct for the protection of others against

unreasonable risks; 2) failure on the part of the defendant to conform to that standard of conduct,

i.e., a breach of duty; 3) a reasonably close causal connection between the breach of duty and the

injury sustained; and 4) actual loss or damages that result from the breach." Ney v. Axelrod, 723

A.2d 719, 721 (Pa. Super. 1999).

         As stated above, Plaintiffs Complaint does not assign any specific allegation of negligent

conduct to Moving Defendant. Rather, after setting forth the basic factual predicates of her claims,

in which Plaintiff never assigns any negligent acts to the three named defendants, Plaintiff then

sets forth conclusory, boilerplate negligence allegations against all parties without specifying

which party, if any, committed the acts of negligence. See Exhibit "A." Thus, Plaintiff fails to set

forth the factual basis of her conclusory assertions that she was owed a duty, which was breached,

by Moving Defendant, Ms. Harrell.

         In addition, "[n]egligence might consist not only of nonfeasance, that is, omitting to do, or

not doing, something which ought to be done, which a reasonable and prudent man would do, but

also of a misfeasance, that is, the doing of something which ought not be done, something which a

reasonable man would not do, or doing it in such a manner as a man of reasonable and ordinary

prudence would not do it, in either case leading to mischief or injury." Brindley v. Woodland

Village Rest., 652 A.2d 865, 869 (Pa. Super. 1995).                      However, Pennsylvania law has long

recognized that pursuant to the participation theory, 2 officers or employees of a corporation cannot

be held personally liable for "'mere nonfeasance', i.e. the omission of an act which a person ought


2
  "Under the participation theory, the court imposes liability on the individual as an actor rather than as an owner. Such
liability is not predicated on a finding that the corporation is a sham and a mere alter ego of the individual corporate
officer. Instead, liability attaches where the record establishes the individual's participation in the tortious activity."
Brindley v. Woodland Vilt. Rest., 652 A.2d 865, 868 (Pa. Super. 1995) (citing Wicks v. Milzoco Builders, Inc., 470
A.2d 86, 89 (Pa. 1983)).
                                                            8




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to do." Brindley v. Woodland Restaurant, Inc., 652 A.2d 685 (Pa. Super. 1995); Wicks v. Milzoco

Builders, Inc., 470 A.2d 86 (Pa. 1983); Leh. Valley Ins. Co. v. Flaxman, 2017 Pa. Super. Unpub.

LEXIS 1174168, *7 (Pa. Super. 2017). In order to "impose liability on a corporate officer pursuant

to the participation theory, a plaintiff must establish that the corporate officer engaged in

misfeasance." Leh. Valley Ins. Co. v. Flaxman, 2017 Pa. Super. Unpub. LEXIS 1174168, *7 (Pa.

Super. 2017) (internal citation omitted).

        In Brindley, plaintiff sued the owners/employees of a restaurant/corporation, in their

individual capacity, after he had sustained personal injuries from slipping and falling on a pool of

water while using the restaurant's bathroom. Brindley v. Woodland Village Rest., 652 A.2d 865,

866 (Pa. Super. 1995). Following a bench trial, a verdict was entered in favor of plaintiff and

against all defendants. Id. On appeal, the Superior Court remanded the matter for a new trial, and

held that the owners/employees could not be held personally liable because they did not engage in

misfeasance. Id. at 866, 869-70. The Superior Court stated that the alleged negligence or inaction

that led to the condition which caused plaintiffs injury was plainly more analogous to negligence

consisting of nonfeasance, i.e., omitting to do something which ought to be done. Id. at 870. In

that, the individual employees allegedly neglected their duty to clean and keep safe the restaurant's

restroom. Id. There was no evidence, however, that the condition existing in the restroom was a

result of an active, knowing participation by the individual employees. Id. Thus, the

owners/employees have not engaged in the evils the participation theory seeks to address to hold

them personally liable. Id.

       In the instant action, in subparagraphs of ,13, Plaintiff's conclusory allegations against

Defendants are almost exclusively claims of nonfeasance or their alleged failure to act. See Exhibit

"A" at , 13. The sole allegation of misfeasance is nothing more than a conclusory statement

without any factual support because Plaintiff never alleges that Moving Defendant performed the
                                                 9



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act. See Exhibit "A" at,, 6,9,10,13-18. Furthermore, in Leb. Valley Ins. Co. v. Flaxman, 2017 Pa.

Super. Unpub. LEXIS 1174168, *13 (Pa. Super. 2017), the Court has stated that when a sole

allegation is viewed in the context of the Complaint as a whole, which alleges nonfeasance and

failure to act, misfeasance has not been pled. Thus, Plaintiffs conclusory claims that all

defendants, including Moving Defendant, engaged in nonfeasance cannot support a negligence

claim against Moving Defendant, in her individual capacity, under Pennsylvania law.

         In the alternative, all of the conclusory allegations contained in subparagraphs of , 13

against the individual defendant should be disregarded for purposes of determining whether

Plaintiff has a adequately pled a claim against the individual Moving Defendant because Plaintiff

has not set forth any factual predicate for supporting the allegations, and is in violation of Pa. R.

Civ. P. 1019(a).

V.       CONCLUSION

         For all the foregoing reasons, Defendant, Erica S. Harrell, respectfully requests that this

Honorable Court strike Plaintiffs Complaint against Moving Defendant, with prejudice, for lack

of specificity and failure to state a claim upon which relief can be granted, and enter the attached

Order.

                                      Respectfully submitted,
                                      BONNER KIERNAN TREBACH & CROCIATA LLP

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                                      By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                            SARAH M. BAKER, ESQUIRE
                                            VAISHNAVI ARSHANAPALLY, ESQUIRE
                                            Attorneys for Defendants, Erica S. Harrell and
                                            ULTA Salon, Cosmetics & Fragrance, Inc.
                                            (improperly identified as ULTA Beauty, Inc. and
                                            ULTA Beauty)
Date: August 10, 2020


                                                 10



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                                         VERIFICATION

        I, VAISHNAVI ARSHANAPALLY, ESQUIRE, hereby state that I am the attorney for

Defendant, Erica Harrell, in the foregoing matter, and as such am authorized to and do make this

Verification on his behalf.      I verify that statements made in the foregoing Defendant's

Preliminary Objections and Memorandum of Law in Support of the Preliminary Objections are

true and correct to the best of my knowledge, information and belief. The undersigned

understands that the statements made therein are subject to the penalties of 18 Pa. C.S. §4904

relating to unsworn falsification to authorities.




                                           VAISHNAVI ARSHANAPALLY, ESQUIRE


Date: August 10, 2020




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                               CERTIFICATE OF SERVICE

       I, VAISHNAVI ARSHANAPALLY, ESQUIRE, hereby certify that a true and correct
copy of the foregoing Defendant's Preliminary Objections and Memorandum of Law in Support
of the Preliminary Objections has been electronically filed with the Court and is available for
viewing and downloading from the Electronic Filing System by the following:

                                  COUNSEL FOR PLAINTIFFS
                                   Todd M. Sailer, Esquire
                                   FALCON LAW FIRM, LLC
                                 122 E. Court Street, 3rd Floor
                                    Doylestown, PA 18901




                                            By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                              VAISHNAVI ARSHANAPALLY, ESQUIRE


Date: August 10, 2020




                                                                                     Case ID: 191200012
                                                                                  Control No.: 20080634
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                     EXHIBIT "A"




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FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      CIVIL ACTION - LAW

DIANNE COCHRAN                                     CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                         TERM,2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. #120
Bolingbrook, IL 60440                                JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426
                                      NOTICE

You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the compliant or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO


                                                                                    Case ID: 191200012
                                                                                  Control No.: 20080634
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NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL
HELP.
              LAWYER REFERENCE SERVICE
                  Philadelphia Bar
                  Association One
                  Reading Center
                  Philadelphia, PA
                  19107
                  (215) 238-1701

                                        AVISO

Lehan demandado a usted en la carte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazao al partir de
la fecha de la demanda y la notificacion~ Race falta asentar una comparencia escrita
o en persona o con un abogado y entregar a la carte en forma escrita sus defensas o
sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no
se defiende, la carte tomara medidas y puede continuar la demanda en contra suya
sin previo aviso o notificacion. Ademas, la corte puede decidir a favor del
demandante y requiere que usted cumpla con toas las provisiones de esta demanda.
U sted puede perder dinero o sus propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
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DONDE SE PUEDE CONSEGUIR AS IS TENCIA LEGAL.

SERVICIO DE REFERENCIA LEGAL
    Filadelfia Bar
    Association One Reading
    Center
    Filadelfia, Pennsylvania 19107
    (215) 238-1701




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                                                                             Control No.: 20080634
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FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                           Attorneys for Plaintiff
Attorney I.D. #86013
122 E. Court Street
Doylestown, PA 18901.
Tel: 215-360-3880

   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     CIVIL ACTION - LAW

DIANNE COCHRAN                             CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                         JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426




                                COMPLAINT


     1. Plaintiff, Dianne Cochran, is an adult individual who resides at 4 Braxton

Court, Quakertown, PA 18951.



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                                                                        Control No.: 20080634
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       2.   Defendant, Ulta Beauty Inc. is a corporation with an address of 1000

Remington Blvd. #120 Bolingbrook, IL and regularly conducts business within the

Commonwealth of Pennsylvania including Philadelphia County.

       3.   Defendant Ulta Beauty is a business entity with a registered address of 6164

Carlisle Pike, Mechanicsburg, PA 17050.

       4.   Defendant, Erica S. Harrell is an adult individual and resident of the

Commonwealth of Pennsylvania and at all times relevant hereto was the manager of

the Ulta store located at 40 Town Center Drive Collegeville PA 19426.

       5.   At all time relevant hereto, Defendants were in exclusive possession,

management and control of the Ulta Beauty store located in Collegeville, PA 19426

individually and through its employees who were acting within the course and scope

of their employment by Defendant and in furtherance of Defendant's store, including

the merchandise endcap shelving units.

      6.    At all times relevant hereto, Defendant failed to maintain and keep its

premises in a reasonably safe condition.

     · 7. On or about May 6, 2018, Plaintiff, Dianne Cochran was working on a

display at Defendants' store when a large endcap shelving unit suddenly fell on top of ·

her and violently knocked her backwards causing her to fall to the floor.

      8.     The carelessness and negligence of the Defendants caused Plaintiff to

sustain serious injuries which will be set forth in greater detail herein.



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      9. Defendant as owner and operator of the business located in Col!egeville

Pennsylvania owed a duty to keep the premises of the property, including the endcap

in a reasonably safe condition for use by persons at the store including Plaintiff.

      10.   Defendants violated this duty owed, including to the Plaintiff, in that

Defendant negligently and carelessly failed to maintain the endcap and permitted a

dangerous condition to exist. Defendant knew this condition had existed for some time

prior to the accident, and Defendant had, or should have had, due notice of this

condition. Defendant knew or should have known this condition posed a danger to

persons present at the premises.

      11. The aforesaid incident and injuries resulting to the Plaintiff, Dianne Cochran

occurred as a result of the negligence and carelessness of the Defendant.

                                       COUNT I

               PLAINTIFF, DIANNE COCHRAN v. DEFENDANTS



      12. Plaintiff incorporates by reference all the allegations of this Complaint as

though the same were fully set forth at length herein.

      13. The aforesaid incident and injuries resulting to the· Plaintiff occurred as a
result of the negligence and carelessness of the Defendants, which consisted of the
following:
              a.    Failing to maintain the shelving unit/endcap of the premises in
                    a safe manner;

              b.    Failing to discover and rectify the danger of the broken


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                     shelving unit/endcap;

            c.    Failing to ensure that the endcap was properly and adequately
                  secured;

            d.    Failing to warn Plaintiff regarding the dangerous condition
                  caused by the broken shelving unit/endcap in the area where
                  the incident occurred;

            e.    Failing to take proper precautions to remedy the dangerous
                  condition of the broken shelving unit/endcap in the area where
                  the incident occurred;

            f.    Failing to use reasonable care to keep their business premises
                  and, in particular, the endcap a safe condition;

            g.    Failing to make a reasonable inspection of the area which
                  would have revealed the existence of the dangerous condition
                  posed by the broken shelving unit/endcap in the area where
                  the incident occurred;

            h.    Allowing the broken endcap to continue to exist when
                  Defendants knew, or in the exercise of reasonable care should
                  have known, that the condition created an unreasonable risk of
                  harm to visitors of the premises.

            i.    Failing to properly inspect the endcap for defective conditions.



      14.    At all times relevant hereto, Plaintiff, despite the exercise of

reasonable care, could not protect herself against the dangerous condition created

by the Defendants.

      15. As a result of the negligence and carelessness of the Defendants,




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      Plaintiff sustained concussion, post-traumatic headaches, postconcussional

      syndrome, brain aneurysm, brain hemorrhage, cervical radiculopathy, lumbar

      radiculopathy, cervicalgia, peripheral tear of the medial meniscus of the left knee

      requiring surgery and other injuries, which are permanent in nature and have

      caused Plaintiff pain and suffering and severe nervous shock.

            16. Solely as a result of Defendants' negligence, Plaintiff was forced to

      bear extensive medical expenses in the treatment of her injuries, which expenses

      will continue for an indefinite time in the future.

             17. Solely as a result of Defendants' negligence, Plaintiff has or may

suffer a severe loss of earnings and an impairment of her earning capacity and power.

             18. Solely as a result of Defendants' negligence, Plaintiff was unable to

attend to her usual duties and occupations or life's pleasures for a substantial period of

time, and may be unable to attend to the aforesaid duties and occupations for an

indefinite time in the future.

            19.    As a result of the injuries sustained by Plaintiff, she has been forced

to   suffer severe physical pain and mental anguish and may be forced to undergo

physical pain and mental anguish for an indefinite period of time in the future.



            WHEREFORE, Plaintiff, Dianne Cochran demands judgment against the



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Defendants in an amount in excess of $50,000 together with interest and cost.




                                   FALCON LAW FIRM, LLC



                                   BY: Isl Todd M. Sailer, Esq.
                                       Todd M. Sailer, Esquire
                                       Attorney for Plaintiffs
                                       Attorneyl.D.#86013




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                                                                  Control No.: 20080634
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       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              AUGUST 13, 2020 14:39:30

              Sequence:       39


       File:          1    Cochran - Praecipe to Reinstate Writ to Join Convergence
                           Marketing 8-13-20.pdf




zlrppdf 2/27/2013                                                                     #9638357
                                                                            10/13/20 03:04 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 157 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker(ci),bonnerkiernan.com
varshanapally(ci),bonnerkiernan. com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                Convergence Marketing, Inc.
                              4450 East Adamo Drive, Suite 501
                                     Tampa, FL 33605


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP




                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: August 13, 2020




                                                                                   Case ID: 191200012
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 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                               DECEMBER                 T       19
                                vs.                            - - - - - - - - - - - - - erm, 20_ __


ULTA BEAUTY, INC. et al.                                       No. 00012



    TO
           Convergence Marketing, Inc.
           7361A Coca Cola Drive
           Hanover, MD 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS




10-245 (Rev. 1/01)
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 159 of 267




                               COURT OF COMMON PLEAS
                               COUNTY OF PHILADELPHIA


                     DECEMBER                    19   00012
                     _ _ _ _ _ _ Term, 20_ _ No. _ _ __




                      DIANNE COCHRAN




                                          vs.



                      ULTA BEAUTY, INC. et al.




                             WRIT TO JOIN ADDITIONAL
                                   DEFENDANTS
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 160 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              AUGUST 13, 2020 14:41:13

              Sequence:       40


       File:           1   Cochran - Praecipe to Reinstate Writ to Join Match
                           Converge 8-13-20.pdf




zlrppdf 2/27/2013                                                                     #9638357
                                                                            10/13/20 03:05 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 161 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 206536 I 318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys/or Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                      Match Converge
                              4450 East Adamo Drive, Suite 501
                                     Tampa, FL 33605


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
                                     \ t.  (\    '-~
                                      v~~~~..:..C·                   .c:r-
                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: August 13, 2020




                                                                                   Case ID: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 162 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



                               @ommonftn~altfr of JT~nttzt!lftania
                                           COUNTY OF PHILADELPHIA


                                                                            COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                                DECEMBER                                              19
                               vs.                             - - - - - - - - - - - - - T e r m , 20 _ __

ULTABEAUTY, INC. eta!.                                             00012
                                                               No. _ ________________                                      ~




    TO
            Match Converge
            7361 Coca Cola Drive
            Hanover, Maryland 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS
                                                                               Prothonota1y




10-245 (Rev. 1101)
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 163 of 267




                               COURT OF COMMON PLEAS
                               COUNTY OF PHILADELPHIA


                     DECEMBER                    19   00012
                     _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                      DIANNE COCHRAN




                                          vs.



                      ULTA BEAUTY, INC. et al.




                             WRIT TO JOIN ADDITIONAL
                                   DEFENDANTS
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 164 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         PRAECIPE - WRIT TO JOIN

                              AUGUST 13, 2020 14:42:53

              Sequence:       41


       File:           1   Cochran - Praecipe to Reinstate Writ to Join Match
                           Marketing Group 8-13-20.pdf




zlrppdf 2127/2013                                                                     #9638357
                                                                            10/13/20 03:06 PM
  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 165 of 267




BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 206536 I 318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                      I COURT OF COMMON PLEAS
                                                     I PHILADELPHIA COUNTY
                                           Plaintiff i
                         v.                        IDECEMBER TERM, 2019
 ULTABEAUTY, INC.; ULTABEAUTY; and
                                                   INo: 00012
 ERICA S. HARRELL                      I
                            Defendants             I

       PRAECIPE TO REINSTATE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to reinstate the attached
Writ to Join against:
                                  Match Marketing Group
                              4450 East Adamo Drive, Suite 501
                                     Tampa, FL 33605

                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP

                                     \j~~~J-Jg--

                                   SARAH M. BAKER, ESQUiRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: August 13, 2020




                                                                                   Case ID: 191200012
              Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 166 of 267



 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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                                           COUNTY OF PHILADELPHIA


                                                                           COURT OF COMMON PLEAS

DIANNE COCHRAN
                                                                DECEMBER                                   T          19
                                vs.                            - - - - - - - - - - - - - erm, 20 _ __

ULTA BEAUTY, INC. et al.                                       No. 00012



    TO
            Match Marketing Group
            800 Connecticut Avenue
            3rd Floor East
            Norwalk, CT 06584




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




    has } joined you as an additional defendant in this action with you are required to defend.
    have




                                                                            JOSEPH H. EVERS
                                                                               Prothonotary




10-245 (Rev. 1/01)
         Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 167 of 267




                              COURT OF COMMON PLEAS
                              COUNTY OF PHILADELPHIA


                     DECEMBER                   19   00012
                     _ _ _ _ _ _ Term, 20 _ _ No. _ _ __




                     DIANNE COCHRAN




                                         vs.



                     ULTA BEAUTY, INC. et al.




                            WRIT TO JOIN ADDITIONAL
                                  DEFENDANTS
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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 168 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        ORDER ENTERED/236 NOTICE GIVEN

                              SEPTEMBER 8, 2020 10:14:10

               Sequence:      43


       File:           1    ORDER_43.pdf




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                  Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 169 of 267




                  DIANNE COCHRAN                                               COURTOFCOMMONPLR ,--.-.c:
                                                                               PBILADELPHl"}f.fl\JNa ·~.
                                                               Piaintiff                        0
                                          v.                               DECEMBER T~~t\ ~ .
                                                                           I
                                                                           No: OOOi2
                  ULTABEAUTY,INC.;ULTA BEAUTY; and
                  ERICA S. HARRELL                                         I
                                            Defendants
                                          V.

                 MATCH MARKETING GROUP,; MAT.CH             i
                 CONVERGE; .and.CONVERGENCE                 1
                 MARKETING, 11\TC.                          1
                                      Additldnal Defendants                I
                                         .·.'ft.•           ORD~
                       AND NOW,      this~: ..        day of    ~-.::. 11"' ' ~ , 2020, upon considerati.dn of
                the Preliminary Objectibns of'bef¢ndant, Erica S._ Harrell, to Plaintiff's Complaint, and any

                response thereto, it is hereby ORDEI~lm and DECREED tluit said Preliminary Objections are

                $UST AINED .. It is further ORDERED and DECREED that Plaintiffs Complaint as to Ei:ica S.

                Harrell .is stricken as.a ·whole, and DISMISSED, with prejudice.




                                                                                                           Case ID: 19.1200012
                                                                                                      Control No.: 2ooso634

COPIES SENT PURSUANT TO Pa.R.C.P. 236(bl N. ERICKSON 09/09/2020
                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 170 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        AFFIDAVIT OF SERVICE FILED

                              SEPTEMBER 11, 2020 12:11:46

               Sequence:      47


       File:           1   Cochran - Affidavit of Service of Writ to Join Match
                           Converge.pd£




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                                                                            10/13/20 03:09 PM
 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 171 of 267




KIERNAN TREBACH LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@kiernantrebach.com
varshanapally@kiernantrebach.com

Attorneys/or Defendants, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty) and Erica S. Harrell

 DIANNE COCHRAN                                       I COURT OF COMMON PLEAS
                                                      I PHILADELPHIA COUNTY
                                 Plaintiff!
                          v.               ., DECEMBER TERM, 2019
                                              No: 00012
 ULTA BEAUTY, INC.; ULTA BEAUTY; and
 ERICA S. HARRELL
                              Defendants
                          v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants

     AFFIDAVIT OF SERVICE OF WRIT TO JOIN ADDITIONAL DEFENDANT

       The undersigned hereby certifies and states that Defendant, ULTA Salon, Cosmetics &

Fragrance, Inc. (improperly identified as ULT A Beauty, Inc. and ULTA Beauty), hereby served

the Writ to Join Additional Defendant, Match Converge, at the following address, and in

accordance with Pa. R.C.P. Nos. 403 and 404:

                                       Match Converge
                               4450 East Adamo Drive, Suite 501
                                      Tampa, FL 33605


       A copy of the signed and retuned certified mail card is attached hereto as Exhibit "A".




                                                                                        Case ID: 191200012
 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 172 of 267




                           Respectfully submitted,
                           KIERNAN TREBACH LLP




                           SARAH M. BAKER, ESQUIRE
                           VAISHNAVI ARSHANAPALLY, ESQUIRE
                           Attorneys for Defendants, ULTA Salon, Cosmetics &
                           Fragrance, Inc. (improperly identified as ULTA Beauty,
                           Inc. and ULTA Beauty) and Erica S. Harrell
Date: September 11, 2020




                                                                        Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 173 of 267




                    EXHIBIT "A"




                                                           Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 174 of 267




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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 175 of 267




        COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




               Docket:        AFFIDAVIT OF SERVICE FILED

                              SEPTEMBER 11, 2020 12:13:12

               Sequence:      46


       File:           1   Cochran - Affidavit of Service of Writ to Join
                           Convergence Marketing.pd£




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 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 176 of 267




KIERNAN TREBACH LLP
SARAH M. BAKER, ESQUIRE
V AISHNAVI ARSHANAPALLY, ESQUIRE                                                      f
IDENTIFICATION NO: 206536 I 318898                                      Filed a/                    the
TEN PENN CENTER, SUITE 770                                             Office ~~
                                                                           11 BJ\
1801 MARKET STREET                                                                \
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker(ci),kiernantrebach. com
varshanapally@kiernantrebach.com

Attorneys for Defendants, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty) and Erica S. Harrell

 DIANNE COCHRAN                                          COURT OF COMMON PLEAS
                                                         PHILADELPHIA COUNTY
                                             Plaintiff
                          v.                             DECEMBER TERM, 2019
                                                         No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants
                          v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants I

     AFFIDAVIT OF SERVICE OF WRIT TO JOIN ADDITIONAL DEFENDANT

       The undersigned hereby certifies and states that Defendant, ULTA Salon, Cosmetics &

Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty), hereby served

the Writ to Join Additional Defendant, Convergence Marketing, Inc, at the following address,

and in accordance with Pa. R.C.P. Nos. 403 and 404:

                                 Convergence Marketing, Inc.
                               4450 East Adamo Drive, Suite 501
                                      Tampa, FL 33605


       A copy of the signed and retuned certified mail card is attached hereto as Exhibit "A".




                                                                                          Case ID: 191200012
 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 177 of 267




                           Respectfully submitted,
                           KIERNAN TREBACH LLP




                           SARAH M. BAKER, ESQUIRE
                           VAISHNAVI ARSHANAPALLY, ESQUIRE
                           Attorneys for Defendants, ULTA Salon, Cosmetics &
                           Fragrance, Inc. (improperly identified as ULTA Beauty,
                           Inc. and ULTA Beauty) and Erica S. Harrell
Date: September 11, 2020




                                                                        Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 178 of 267




                    EXHIBIT "A"




                                                            Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 179 of 267




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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 180 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

        191200012




              Docket:         AFFIDAVIT OF SERVICE FILED

                              SEPTEMBER 11, 2020 12:14:18

               Sequence:      45


       File:           1   Cochran - Affidavit of Service of Writ to Join Match
                           Marketing Group.pdf




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 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 181 of 267




KIERNAN TREBACH LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@kiernantrebach.com
varshanapally@kiernantrebach.com

Attorneys/or Defendants, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty) and Erica S. Harrell

 DIANNE COCHRAN                                              COURT OF COMMON PLEAS
                                                             PHILADELPHIA COUNTY
                                             Plaintiff
                          v.                                 DECEMBER TERM, 2019
                                                             No: 00012
 ULTA BEAUTY, INC.; ULTA BEAUTY; and
 ERICA S. HARRELL
                              Defendants I
                                                         I
                          v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants I
                                                         I
      AFFIDAVIT OF SERVICE OF WRIT TO JOIN ADDITIONAL DEFENDANT

       The undersigned hereby certifies and states that Defendant, ULT A Salon, Cosmetics &

Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty), hereby served

the Writ to Join Additional Defendant, Match Marketing Group, at the following address, and in

accordance with Pa. R.C.P. Nos. 403 and 404:

                                    Match Marketing Group
                               4450 East Adamo Drive, Suite 501
                                      Tampa, FL 33605


       A copy of the signed and retuned certified mail card is attached hereto as Exhibit "A".




                                                                                        Case ID: 191200012
 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 182 of 267




                           Respectfully submitted,
                           KIERNAN TREBACH LLP

                            \)~~~
                           SARAH M. BAKER, ESQUIRE
                           VAISHNAVI ARSHANAPALLY, ESQUIRE
                           Attorneys for Defendants, ULTA Salon, Cosmetics &
                           Fragrance, Inc. (improperly identified as ULTA Beauty,
                           Inc. and ULTA Beauty) and Erica S. Harrell
Date: September 11, 2020




                                                                        Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 183 of 267




                    EXHIBIT "A"




                                                           Case ID: 191200012
    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 184 of 267




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                    Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 185 of 267




       COCHRAN VS ULTA BEAUTY INC. ETAL

       191200012




              Docket:         NOT OF REMOVAL TO US DIST CT

                              OCTOBER 9, 2020 15:34:25

              Sequence:       49


       File:           1   Cochran - Notice of Removal filed with CCP.pdf




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 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 186 of 267




KIERNAN TREBACH LLP
SARAH M. BAKER, ESQUIRE
V AISHNAVI ARSHANAPALLY, ESQUIRE                                           Filed al                    the
IDENTIFICATION NO: 206536 I 318898                                       Of£ice
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TEN PENN CENTER, SUITE 770                                                           1\-
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
s baker@kiernantrebach.com
varshanapally@kiernantrebach.com

Attorneys/or Defendants, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                         I COURT OF COMMON PLEAS
                                                        IPHILADELPHIA COUNTY
                                              Plaintiff i
                           v.                           IDECEl\IBER TERM, 2019
                                                        i No:   00012
 ULTABEAUTY, INC.; ULTABEAUTY                           I
                            Defendants I
                           v.

 MATCH MARKETING GROUP; MATCH
 CONVERGE; and CONVERGENCE
 MARKETING, INC.                                        I
                     Additional Defendants I


                                    NOTICE OF REMOVAL

TO THE PROTHONOTARY:


       PLEASE TAKE NOTICE that Defendants, ULTA Salon, Cosmetics & Fragrance, Inc.

(improperly identified as ULTA Beauty, Inc. and ULTA Beauty) by and through their counsel,

KIERNAN TREBACH LLP, and pursuant to 28 U.S.C. § 1332, have removed this matter in its

entirety to the United States District Court for the Eastern District of Pennsylvania, Civil Action

No.: 2:20-cv-04997-AB. A copy of Defendant's Notice of Removal filed with United States

District Court for the Eastern District of Pennsylvania is attached hereto as Exhibit "A."




                                                                                             Case ID: 191200012
 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 187 of 267




                               KIERNAN TREBACH LLP


                                    .Ja,ii;lJtl!tA_. ~
                               By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                   SARAH M. BAKER, ESQUIRE
                                 Attorneys for Defendants, ULTA Salon,
                                 Cosmetics & Fragrance, Inc. (improperly
                                 identified as ULTA Beauty, Inc. and ULTA
                                 Beauty)
Dated: October 9, 2020




                                                                     Case ID: 191200012
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                   EXHIBIT ''A''




                                                           Case ID: 191200012
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JS 44 (Rev. 02/19)
                                         Case 2:20-cv-0499~f ~8WWsil~fl~ht0/08/20 Page 1 of 14
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
                                                                                                                    Ulta Beauty, Inc.; Ulta Beauty
 Dianne Cochran                                                                                                     Match Marketing Group; Match Converge; Convergence Marketing,
                                                                                                                    Inc.
    (b) County of Residence of First Listed Plaintiff                   Bucks County, PA                             County of Residence of First Listed Defendant                Will County, IL
                                    (EXCEPT JN U.S. PLAINTIFF CASES)                                                                        (JN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                THE TRACT OF LAND INVOLVED.

    (C)    Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (JfKnown)
 Todd Sailer, Esq                                                                                                  Sarah Baker (Counsel for Ulta Beautv,lnc. and Ulta Beauty) - Kiernan
 122 E. Court Street, Doylestown, PA                                                                               Trebach, Ten Penn Center, Suite 770, 1801 Market St, Philadelphia,
                                                                                                                   PA

II. BASIS OF JURISDICTION (Place an "X"inOneBoxOnly)                                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an ''.X" in One Boxfor Plaintiff
                                                                                                                 (For Diversity Cases Only)                                          and One Box for Defendant)
0 I     U.S. Government                   0 3 Federal Question                                                                            PTF         DEF                                           PTF      DEF
           Plaintiff                                 (US. Government Not a Party)                           Citizen ofThis State          rJI. I      0     I   Incorporated or Principal Place       0 4     0 4
                                                                                                                                                                  of Business In Titls State

0 2 U.S. Government                       ~ 4 Diversity                                                     Citizen of Another State        0 2       0     2   Incorporated and Principal Place      0 5     rJI. 5
           Defendant                                 (Indicate Citizenship ofParties in Item Ill}                                                                  of Business In Another State

                                                                                                            Citizen or Subject of a         0 3       0     3   Foreign Nation                        0 6     0 6
                                                                                                              Forei n Coun
 IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                     C ick here f1or: Nature o f Suit Code Descrmt10ns.
,_,, .._.·<c 'CONTRACT-·:"·""' ., ..... ..,. • <•»'•' :.·•,. •. · TORTS'.~: '"\:,<,,, -;-,.-.        ·-.~   t-:'ZFORFEITURE/PENALTY            . ..   .·'BANKRUPTCY··:,. ...... 1.:·:i OTHERSTATUTES ·...·. •l
0      110 Insurance                        PERSONAL INJURY               PERSONAL INJURY        0 625 Drug Related Seizure      0 422 Appeal 28 USC 158       0 375 False Claims Act
0     120 Marine                      0 310 Airplane                  0 365 Personal Injury -            of Property 21USC881    0 423 Withdrawal              o 376 Qui Tam (31 use
0      130 Miller Act                 0 315 Airplane Product                  Product Liability  0 690 Other                             28 use 157                  3729(a))
0     140 Negotiable Instrument                   Liability           0 367 Health Care/                                                                       0 400 State Reapportionment
0      150 Recovery of Overpayment 0 320 Assault, Libel &                    Pharmaceutical                                           PR"'<ERTYRIGHTf:P k:: 0 410 Antitrust
           & Enforcement of Judgment              Slander                    Personal Injury                                     0 820 Copyrights              0 430 Banks and Banking
 0 151 Medicare Act                  0 330 Federal Employers'                Product Liability                                   0 830 Patent                  0 450 Commerce
 0 152 Recovery of Defaulted                      Liability           O 368 Asbestos Personal                                    0 835 Patent - Abbreviated    0 460 Deportation
           Student Loans             0 340 Marine                             Injury Product                                             New Drug Application  0 470 Racketeer Influenced and
           (Excludes Veterans)       0 345 Marine Product                     Liability                                          0 840 Trademark                     Corrupt Organizations
 0 153 Recovery of Overpayment                    Liability              PERSONAL PROPERTY ·'" ,'J ..'',' I;ABOR'· ..:..; . , :  :·:'SOCIAIJSECURJTY,i: "''" 0 480 Consumer Credit
           of Veteran's Benefits     0 350 Motor Vehicle              0 370 Other Fraud         0 710 Fair Labor Standards       0 861 HIA (139511)            0 485 Telephone Consumer
 0 160 Stockholders' Suits           0 355 Motor Vehicle              0 371 Truth in Lending             Act                     0 862 Black Lung (923)               Protection Act
 0 190 Other Contract                            Product Liability    0 380 Other Personal      0 720 Labor/Management           0 863 DIWC/DIWW (405(g)) 0 490 Cable/Sat TV
 0 195 Contract Product Liability ~ 360 Other Personal                       Property Damage             Relations               0 864 SSID Title XVI          0 850 Securities/Commodities/
 0 196 Franchise                                 Injury               0 385 Property Damage     0 740 Railway Labor Act          0 865 RSI (405(g))                  Exchange
                                     0 362 Personal Injury -                 Product Liability   0 75 I Family and Medical                                     0 890 Other Statutory Actions
                                                 Medical Malpractice                                     Leave Act                                             0 891 Agricultural Acts
L '- ..,_ <>REAL:PROPERTYh-'         ,., .... ,CIVILRIGHTS·: 1       .. PRISONER'PETITIONS 0 790 Other Labor Litigation           .:' FEDERAL.-TAX SUITS.•.i . 0 893 Environmental Matters
 0 210 Land Condemnation
 0 220 Foreclosure
                                     '
                                     0 440 Other Civil Rights
                                     0 441 Voting
                                                                          Habeas Corpus:
                                                                      0 463 Alien Detainee
                                                                                                0 791 Employee Retirement
                                                                                                        Income Security Act
                                                                                                                                 0 870 Taxes (U.S. Plaintiff
                                                                                                                                         or Defendant)
                                                                                                                                                               0 895 Freedom oflnformation
                                                                                                                                                                     Act
 0 230 Rent Lease & Ejectment        0 442 Employment                0 510 Motions to Vacate                                     0 871 IRS-Third Party         0 896 Arbitration
0 240 Torts to Land                  0 443 Housing/                          Sentence                                                    26 use 7609           0 899 Administrative Procedure
 0 245 Tort Product Liability                   Accommodations       0 530 General                                                                                   Act/Review or Appeal of
0 290 All Other Real Property        0 445 Amer. w/Disabilities - 0 53 5 Death Penalty          ]': :'·  IMMIGRATION.: ".                                            Agency Decision
                                                Employment                Other:                0 462 Naturalization Application                               0 950 Constitutionality of
                                     0 446 Amer. w/Disabilities - 0 540 Mandamus & Other 0 465 Other Immigration                                                     State Statutes
                                                Other                0 550 Civil Rights                 Actions
                                     0 448 Education                 0 555 Prison Condition
                                                                     0 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an "X"inOneBoxOnly)
0 I Original                i:1(2 Removed from                 0    3    Remanded from              0 4 Reinstated or          0 5 Transferred from             0 6 Multidistrict            0 8 Multidistrict
        Proceeding                 State Court                           Appellate Court                    Reopened                   Another District               Litigation -                 Litigation -
                                                                                                                                       (s eci/Y,                      Transfer                     Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. Section 1332
VI. CAUSE OF ACTION 1-B-r-ie-f-de-s-cr-ip-ti_o_n-of_c_a-us_e_:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                              Person Injury Action
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                       DEMAND$                                       CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                           JURY DEMAND:                l1!( Yes     ONo

VIII. RELATED CASE(S)
                       (See instructions):
      IFANY                                JUDGE                                                                                                   DOCKET NUMBER
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
10/08/2020
FOR OFFICE USE ONLY

    RECEIPT#                        AMOUNT                                        APPLYING IFP                                    JUDGE                               MAG.JUDG[:ase           ID: 191200012
                       Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 190 of 267
JS 44 Reverse (Rev. 02/19)
                             Case 2:20-cv-04997-AB Document 1 Filed 10/08/20 Page 2 of 14

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by Jaw, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county ofresidence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation-Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
        NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
        statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                       Case ID: 191200012
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                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                     (to be used by counsel or prose plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: _ _ _ _ _ _       4_B_ra_x_to_n_C_o_u_rt_,_Q_u_a_k_e_rt_o_w_n_,_P_A______
AddressofDefendant: 1000 Remington Boulevard, Suite 120, Bolingbrook, Illinois

PiaceofAccident,IncidentorTransaction: 40 Town Center Drive, Suite 2, Collegeville, PA



RELATED CASE, IF ANY:

Case N u m b e r : - - - - - - - - - - - - -                     Judge:--------------                                        Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 I.    Is this case related to property included in an earlier numbered suit pending or within one year                         YesD                   Noll]
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        YesD                   Noll]
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                YesO                   No   Ill
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se Civil rights
       case filed by the same individual?
                                                                                                                                YesD.                  No   Ill
I certify that, to my knowledge, the within case         0 is I [!] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
DATE:       10/02/2020                                                                                                                         206536
                                                                         Attorney-at-Law I Pro Se Plaintiff                                Attorney LD. # (if applicable)


CIVIL: (Place a -.J in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

D I. Indemnity Contract, Marine Contract, and All Other Contracts                          D      I.   Insurance Contract and Other Contracts
D 2. FELA                                                                                  D      2.   Airplane Personal Injury
D 3. Jones Act-Personal Injury                                                             D     3.    Assault, Defamation
D 4. Antitrust                                                                             D     4.    Marine Personal Injury
D s. Patent                                                                                D      5.   Motor Vehicle Personal Injury            Premises Liability
D 6. Labor-Management Relations                                                            0      6.   Other Personal Injury (Please speci.fY): - - - - - - - - -
D 1. Civil Rights                                                                          D      7.   Products Liability
D 8. Habeas Corpus                                                                         D     8.    Products Liability - Asbestos
D 9. Securities Act(s) Cases                                                               D      9.   All other Diversity Cases
                                                                                                       (Please speci.fY): _ _ _ _ _ _ _ _ _ _ _' - - - - - - -
D 10. Social Security Review Cases
D II. All other Federal Question Cases
              (Please speci.fY): - - - - - - - - - - - - - - - - -



                                                                          ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)


I , - - - - - - - - - - - - - - - - - ' counsel of record or prose plaintiff, do hereby certify:


      D       Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of$150,000.00 exclusive of interest and costs:


      D       Relief other than monetary damages is sought.


DATE: _ _ _ _ _ _ _ _ _ _ _ _ _                     ~



                                                                         Attorney-at-Law I Pro Se Plaintiff                               Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

C/v. 609 (512018)
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM

    Dianne Cochran                                                          CIVIL ACTION

                        v.

   Ulta Beauty, Inc., et al.                                                NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -Cases brought under 28 U;S.C. § 2241 through§ 2255.                             ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                          ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                             ( )

(f) Standard Management- Cases that do not fall into any one of the other tracks.                  (X)


10-08-2020                     Sarah M. Baker, Esq.                Defendants, Ulta Beauty, Inc. and
Date                               Attorney-at-law                    Attorney for Ulta Beauty
 215-569-4433                   215-569-4434                         sbaker@kiernantrebach.com

Telephone                          FAX Number                           E-Mail Address


(Civ. 660) 10/02




                                                                                          Case ID: 191200012
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                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

       (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
  procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
· of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)

     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (I) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.




                                                                                                    Case ID: 191200012
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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 DIANNE COCHRAN                                          I Civil Action No.
                                             Plaintiff   I
                          v.                             I
 ULTABEAUTY, INC.; ULTABEAUTY                            I
                            Defendants j


 MATCH MARKETING :ROUP; MATCH              II
 CONVERGE; and CONVERGENCE
 MARKETING, INC.
                     Additional Defendants I


    NOTICE OF REMOVAL OF DEFENDANTS, ULTA BEAUTY, INC. AND ULTA
      BEAUTY (PROPERLY IDENTIFIED AS "ULTA SALON, COSMETICS &
                         FRAGRANCE, INC.")

       Defendants, ULTA Beauty, Inc. and ULTA Beauty (properly identified as "ULTA Salon,

Cosmetics & Fragrance, Inc."), by and through their undersigned counsel, KIERNAN TREBACH

LLP, and pursuant to 28 U.S.C. §§1441and1332, hereby remove to this Court an action pending

in the Court of Common Pleas of Philadelphia County, Pennsylvania. The grounds for this

Removal are set forth below:

               1.     This is a civil action over which this Court has original jurisdiction under 28

U.S.C. § 1332, and which may be removed on the petition of Defendants, ULTA Beauty, Inc. and

ULTA Beauty (properly identified as "ULTA Salon, Cosmetics & Fragrance, Inc."), to this

District Court pursuant to 28 U.S.C. §§ 1441and1446.

              2.      Plaintiff initiated this action via a Writ filed on November 27, 2019. In

accordance with 28 U.S.C. § 1446(a), a true and correct copy of the Writ is attached hereto and

incorporated herein as Exhibit "A."




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               3.      Plaintiff then filed a Complaint on April 15, 2020, in the Court of

Common Pleas of Philadelphia County captioned "Dianne Cochran v. ULTA Beauty, Inc.;

ULTA Beauty; and, Erica S. Harrell" at December Term, 2019, No. 00012. A true and correct

copy of the Complaint is attached hereto and incorporated herein as Exhibit "B."

               4.      Plaintiff, Dianne Cochran, avers in the Complaint that her principal

residence is located at 4 Braxton Court, Quakertown, Pennsylvania 18951. See Exhibit "A" at ,

1.

               5.      Plaintiff named the following Defendants in her Complaint: ULTA

Beauty, Inc.; ULTA Beauty; and, Erica S. Harrell, who is a citizen of the state of Pennsylvania.

See Exhibit "B."

               6.      Pursuant to an Order dated September 3, 2020, Judge Daniel J. Anders

dismissed all claims against Erica Harrell, with prejudice. A true and correct copy of the Order

and Notice is attached hereto as Exhibit "C."

               7.      The Order dated September 3, 2020 was not docketed by the Court of

Common Pleas of Philadelphia County until September 9, 2020, and was therefore served on

counsel via the electronic filing system on that date. See Exhibit "C."

               8.      Pursuant to 28 U.S.C. 1446 (b)(3), "if the case stated by the initial pleading

is not removable, a notice of removal may be filed within thirty days after receipt by the defendant,

through service or otherwise, of a copy of an ... order ... from which it may first be ascertained

that the case is one which is or has become removable."

               9.      Accordingly, Defendants, ULTA Beauty, Inc. and ULTA Beauty (properly

identified as "ULTA Salon, Cosmetics & Fragrance, Inc."), timely file the instant Notice of

Removal, as Defendant Erica S. Harrell has been dismissed from this action.




                                                                                           Case ID: 191200012
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               10.     As to the remaining named defendants, ULTA Beauty, Inc., is a Delaware

corporation, with its principal place of business located at 1000 Remington Boulevard, Suite

1200, Bolingbrook, Illinois. See Affidavit of Jaclyn Kaczmarek, Esq. attached hereto as Exhibit

"D."

               11.    At all times material hereto, ULTA Beauty, Inc. did not own and/or

operate the ULTA store that is the subject of this lawsuit, located at 40 Town Center Drive, Suite

2, Collegeville, Pennsylvania. See Exhibit "D."

               12.    Defendant, ULTA Beauty, is a ficitious name owned by ULTA Salon,

Cosmetics and Fragrance, Inc., and registered in the Commonwealth of Pennsylvania. See

Exhibit "D."

               13.    Pursuant to 28 U.S. Code§ 1441(b)(l), the citizenship of a defendant sued

under fictitious names shall be disregarded.

               14.    At all times material hereto, ULTA Salon, Cosmetics & Fragrance, Inc. is

the proper defendant, and owned and operated the ULTA store that is the subject of this lawsuit,

located at 40 Town Center Drive, Suite 2, Collegeville, Pennsylvania. See Exhibit "D."

               15.    ULTA Salon, Cosmetics & Fragrance, Inc. is a Delaware corporation with

a principal place of business located at 1000 Remington Boulevard, Bolingbrook, Illinois, 60440.

See Exhibit "D."

               16.    On or about June 12, 2020, Defendants, ULTA Beauty, Inc. and ULTA

Beauty (properly identified as "ULTA Salon, Cosmetics & Fragrance, Inc."), joined the

following Additional Defendants to the action via Writ: Convergence Marketing, Inc.; Match

Converge; and Match Marketing. See a true and correct copy of the Writs attached hereto and

incorporated herein as Exhibit "E."




                                                                                         Case ID: 191200012
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               17.    Upon information and belief, Additional Defendant, Convergence

Marketing, Inc., is a Delaware corporation with its principal place of business located at 7361A

Coca Cola Drive, Hanover, Maryland 21076. See Master Independent Contractor Agreement

with Convergence Marketing, Inc. attached hereto as Exhibit "F."

               18.    Upon information and belief, Additional Defendant, Match Converge, has a

principal place of business located at 7361A Coca Cola Drive, Hanover, Maryland 21076. See

Match Converge (Formerly Convergence Marking) Headquarters Location attached hereto as

Exhibit "G."

               19.    Upon information and belief, Match Converge is not a citizen of the

Commonwealth of Pennsylvania. See Pennsylvania Department of State Business Entity Search

for Match Converge showing no results attached hereto as Exhibit "H."

               20.    Upon information and belief, Additional Defendant, Match Marketing

Group, has a principal place of business located at one of the following addresses: 800

Connecticut Avenue, 3rd Floor East, Norwalk, CT 06584; 4422A Rue Louis-B.-Mayer La~al,

Quebec H7POG1; 3020 Carbon Place, Suite 300, Boulder, Colorado 80301; 5225 Satellite Drive,

Mississauga, Ontario L4W5P9.       See printout of Match Marketing Group Locations from

MatchMG.com attached hereto as Exhibit "I."

               21.   Upon information and belief, Match Marketing Group is not a citizen of

the Commonwealth of Pennsylvania. See Pennsylvania Department of State Business Entity

Search for Match Marketing Group showing no results attached hereto as Exhibit "J."

               22.   The general removal statute, 28 U.S.C. § 1441(a) provides that "any civil

action brought in a State court" over which federal district courts have original jurisdiction,




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through federal question or diversity of citizenship, may be removed by "the defendant or the

defendants." See 28 U.S.C. § 1441(a) (emphasis added).

               23.    In order to remove, a "defendant or defendants" must meet the

requirements provided for removal detailed in other provisions, such as diversity of citizenship

and consent of all defendants who have been properly joined and served. See 28 U.S.C. §

1441(b)(2) and 1446 (b)(2)(A), respectively.

               24.    Here, the aforementioned Additional Defendants do not destroy diversity

of citizenship as required by 28 U.S.C. § 1332 because Plaintiff is a citizen of Pennsylvania and

Additional Defendants are not citizens of Pennsylvania (Convergence Marketing, Inc. - Citizen

of Delaware and Maryland; Match Converge - Citizen of Maryland; and, Match Marketing

Group- Citizen of either a foreign state, Canada, or Connecticut or Colorado).

               25.    Additionally, 28 U.S.C. § 1446 (b)(2)(A), which requires consent of "all

defendants who have been properly joined and served," is not applicable here because third-party

defendants, Convergence Marketing, Inc.; Match Converge; and Match Marketing, are not

included within the definition of "defendant or defendants." See 28 U.S.C. § 1446 (b)(2)(A);

Home Depot US.A., Inc. v. Jackson, 139 S. Ct. 1743 (2019)

              26.     In Home Depot US.A., Inc. v. Jackson, 139 S. Ct. 1743 (2019), the U.S.

Supreme Court held that third-party defendants cannot remove an action to Federal District

Court because ''third-party defendants" are not included within the definition of "defendant or

defendants" who can remove. See Home Depot US.A., Inc. v. Jackson, 139 S. Ct. 1743 (2019)

(Neither 28 U.S.C.S § 144 l(a), which generally governed removal of civil action from state court

to Federal District Court, nor Class Action Fairness Act of 2005's removal provision (28




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U.S.C.S. § 1453(b)), which permitted removal by "any defendant" to class action, permitted

removal by third-party counterclaim defendant.)

               27.    In so holding, the U.S. Supreme Court reasoned that if third-party

defendants were included within the definition of "defendants" in 28 U.S.C. § 1446 (b)(2)(A),

then the statute could be read to require consent from the third-party defendants, the original

plaintiff (as a counterclaim defendant), and the original defendants asserting claims against them

and require courts to determine when the original defendant is also a "plaintiff' under other

statutory provisions. See Home Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1750 (2019).

               28.    The U.S. Supreme Court concluded that "instead of venturing down this

part, we hold that third-party counterclaim defendant is not a 'defendant' who can remove under

§ 1441(a)." See Id.

               29.    Based upon the averments contained in Plaintiffs Complaint and

Plaintiffs demand in her Case Management Conference Memorandum seeking Defendants'

"policy limits," the amount in controversy in this action which includes the costs of indemnity

for any adverse judgment against Defendants, ULTA Beauty, Inc. and ULTA Beauty (properly

identified as "ULTA Salon, Cosmetics & Fragrance, Inc."), exceeds $75,000, exclusive of

interests and costs. See Plaintiffs Case Management Conference Memorandum attached hereto

as Exhibit "K."

               30.    Specifically, Plaintiff alleges in her Complaint that she sustained

"concussion, post-traumatic headaches, post-concussional syndrome, brain aneurysm, brain

hemorrhage, cervical radiculopathy, lumbar radiculopathy, cervicalgia, peripheral tear of the

medical meniscus of the left knee requiring surgery and other injuries, which are permanent in

nature and have caused Plaintiff pain and suffering and severe nervous shock," and is "unable to




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 attend to her usual duties and occupations, and has suffered severe physical pain and mental

 anguish." See Exhibit "A," at~~ 15 -19.

               31.     Plaintiff further claims loss of earnings and impairment of her earning

capacity and power. See Exhibit "A," at~~ 15 -19.

               32.     Pursuant to 28 U.S.C. §§ 1332(a), and 1441(a), this Court possesses

 original jurisdiction of this action because the amount in controversy exceeds $75,000 and

because this action is between citizens of different states. That is, Plaintiff is diverse from

Defendants. Moreover, Defendants are not citizens of the State of Pennsylvania, where the

original action was filed. Further, the Eastern District of Pennsylvania embraces Philadelphia

County, where the current action is pending in the Court of Common Pleas of Philadelphia

. County in the Commonwealth of Pennsylvania.

               33.     For the aforementioned reasons, this lawsuit is properly removable from

Pennsylvania State Court to the United States District Court, Eastern District of Pennsylvania,

pursuant to 28 U.S.C. § 1332(a)(l), 1441(a) and 1446(b).

               34.     Defendants, ULTA Beauty, Inc. and ULTA Beauty (properly identified as

"ULTA Salon, Cosmetics & Fragrance, Inc."), expressly reserve the right to raise all defenses

and objections in this action after it is removed to this Honorable Court.

               35.     A true and correct copy of this Notice of Removal is being filed with the

Prothonotary of Philadelphia County Court of Common Pleas, as provided by 28 U.S.C. §

1446(d).

               36.     Written Notice of the filing of this Notice of Removal will be given to all

served parties as required by 28 U.S.C. § 1446(d).




                                                                                        Case ID: 191200012
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               37.      No admission of fact, law or liability is intended by this Notice of

Removal, and all defenses, affirmative defenses and motions are hereby reserved to Defendants,

ULTA Beauty, Inc. and ULTA Beauty (properly identified as "ULTA Salon, Cosmetics &

Fragrance, Inc.").

               WHEREFORE, Defendants, ULTA Beauty, Inc. and ULTA Beauty (properly

identified as "ULTA Salon, Cosmetics & Fragrance, Inc."), hereby remove the above-captioned

action, which is now pending in the Court of Common Pleas of Philadelphia County,

Pennsylvania, to the United States District Court for the Eastern District of Pennsylvania.




                                      KIERNAN TREBACH LLP




Date: October 8, 2020                 BY:
                                             SARAH M. BAKER, ESQUIRE
                                             Attorney ID No. 023982007
                                             Ten Penn Center Plaza, Suite 770
                                             1801 Market Street
                                             Philadelphia, PA 19103
                                             Tel.: (215)569-4433
                                             Fax: (215)569-4434
                                             Attorney for Defendants, ULTA Beauty, Inc. and
                                             ULTA Beauty (properly identified as "ULTA Salon,
                                             Cosmetics & Fragrance, Inc. ")




                                                                                         Case ID: 191200012
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                              CERTIFICATE OF SERVICE

       I, Sarah M. Baker, Esquire, hereby certify that a copy of NOTICE OF REMOVAL OF

DEFENDANTS, ULTA BEAUTY, INC. AND ULTA BEAUTY (PROPERLY IDENTIFIED

AS "ULTA SALON, COSMETICS & FRAGRANCE, INC.") was served via Email and/or U.S.

Mail, this ~day of October, 2020 upon the following:



                                 COUNSEL FOR PLAINTIFF
                                  Todd M. Sailer, Esquire
                                  FALCON LAW FIRM, LLC
                                122 E. Court Street, 3rd Floor
                                   Doylestown, PA 18901

                                   Match Marketing Group
                              c/o Apollo Retail Specialists, Inc.
                             4450 East Adamo Drive, Suite 501
                                     Tampa, FL 33605

                                      Match Converge
                              c/o Apollo Retail Specialists, Inc.
                             4450 East Adamo Drive, Suite 501
                                     Tampa, FL 33605

                                Convergence Marketing, Inc.
                              c/o Apollo Retail Specialists, Inc.
                             4450 East Adamo Drive, Suite 501
                                     Tampa, FL 33605




                            KIERNAN TREBACH LLP



                                       SARAH M. BAKER, ESQUIRE




                                                                               Case ID: 191200012
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            EXHIBIT "A"




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.     I




··Todd M Sailer, Esquire
  Falcon Law Firm, LLC
  LD. #86013
  122 E. Court Street, Doylestown, PA 18901
  Tel: (215) 360-3880

    DIANNE COCHRAN .
    4 Braxton Court                                  PIDLADELPHIA COUNTY
    Quakertown, PA 18951                             COURT OF COMM:ON PLEAS
                                                     TRIAL DIVISION
           v.
ULTA BEAUTY, INC.                                    NO:
1000 Remington Blvd. #120                            _ _ _ _ _ TERM, 20_
Bolingbrook, IL 60440
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050


                               PRAECJPE FOR WRIT OF SUMMONS


TO TIIE PROTHONOTARY:

          Kindly issue a Writ of Summons in the abovewcaptioned matter.


                                              Falcon Law Firm, LLC


                                        By:   /s/ Todd M Sailer. Esq.
                                              Attorney lD. #86013
                                              Attorney for Plaintiff




                                                                                 Case ID· 191200012
                                                                                  Case-It5: 191200012
               Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 205 of 267
                     Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 3 of 65

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                                                 COUNTY OF PHILAD$LPI:IIA


              DIANNE COCHRAN
              Plaintiff


                                  vs.                             No.__ _ _ __

              ULTA BEAUTY, INC. AND ULTA BEAUTY
              DBfendant


              To 1
               ULTA BEAUTY INC. and ULTA
               BEAUTY




                                                  Writ of Summons

              You are notlfied 'that the PlaintiW
              U#ed tsta avisado que el demandante
              DIANNE COCHRAN




              Has (have) commenced an action against you.
              Ha (hon) iniclado una accion en contra suya.




10.208 (Rev. 6114

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              Name(s) of Defendant(s)
          2
              Name{s) of Plalntlff(s)
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 206 of 267
   Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 4 of 65




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              Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 5 of 65

-   I




        Todd M Sailer, Esquire
        Falcon Law Firm, LLC
        LD. #86013
        122 E. Court Street, Doylestown, PA 18901
        Tel: (215) 360-3880

        DIANNE COCHRAN
        4 Braxton Cowt                                     PlllLADELPIDA COUNTY
        Quakertown, PA 18951                               COURT OF CO:MM:ON
        PLEAS
                                                           TRIAL DIVISION
                v.
        ULTA BEAUTY, INC.                                  NO:
        1000 Remington Blvd. #120                          _ _ _ _ TERM, 20
        Bolingbrook, IL 60440
        end
        ULTABEAUTY
        6164 Carlisle Pike
        Mechanicsburg, PA 17050


                     Plaintifrs Interrogatories to Defendant in Aid of Filing
                                          A Complaint
               Plaintiff(s) by their attorneys, Todd M. Sailer and Falcon Law Firm, LLC,
        hereby propound the following Interrogatories under and pursuant to the discovery
        rules of Pennsylvania Rules of Civil Procedure. These Interrogatories are deemed
        to continuing so as to require that information secured subsequent to the filing of
        answers hereto, which would have been includable in the answers had it been
        known or available, be supplied by supplemental answers.

              These Interrogatories must be answered separately and fully by you in the
        space provided in writing under oath, or if insufficient space is provided, then in
        writing under oath on a supplemental sheet.




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        7. Please produce any written agreements, correspondence, or other documents
        between defendant and any other person or entity regarding the installation,
        maintenance, and/or repair of the nail polish display at Defendant's Collegeville
        store on and before M.ay 6, 2018.


                                             FALCON LAW FIRM, LLC.


                                             BY: ls/Todd M Sailer
                                                 Todd M. Sailer, Esquire
                                                 Attorney for Plaintiff
                                                 Attorney I.D. #86013
             Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 209 of 267
                      Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 7 of 65


  ' • Court of Common Pleas of Philadelphia County
                    Trial Division
                     Civil Cover Sheet
l'l.AINTIFF'S PWAE                                                         CEFENDANI'$ NAME
  DI.ANNE COCHRAN                                                            ULTA BEAUTY INC.

PLAINTIFF'S AODRESS                                                        Dl!FeNDAHT'S AOORl!SS
  4 BMXTON COURT                                                             1000 REMINGTON BLVD #120
  QUAKERTOWN PA 18951                                                        BOLINGBROOK IL 60440

PLAlNTIFF'S NAME                                                           CEFafDNa'S NAME
                                                                             ULTA BEAUTY

PLAltmFF'S ADDRESS                                                         DEFENJAKT'S ADDRESS
                                                                             6164 CARLISLE PIKE
                                                                             MECHANICSBURG PA 17050

                                                                           DEFENOilM'S NAME



l'lAINTIFPS ADDRESS                                                        OEFENONIT'S "°°RESS




TOTAL NUMBER OF Pt.AINTIFFS         TOTAL NUMBER OF DEFENDANTS       COt.p.IENCEMENT OF ACTION

                 1                                      2        1
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                                                                                                              COORDINATION OIUlER?
                                                                                                                         YES         HO

                                                                 NOV 27 2019
                                                                      A. SILIGRINI
TO THE PROTIJONOTARY:
Kindly enter my appearance on behalf of Plaintiffl.Petitioner!Appellant: DI.ANNE COCHRAN
Papers may be setved at the address set forth below.

NAME OF PLAINTIFFSIPETmONER'SIAPPELLANl'S 11.TTORNEY                      ADORESS
 TODD M. SAILER                                                             FALCON LAW FIRM LLC
                                                                            122 E. COURT STREET
PHONE NUMBER                               F.-XHUMBER                       3RD FLOOR
  (267) 838-2016                           (215) 345-6487                   DOYLESTOWN PA 18901

SUPREME COURT IDENTIFICATION NO.                                          E·MM.. l\DORESS
 66013                                                                      t.sailer@FALCONLAWFIRM.COM
SIGNl\lURE OF FD.ING 11.TTDRNEY OR PARTY                                  DATE SUBMITIED
 TODD SAILER                                                                Wednesday, November 27, 2019, 01:06 pm
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 210 of 267
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           EXHIBIT "B"




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                                                                             (<
FALCON LAW FIRM, LLC                                                  Filed/-
BY: Todd M. Sailer, Esquire                                   AftorfllfjlP                      pm
Attorney I.D. #86013
122 E. Court Street Doylestown, PA 18901
Tel: 215-360-3880

    IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      CIVIL ACTION - LAW

DIANNE COCHRAN                                     CASE ID# 191200012
4 Braxton Court
Quakertown, PA 18951                                         TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                                JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426
                                      NOTICE

You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the claims set forth against
you. You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the court without further notice for any money
claimed in the compliant or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO


                                                                                     Case ID: 191200012
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NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL
HELP.
             LAWYER REFERENCE SERVICE
                 Philadelphia Bar
                 Association One
                 Reading Center
                 Philadelphia, PA
                 19107
                 (215) 238-1701

                                        AVISO

Lehan demandado a usted en la carte. Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazao al partir de
la fecha de la demanda y la notificacion. Hace falta asentar una comparencia escrita
o en persona o con un abogado y entregar a la carte en forma escrita sus defensas o
sus objeciones a las demandas en contra de su persona. Sea avisado que si usted no
se defiende, la carte tomara medidas y puede continuar la demanda en contra suya
sin previo aviso o notificacion. Ademas, la corte puede decidir a favor del
demandante y requiere que usted cumpla con toas las provisiones de esta demanda.
U sted puede perder dinero o sus propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
TIENE ABOGADO OSI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA OLLAMEFOR TELEFONOALAOFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR AS IS TENCIA LEGAL.

SERVICIO DE REFERENCIA LEGAL
    Filadelfia Bar
    Association One Reading
    Center
    Filadelfia, Pennsylvania 19107
    (215) 238-1701




                                                                                Case ID: 191200012
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FALCON LAW FIRM, LLC
BY: Todd M. Sailer, Esquire                           Attorneys for Plaintiff
Attorney I.D. #86013
122 E. Court Street
Doylestown, PA 18901
Tel: 215-360-3880

   IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     CIVIL ACTION - LAW

DIANNE COCHRAN                             CASE ID # 191200012
4 Braxton Court
Quakertown, PA 18951                                TERM, 2019
           v.

ULTA BEAUTY INC.
1000 Remington Blvd. # 120
Bolingbrook, IL 60440                         JURY TRIAL DEMANDED
and
ULTABEAUTY
6164 Carlisle Pike
Mechanicsburg, PA 17050
and
ERICA S. HARRELL
c/o Ulta
40 Town Center Drive
Collegeville, PA 19426




                                COMPLAINT


     1. Plaintiff, Dianne Cochran, is an adult individual who resides at 4 Braxton

Court, Quakertown, PA 18951.



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       2.   Defendant, Ulta Beauty Inc. is a corporation with an address of 1000

Remington Blvd. #120 Bolingbrook, IL and regularly conducts business within the

Commonwealth of Pennsylvania including Philadelphia County.

       3.   Defendant Ulta Beauty is a business entity with a registered address of 6164 ·

Carlisle Pike, Mechanicsburg, PA 17050.

       4.   Defendant, Erica S. Harrell is an adult individual and resident of the

Commonwealth of Pennsylvania and at all times relevant hereto was the manager of

the Ulta store located at 40 Town Center Drive Collegeville PA 19426.

       5.   At all time relevant hereto, Defendants were in exclusive possess10n,

management and control of the Ulta Beauty store located in Collegeville, PA 19426

individually and through its employees who were acting within the course and scope

of their employment by Defendant and in furtherance of Defendant's store, including

the merchandise endcap shelving units.

      6.    At all times relevant hereto, Defendant failed to maintain and keep its

premises in a reasonably safe condition.

      7. On or about May 6, 2018, Plaintiff, Dianne Cochran was working on a

display at Defendants' store when a large endcap shelving unit suddenly fell on top of

her and violently knocked her backwards causing her to fall to the floor.

      8.     The carelessness and negligence of the Defendants caused Plaintiff to

sustain serious injuries which will be set forth in greater detail herein.



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      9. Defendant as owner and operator of the business located in Collegeville

Pennsylvania owed a duty to keep the premises of the property, including the endcap

in a reasonably safe condition for use by persons at the store including Plaintiff.

      10.    Defendants violated this duty owed, including to the Plaintiff, in that

Defendant negligently and carelessly failed to maintain th,e endcap and permitted a

dangerous condition to exist. Defendant knew this condition had existed for some time

prior to the accident, and Defendant had, or should have had, due notice of this

condition. Defendant knew or should have known this condition posed a danger to

persons present at the premises.

      11. The aforesaid incident and injuries resulting to the Plaintiff, Dianne Cochran

occurred as a result of the negligence and carelessness of the Defendant.

                                       COUNT I

                PLAINTIFF, DIANNE COCHRAN v. DEFENDANTS



      12. Plaintiff incorporates by reference all the allegations of this Complaint as

though the same were fully set forth at length herein.

      13. The aforesaid incident and injuries resulting to the Plaintiff occurred as a
result of the negligence and carelessness of the Defendants, which consisted of the
following:
               a.    Failing to maintain the shelving unit/endcap of the premises in
                     a safe manner;

               b.    Failing to discover and rectify the danger of the broken


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                  shelving unit/endcap;

            c.    Failing to ensure that the endcap was properly and adequately
                  secured;

            d.    Failing to warn Plaintiff regarding the dangerous condition
                  caused by the broken shelving unit/endcap in the area where
                  the incident occurred;

            e.    Failing to take proper precautions to remedy the dangerous
                  condition of the broken shelving unit/endcap in the area where
                  the incident occurred;

            f.    Failing to use reasonable care to keep their business premises
                  and, in particular, the endcap a safe condition;

            g.     Failing to make a reasonable inspection_ of the area which
                   would have revealed the existence of the dangerous condition
                   posed by the broken shelving unit/endcap in the area where
                 . the incident occurred;

            h.    Allowing the broken endcap to continue to exist when
                  Defendants knew, or in the exercise of reasonable care should
                  have known, that the condition created an unreasonable risk of
                  harm to visitors of the premises.

            i.    Failing to properly inspect the endcap for defective conditions.



      14.    At all times relevant hereto, Plaintiff, despite . the exercise of

reasonable care, could not protect herself against the dangerous condition created

by the Defendants.

      15. As a result of the negligence and carelessness of the Defendants,




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      Plaintiff sustained concussion, post-traumatic headaches, postconcussional

      syndrome, brain aneurysm, brain hemorrhage, cervical radiculopathy, lumbar

      radiculopathy, cervicalgia, peripheral tear of the medial meniscus of the left knee

      requiring surgery and other injuries, which are permanent in nature and have

      caused Plaintiff pain and suffering and severe nervous shock.

            16. Solely as a result of Defendants' negligence, Plaintiff was forced to

      bear extensive medical expenses in the treatment of her injuries, which expenses

      will continue for an indefinite time in the future.

             17. Solely as a result of Defendants' negligence, Plaintiff has or may

suffer a severe loss of earnings and an impairment of her earning capacity and power.

             18. Solely as a result of Defendants' negligence, Plaintiff was unable to

attend to her usual duties and occupations or life's pleasures for a substantial period of

time, and may be unable to attend to the aforesaid duties and occupations for an

indefinite time in the future.

            19.      As a result of the injuries sustained by Plaintiff, she has been forced

to   suffer severe physical pain and mental anguish and may be forced to undergo

physical pain and mental anguish for an indefinite period of time in the future.



            WHEREFORE, Plaintiff, Dianne Cochran demands judgment against the



                                                                                   Case ID: 191200012
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        Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 16 of 65




Defendants in an amount in excess of $50,000 together with interest and cost.




                                   FALCON LAW FIRM, LLC



                                   BY: Isl Todd M. Sailer, Esq.
                                       Todd M. Sailer, Esquire
                                       Attorney for Plaintiffs
                                       Attorneyl.D.#86013




                                                                         Case ID: 191200012
Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 219 of 267
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            EXHIBIT "C"




                                                                 Case ID: 191200012
 Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 221 of 267
     Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 19 of 65




 DIANNE COCHRAN                                           I COURT OF COMMON PL
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                         v.                                   DECEMBER TER~(fQA 1."'
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                                                              No: 00012
 ULTABEAUTY, INC .. ; ULTABEAUTY; and
 ERICA S. HARRELL                         1
                               Defendants I
                         v.

 MATCH MARKETING GROUP; MATCH              i
 CONVERGE; and CONVERGENCE
 MARKETING, Il':fC.
                                           !
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                     Additional Defendants                I
                          ·.ff!•          ORDER
       AND NOW,     this~       .    day of    ~t:_-""·.....,.~,-Fil~
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                                                                  """<:1>   2020, upon consideration of

the .Pr~liniinary Objections of Defendant, Erica S.. H~rrell, to Plaintiffs Complaint, and any

response thereto, it is hereby ORDEI~JW and DECREED that sa,id Pi:eli'minary Objections are

SUSTAINED .. It is, further ORDERED and DECREED that Plaintiff's Complairit as to Erica S,

Harrell is stricken asa whole, and DISMISSED, with prejudice.




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                                                                                          Control No.: 200806.34
           Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 222 of 267
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Lora Crossley

From:                         cp-efiling@courts.phila.gov
Sent:                         Wednesday, September 09, 2020 9:36 PM
To:                           lcrossley@kiernantrebach.com
Subject:                      Notice of order on Case #191200012




Dear Vaishnavi Arshanapally,

A legal paper, which requires notice pursuant to Pa. R.C.P. 236 and/or
Pa. R.C.P. 1307, has been entered by the Court in the following matter:

Caption:
COCHRAN VS ULTA BEAUTY INC. ETAL
Case Number: 191200012

Date of Entry on Docket:
September 08, 2020 10:14 am EDT/DST

Type of Legal Paper:
ORDER ENTERED/236 NOTICE GIVEN

You may retrieve the legal paper, and any related document(s), by
copying and pasting the following web address(es) into your browser
or by clicking the link(s) below to view the related documents(s).
Each link represents a separate document entered in connection with
this matter. Utilizing the link(s) below will only display the actual
document(s). You will not be logged into the court's electronic
filing system.


ORDER_43.pdf
https://fjdefile.phila.gov/efsfjd/zk ealib.open doc?h=w45qgsOjuD2CH2Jk


THANK YOU,

ERIC FEDER
DEPUTY COURT ADMINISTRATOR
DIRECTOR, OFFICE OF JUDICIAL RECORDS


DISCLAIMER

The First Judicial District will use your electronic mail address
                                                     1
                                                                              Case ID: 191200012
                           Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 223 of 267
                                   Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 21of65

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           EXHIBIT "D"




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                           Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 225 of 267
                                  Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 23 of 65



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            Cochran - Affidavit of Jaclyn Kaczmarek.pdf

            DocVerify ID:                    ·42DE067F-FB5C-4AOE-8E37-F08570F537 42
            Created:                           October 08, 2020 07:35:02 -8:00
            Pages:                            2
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           E-Signature Summary

           E-Signature 1: Jaclyn Kaczmarek (JK)
           October 08, 2020 07:42:54-8:00 [1A03FD452402] (96.27.106.136]
           JKaczmarek@ulta.com (Principal) (ID Verified)

           E-Signature Notary: Judith P. Lawrence (JPL)
           October 08, 2020 07:42:54 -8:00 [4E20AAFD37BO] [76.124.110.245]
           notaryservice100@gmail.com
           I, Judith P. Lawrence, did witness the participants named above
           electronically sign this document.



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                                     Case 2:20-cv-04997-AB Document 1-1 Filed 10/08/20 Page 24 of 65




                            DIANNE COCHRAN                                                 I COURT OF COMMON PLEAS

                                                                               Plaintiff
                                                                                           II PHILADELPHIA COUNTY
                                                            v.                             ! DECEMBER TERM, 2019
                                                                                               No:    00012
                           ULTA BEAUTY, INC.; ULTA BEAUTY                                  I
                                                        Defendants
                                              v.

                           MATCH MARKETING GROUP; MATCH
                           CONVERGE; and CONVERGENCE
                           MARKETING, INC.
                                               Additional Defendants

                                                                           AFFIDAVIT

                                     Jaclyn Kaczmarek, being duly sworn according to law, deposes and states the following:

                                     1.        I am an adult individual residing in the State of Illinois.

                                     2.        I am employed by ULTA Inc., as an attorney in its legal department.

                                     3.        I have sufficient knowlegde of the matters contained in this Affidavit to make the

                          statements contained herein, and am authorized to do so.

                                    4.         ULTA Beauty, Inc., is a Delaware corporation, with its principal place of business

                          located at 1000 Remington Boulevard, Suite 1200, Bolingbrook, Illinois, 60440.

                                    5.         ULTA Beauty, Inc. is not a Pennsylvania corporation.

                                    6.         At all times material hereto, ULTA Beauty, Inc. did not own and/or operate the
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E                        ULTA store that is the subject of this lawsuit, located at 40 Town Center Drive, Suite 2,
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  '                      Collegeville, Pennsylvania.

                                    7.         ULTA Beauty is a ficitious name owned by ULTA Salon, Cosmetics and

                         Fragrance, Inc., and registered in the Commonwealth of Pennsylvania.




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                              8.        At all times material hereto, ULTA Salon, Cosmetics & Fragrance, Inc. operated

                     the ULTA store that is the subject of this lawsuit, located at 40 Town Center Drive, Suite 2,

                     Collegeville, Pennsylvania

                              9.        ULTA Salon, Cosmetics & Fragrance, Inc. is a Delaware corporation with a

                     principal place of business located at 1000 Remington Boulevard, Suite 120, Bolingbrook,

                     Illinois, 60440.

                              10.       ULTA Salon, Cosmetics & Fragrance, Inc. is not a Pennsylvania corporation.



                                                                           J~::,"::::!,__                       ., -, _ =-1
                                                                           Jaclyn Kaczmarek, Esquire
                     Sworn to and subscribed before me
                     remotely, this Bth           day
                     of October, 2020




                                                          04.17.2024


                        Gommonwealth of Pennsylvania - Notary Seal
                        Jadith P Lawrence, Notary Public
                        Rhiladelphia County
                        ~y Commission Expires Apr 17, 2024
                        Commission Number 1093078




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            EXHIBIT "E"




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BONNER KIERNAN TREBACH & CROCIATA LLP
SARAH M. BAKER, ESQUIRE
VAISHNAVI ARSHANAPALLY, ESQUIRE
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TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@.bonnerkiernan.com
varshanapallv@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                        COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY
                                           Plaintiff
                         v.                            DECEMBER TERM, 2019
                                                       No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


             PRAECIPE TO FILE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to execute a Writ to Join
against:
                                  Match Marketing Group
                                  800 Connecticut Avenue
                                       3rd Floor East
                                    Norwalk, CT 06584

                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
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                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALL Y, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: June 12, 2020




                                                                                   Case ID: 191200012
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 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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DIANNE COCHRAN
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ULTABEAUTY, INC. etal.                                              00012
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    TO Match Marketing Group
           800 Connecticut A venue
           3rd Floor East
           Norwalk, CT 06584




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty; Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS
                                                                               Prothonotary




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BONNER KIERNAN TREBACH & CROCIATA LLP
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1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                            COURT OF COMMON PLEAS
                                                           PHILADELPHIA COUNTY
                                               Plaintiff
                         v.                                DECEMBER TERM, 2019
                                                           No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


             PRAECIPE TO FILE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOTARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to execute a Writ to Join
against:
                                Convergence Marketing, Inc.
                                  7361A Coca Cola Drive
                                   Hanover, MD 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
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                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: June 12, 2020




                                                                                   Case ID: 191200012
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 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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DIANNE COCHRAN
                                                                DECEMBER                                              19
                                 vs.                           - - - - - - - - - - - - - T e r m , 20_ __

ULTABEAUTY, INC. eta!.                                         No. 00012




    TO
            Convergence Marketing, Inc.
            7361A Coca Cola Drive
            Hanover, MD 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as a_ n additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS




10-245 (Rev. 1101)




                                                                                                          Case ID: 191200012
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BONNER KIERNAN TREBACH & CROCIATA LLP
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VAISHNAVI ARSHANAPALLY, ESQUIRE
IDENTIFICATION NO: 2065361318898
TEN PENN CENTER, SUITE 770
1801 MARKET STREET
PHILADELPHIA, PA 19103
(215) 569-4433
sbaker@bonnerkiernan.com
varshanapally@bonnerkiernan.com

Attorneys for Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as .
ULTA Beauty, Inc. and ULTA Beauty)

 DIANNE COCHRAN                                           j COURT OF COMMON PLEAS
                                                          PHILADELPHIA COUNTY
                                              Plaintiff
                         v.                               DECEMBER TERM, 2019
                                                          No: 00012
 ULTABEAUTY, INC.; ULTABEAUTY; and
 ERICA S. HARRELL
                            Defendants


             PRAECIPE TO FILE WRIT TO JOIN ADDITIONAL DEFENDANT

TO THE PROTHONOT ARY:

       Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA
Beauty, Inc. and ULTA Beauty), hereby requests this Honorable Court to execute a Writ to Join
against:
                                     Match Converge
                                   7361 Coca Cola Drive
                                 Hanover, Maryland, 21076


                                   Respectfully submitted,
                                   BONNER KIERNAN TREBACH & CROCIATA LLP
                                     i   ft           .                :

                                     \)~~~~-

                                   SARAH M. BAKER, ESQUIRE
                                   VAISHNAVI ARSHANAPALLY, ESQUIRE
                                   Attorneys for Defendant, ULTA Salon, Cosmetics &
                                   Fragrance, Inc. (improperly identified as ULTA Beauty,
                                   Inc. and ULTA Beauty)
Date: June 12, 2020




                                                                                    Case ID: 191200012
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 C.P. 88                                                                       WRIT TO JOIN ADDITIONAL DEFENDANTS



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DIANNE COCHRAN
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                              vs.

ULTABEAUTY, INC. eta!.                                         No. 00012



    TO
           Match Converge
           7361 Coca Cola Drive
           Hanover, Maryland 21076




    You are notified that
    Defendant, ULTA Salon, Cosmetics & Fragrance, Inc. (improperly identified as ULTA Beauty, Inc. and ULTA Beauty)




   has } joined you as an additional defendant in this action with you are required to defend.
   have




                                                                            JOSEPH H. EVERS
                                                                              Prothonotary




10-245 (Rev. 1/01)




                                                                                                          Case ID: 191200012
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                     ULTA BEAUTY, INC. et al.                              g

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                            WRIT TO JOIN ADDITIONAL
                                  DEFENDANTS
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            EXHIBIT "F"




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                       MASTER INDEPENDENT ·CONTRACTOR AGREEMENT

 Thi~ J\.gr:eemenf is effectiveJanua.cy 1; ;2012. ('!Effediv;e Date") ,between l!:C.JA Salon;,Gb~meiics &
Fragrance; Inc,, with principal- offices focated, at WOO .Remingt'oh Boulevard,: Suite 120,; Bolif1gbrook
Illi11oi~, 6044-0, its sub~1diari~s and :iffiliates (~ollectiveiy "ULTA"). al1.d ·Con}/ei:;genc~ Marketing, In¢.
f'Cp:ntra9t9r"L:aDelaware.cprporE1:,tionJP:~a.te;:d. .at7961A Coca,c;oJa D.rive, J{iµrover, MD:2l()Yo; ·n.e
parties agree·as follows:·

 1.    Ser:Vices;·Tetm.
 L 1 ULTA ertgiiges:·Contractor.:~. proyid~Jhe S:ervices:d~sCiibed 1n. Eroject· Schedules that the parties
     may execute from time to :time during the :teim. bf this A.greenient ThiS Agreement shallbegin
     on the Effective Date and sha1tcontinue lihtil tenhinated in ·ac:cotdarice with Section B below.
 1.2 A ProjectScheduie will b.ehcecute4'by l?oth:j>llities· for~each. project,xeferencing this ,Agreement.
      and settiiigJortli? at a miniimim~ a descriptfon:of thc:Servfo¢s to ~be.performed 1 the·agreed:.ripon
      s.chedrile .of _completion ~te$, airdthe. agreed'-µp.on Proj®t Fee (d~flned in Section 2.J .ofthis·
     .Agfeement). '.The;patfies shalluse;the·ProjectSchedule·forii1 attached hereto as:'ExhibitA.
1.J As.used bereill, ·1iAgree11,lent"· '.irtdudes this. Agreement .and ·any Project Schedule signed by the
    parties. Ih the-,event of ariy conflict or ihC,Onsistency betwe.en this Agreement and a Project
    Schedule~ tlie ter'ms ofthe Project Schedule shall control.

2.     Payment.
2.1 As full cohsideratfon forth.e:performance o(the ServiCes $pedfied in each Project Schedule: and
    the assignrrient:of:tightS. to ULTA as provided h~ein, ULTA shall pay 'Contractor the amount
    agr.eedupori. and speei:fied:iritheProjec:rschedule C'Project'Fee''}.
.2.2 Contractor shall invoice ULT,A for all SerVices actuiillY' performed by Contractor ·upon
     satisfaction of the. coinpfotion dates or as otherWise specified'in the P-roject Schedule. ULTA
     shall pay .the.invoiced amount, within sixty ('()O} days ,after. re.c.eipf of a, correctly wrftten invoice.
     fa the .event ULTA pays to-ContractOr said:invofce within'thiey(30) days after receipt of'said
     .invoi'ce~ then ULTA sha:U'be entitled to a two p.ercent {2%}discount :off 1ofthe amount Df said
     fovofoe:
23 'Contractor shall maintain, during, and for at .least :two, (2) years after completion ·of a proje.ct;
    adequate records of all project costs (including time.records)cand:reimbursable expenses incurred.
   in. the penonnance oft.he SerVices. ULTA :shall have fue:rightto audit sµch records atreasonable
    tii;n.~s and, upon WfJ:SOnable notice-to,verify amounts~ billed ,to ULTA.

~.    Independent Contractor Status~ Contq1cfor is an independent contractor for :?,).I pw:poses,.
      wit,J19ut ~xpr~~s. qri.lllpl~ed aut)J:gtjty·to 'Qi11d ULTA, by contract or :oth~r:wise. ContractQragrees;
      thsJ:neither G!onfyacto~nor ~o:qtractor's Assistants (defined in Section4.J oft}lis;Agre.ei.neJJ.t) a.fe
      agen,ts .or elJlploy,ees of ULT.A, aq,d that Cc;>rttraptor and Coi;itract9r'sAssist.ants are I).Ot?e1'\fitled to
      any employee. penefits of ULTA, including;, without limitati9n, health imiurance, disability·
      ben,efi.ts, p~nsio,ns; ruµrnities, deafu benefits, and savings pl.ans. As Contractor is not ULTA'.s
      ¢mplqyee, {]LTA shall have;no. re~ponsibility to pay Qr withhold ftom any payment to Contractor
      und~.r tl;iis Agr~em~nt 8.QY .fed~aj., stat~ or local taf(es or feys,               ·
4.    Ccmtr,actoris :Assistants.
4.t $ubj,¢pt t!:> Septigp.s 9.i anti. ).0/3·, Contractor :i.nay, p.t Cop.tractor's: ow~t e;1(p~ns¢, .eI.riP,l!'.?Y; such
    p¢r$oris. ~. Conp.-a.;ptor deen:r$: necessary to pro:y',ide the Sezyfoes,, As useti h(!rein, "Ccmti,-aC,fot's
      A~si$tartt8" in'c!U:d;es Ci;>pttact~t's .¢pi.plqy~~s 1 a,gents and subc9ptr~c(9ts. .. Co:r.itractcii:; shall b,e
      sol¢J:y re~oifSi,151~· fat th:e ]erforni'ance: of Ci:mtra¢tor!s Assist®ts; prci:Vided;. how.ever, ULTA
      shall.have'the tight w·r:emo.v¢;,any:,Qont,ra6to:r ;\ssist~t al;:trty time;.. .        .
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 4.2 Contractor shall l?e. solely·and. frilly responsible for paying. any taxes~ FICA, or other amounts
     :required to be. Withheld ~y :ariy'J~O\lermilerital entity or authorify having jurisdicliOn over. the
                          0


         matter.
 s~      Warranties.
5.1      Contractqtreprese;nts and warrants .that:th~ !'erviCes provid'e<i:hereuilder.shali be performed (a) in
        ,a ptqfe~s'iona1, \V'ofkihanlike_1nanner, and. (b) in corifonnarice. With generally accepted industry
         standards prevailing at the. time, all applicable laws, rules and ·l'egU]ations; and. all applicable.
         sp¢cifi~tions·~and do¢um¢ntation..         .                   <               •




 5. 2   eontractor -tepr¢sents €lfld\vru:tantS tha,t (a:) it has full power and aupiqrity to enter· into this
        Agreement fili4 gtEJfft·ULJAa11 pftlkrighfa gtantedhereunder, and (H) the p:ei'formance:of this
        Agreennm.t W;ill ilot co¢1i~t'. y.iith;. or. -~e, ·pro~i1Jited Jn any" waY ·by, :any other agreement or
        s.tahitofyrestrict[ontO.Which C.ontt"a:ctcir is.15otu;ld.           ..    . .

6.      fod~mnity. Cfo11tractot; shall fµdemnify *1d .hold h~~'mi.e~s ULTA.. arid; its offic.ers, .directors~
        agl{fifs and'emp1oye¢$ (the "Iti.~emnitees"), against ·a:Il plaifus, Ji8..bilities, damages, .losses anc:l
        expense.s,. irr¢1'ticl,~µg ~ttorney~' :fees ~p:d C.q'sts of suit ~sfiig·pµt of or 'ih :ariy way connected. With
        this A'gr~·em'e.iit, in,;c,I:gdip,g ,Witb;out: l:i¢itation; (~) Cohtractor~s breach 6r'vfolation of any terni of
         this. Agreement, ;(B) 'Cohb'actot's: n¢gligeriqe,: or interitiohal :miscondtlct; (q) Contractor 'failing to
         satisfy.the Internal Revenue, ServJce, s!$Ujdelfries for an indep~ndent .coritr.actor, ahcl (d) any claim
         by a thi~d party against ULTA alleging th~t the Servi¢es. oi"the .r¢su1ts ther¢of infringe a patent,
         copyr;ight, trademark, trade se¢retor otlietpropriet~ry :right.of.a thir~lparty (the:"Claims1')and, .at
         ULTA's request; :defend tP,e 11;1.d,emiiitees:.agaihst ariy Claipis. Contr:actO:r·shaU not settle•anysuch
         suits or Claims Withoti.tlJ1TA:s ptiOfwritte·n \l.Pproval. Conttactqnigrees :ta .pay'orreimburse:an
        ·costs:tliatmay b.efrncurred by ULTA in enforcing this indemnity, in duding attorneys' fees.
1.       Ex1foiises; :supplies. ·Except as· othe:tWise; $peCified in: a :Project Schedule, Contractor shall ·be
        'responsible for all ¢0sfs and exp'enses inCiderit to ·completfug each' project and shall provide
         eontractor's own supplies and, equipment.
8~      Nonexclusive Agre·ement. Th1s, is Mt .an ,eX.chisive:agreeirient. ULTAis free to engage others
        fo perfotih servides the same, as or siinilar t(l C9nrractor1s. Corttractck is free to advertise, offer
        arid pfo-vide Cdntfacfor's serV:ices: to others, prOvfded that Contractor does not breach its
        obligations.hereuridet.
9.      Confidentiality;.
9J      .Contractor; acknowledges: that ,it Will acquire knowledge o'f ULTA Confidential Information, in
         conn'eetion withjts"perfomuiiice hereunder. HULTA Confidential Tnfonnation'' includes-withou.t
        limitation all foforniafroI1;, whether written or .oral and in any:fonn, relating,:to· ULTAls~resem:d~,,
        'development; products, methods of manufacture; . trade· secrets, business: ,plans; C\lstomei;:s,,
        vendors, :finances; personnel data, Work'.·Product (Clefined.i'n Section :ro'.of this· Agreement), ang
         other :material   or    infon11ation considered: ,proprietary by ULTA relating to the cu,1Xe.l1t ·or
         anticipated business·: or affairs ofULTA. ULTA:Confidential Information also incluqes·iµiy third
        pJl!ly's proprietary or confidential infonnation .disclosed tc~ Contractor, U.LTJ\. .Corifjdentii:il
        Iilformationdoes:not in dude :information (i) that Contracto1«lawfil.1l:y'k.new without rei;trfoti9n Oil,
        qisclosure• before ULTA. disclosed it. to Contractor; {ii). that is .or \>ecQmes p\}hli.cly 'known
        W,rough nq, wrong4oing,o_fCqptractor, :(iji) .th~t Contractor d:evelop,ed:i11dependen,tlywit.bou~ use
        c)f :tj'L'fA. Co11ftdev.tial Inf<JI'l,11:atiori; ,a5 evidenced ·by appropri_ate :dpcUll)en:t~tjop, (iy) tl:\lit Js
        hereafter Jai..yfully J'urnishe&tQ Contracto.r bya; third party w~thout restri<:<tiem';on:'disclostire, or (v)
        that is t:eq'llired (o be dis~l,Qseq pursuai:it t9 ~ require:i;nen,t of .a goyem11~~t :agenqy '.Or law;
        provided '.C911t,ra,ct0r gives prornpt-notice t.o {]LTA qf such r~uirement:priorto ~disclqslli:e.
9.2 CQ!:itrac.tor agte<::~ during and for five (5) ·years following termination of thi.s Agree,ment ·not to
        cqpy (exc~t with. ULTA'~ priqr written cop.sent) qr directly or indire·ctly disclose to -any third.
        pa,tty any ULTA Confide1;1tial Infortnatio11. NQtwit11standiµg the foregoing, ,CoI).ti;actpr·shall tr.eat
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       as confidenti~l .and. ~hall· not, dir:ectly or: indirectly, discfo!)e pr' otherv.ii.se make. available any
       ULTA Confie1eritj,al hlfor:till:\tion ;tha,tis aci;:or,de,d ":traq¢ ·secret" status under any applicable law
       foras. long as•su¢b ULTA ConfidentiaLinfQ:r::rnaJion ·sha1l ,{¢Piain fJ. "trade: secret'' under such law;
       Without. limiting th.e ;&cope .of the: this Section 9:?, :Contraetor. agrees to limit its internal
       diStribution of ULTA Confidential ·Information to Contractor's Assistants. who have a need to
       19iow .solely iQ ;9tder to eff.ecwate the applir:lable Project Sch.~ule and to take steps to ensure that
      'the .disseminatiou ·is so limited, jncludfo,g the execution by Contractor's Assis.tants of
       nondisclbsure agreet:rtents with .provisions substantially s~ilw- to .tho.Se set forth in Exhibit B,
      ·attached hetero and. by referenqe incorporated here.in.. Contractor wiU take all reasonable
      ,measures ·to protect ULT.A Copffdential Jnfonnation, including, at .a niini'mum, those measures
      that itus~!f to pr9,teqt its QWrt Jnfotmation (jf asimilru; nafui~. C9ntractor shall use the ULTA
       Confidential Inf():rri1ation~ only in the..co:urse ofpetforrni:rig .th:e ,Se:ryi ces here'\l:nder and not for 'its
      own ben¢fit or for the~henefit of anyone other than ULTA..

9.3    Contractor may ,not alter, decompile, disa~semble, reverse engineer or otherwise modify any
      ULTA Con;fidential Information (<~xcept at the direction OfULTA in connection with performing
      the Services), and the mingling, if any, of ULTA Confidential II:ifomrntion with information of
      Contractor·shall n,ot affect the. con,fidential .nature or ownership of the ~aine. Except ~rs required
      'Qy t:JLTA in connection with. the Services, Qontractor agt:e~s not to design qr manufacture any
      products that intQi:porate ULTA Confidenti!ll Information,.

9.4   All (JLTA Confi,denti~l IP.formation is a1id shall remain the property ofVLTA, ancl Contractor
      shall .have' no ~:Q&}1ts, 'b,y lieense ot ·oth~rwise,. iJJ. ULTA. Confidential Informatipn, e:xcept as
      exp:re.s~ly proyid~d her~ig. Upo.n the earHer ofUJ..TA's written,,~reqll;est w the termination of this
      Agreement; Cqn,tractbt~shall return or destroy·an ULTA Conjjdetjtial Inforn1atfon, ill¢1Udi!fg. all
      copies, excerpts.. apd, stnnmaries thereof.                                             ·        ·

10, .Ownersll'ip ofWorkP.rodud.
10.1 For purposes of this Agreeinent, "Work Prodt1cf' sh~ll in,c:lu,eie~ withoutfimitatibp, all designs,
      works; work in pi::ogi:;ess, d(:liverab1es, inventions, ptQdl!~> drawings, notes, documents,
     .information and . ¢aterials made, conceived or developed 'by Contractor ~Jone or with ·others that
     result from or relate to the Services pe1formed hereunder. AU such Work Product shall at all
      tiT11es be and retnain the sole .an:d exelusive property of ULT.A,. In this regard, Contractor hereby
     agrees to irrevoca:blyissign and tqnsfe.r to UL'.fA, and :does hereby assign .and transfer to· ULTA,
     ?11 QfitsWorldwide right, title.and 'interest.hi and to the WorkJ>mduct, including all associated
     intellectual property rights therein. ULTA will have the s.ole right to determine the treatment of
     any Work Product, including the right to keep it as trad¢. secret, and to. file applications for
     patents and copyright ~d tra,demark registrations. Contractor agrees (a) to disclose promptly in
     writing to ULTA       allWork Product, (b) to coop.erate with and assist ULTA to apply for and
     execute any applications andfor assignments reasonably necessary to obtain any patent,
     copyright, trademark.or other sta:tu:tory protections for the Wo~k Product in ULTA's ·name as it
     deems appropriate~ and (c) to otherwise tre~t all Work Pt,oduct as ULTA Confidential
     Information as described above. "Work Piodu~t" shall'notinClud:e Contractor's Store-eMapping
     Program thatit may:use in the conjunction with the Services. However, Contractor,agrees that
     any mapping of ULTA 's store along with the output of such mapping, shall be treated as
     Confidential Information.

10.2 Moral Rights Waiver. "Moral Rights" means any rightfo,claiin authorship of a work,;anyright~o
      object to any dist()rtion or other modification of the work, and any s1mllar right, existing under
     the law of any co.untry in the world or11nder any treaty. Contractor hereby irrevocably transfers
     .and ftssigns to UL,TA:.any and all.Moral Rights that ·it may have in any qf the Services or Work
     Product Conf;ractor also hereby forever waives arid agrees never to assert against ULTA, its
     successors or licensees; any ~d        an
                                           Moral '.Rights Contractor may have in any Services or Work
     Product, even aftertermination ofthis Agreement

l0.3 ContractQr :will ensure« that Cpntractot's Assistants appropriately waiye any and all claims and
     assign to ULTA aJ1Y and all rights or any interests in any.Services or Work Product ot original

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       works created in connection wfth this Agreement. A fonn of waiver an:d :assignment is' attached
       as:Exhibit B.
J0.4 :ULTA willnothave rights fo .any work product c0ncei:ved ·or teduc.ed to,practice .qy Contractor
     that was developed ·entirely· o:Il: · ContractOtls owri time without using ·equipment,, supplies,
     facilities or trade .secrets ..or'ULTA Confidentiallnfonilation;:uriless· such work-product relates·fo
     ULTNs'b.usiiless.orciesults fr:omcanyworkperfonned 'by: Contractor for.ULTA.
10.5 Contractor ·represents and waitarits that 'all :inventions ot works of'authorship relating; to· ULTA:'s
     actual, or ·antieipated business:,.ot res·¢arch::and. development :th~ikC01ittacfor: has made, .conceived
     or ireduc¢.dJfo prii.etfoe at tlie t:ifue:pfsigttingthis ~greeniept ha.v.e b.een 'disclosed to ULTA-and
     areset:forth on Exhib'itC, attached.hereto-and by referenceilicorporated:herein.
11. Acc~ss fo. ULTA's Systems. Contractor shalLimpl¢meiJ.t;~4 strictly'cop:iplywith procedures for
    the· security of UI,,TA's computer s)'S,tepis· set.forth in ·any ULTA.manuals, documerttsi .or written
    inStrilctioris,. wliich ,m.a,y })e amended from tifue:to tiine by ULTA in.oi ts sole disctetiOn, and will
    terniihate access to ..su¢h .systeins; whenever: Contractor eeas·es t.o have .a. rreed to: know such
    systems. Contractor. :will,:nottamp,er'with,c.omprnirl.ise; _of. attempt.to, circ:rirtiVent or bypass any
    secl;\nty ·pertairi~l1g to ULTA's systems,_· ¢lectronie          or
                                                                    qtherW:ise (collectively, '.the. ''Security
    Violations''). Contractor assumes' responsibility and liability for ariy.a,ccess to ULTA's systems
    by·or tlifough its conip.uters ,arising ri:tit ofortesulting in any; SecurityV:iofation. Contractor will
    use its best efforts to assure thatany linkage a.ml/or access· to ULTA's systems will not cause or
    allow entry of any viius or an:y other contaminant, including without limitation codes,
    commands, or instructions .that may be used to a~cess, .alter, delete, damage, or disable the
    systems, other software, information, or other property. ·             ··

12. Nonsolicitatfon.Of Consultants and Employees. Without the~prior:writteh consentof'the other
    party,,during the tertil, an~ until'Cme (1 ryear aft'eflennina:tiOn for any .reason, of this· Agreement"
    neitl:forparty slihll,.:directly erriplby~ solidt'for etn:pfoymen:t, or otheFWiStrnssist in the solicitation
    o'fempfoyment,;including .artyket:orhmendationwith:re·specit to :employment, of.any,consultantor
    employee ciridentifiedprospective constiltaT,1t:or·employee 1of:the.othe(parfy. Thed'oregofoKwill
    not prohibit a party Jroin foterviewing 6r.Yhfrirlg em;j>loyees ·oi independent -coritracfors of the
    other party, ·who. ~.respond. 'to. .generaL ;employment solidtations. Neither party shall :seek to
    p.ersuade, or indiice .any· :iildep·endent contractor lo terriiinate. or breach a. contractual ,or ·other
    relationship with~ULTA.
13. Terminatfon.
l3J ULTA .may ten11inate· this Agreement at any .time for any reason upon written notice to
    Contractor~ If Services are being 'provided pursuant to a 'Project .Schedule in force at the time;
    ContractorshaU cease to. perform :the Services ·on the d'ate.:of:termination specified insµch ,poti~,
    and TJLTA shall be obligated 0nly to pay Contractor orily :for those Services satisfactorily
    peifowaj through the date oftennination, less appropriate offsets.
l3 .2 'QI.,T;\ may ter.rnina,t~ this Agreerpent if'Col,ltra:ctor .fails. to ·perfonn or 1otheryv'i~e .breaches any·
      m.~~eria:l provision of this Agreement and fa,ils to ewe the breach within ten (fO) days aftet
      re()~iving wf.ittencnohce.ofthe;breach from ULTA .. Jn.the .e~ent ·ofsuch.tennillation for breach,
      U,LTA shall have· no li.abUity to pay Contra,ctor for Services perfonned through the <;late of
     tei;rtiination~.

13.3. Co~tnrc,toT,ml'.}.y :teqnina(e t1Jis Agreem,ent. u.pon·wrirlen l.lC?tice to UCTA -at any ,dine for any
      r¢aSQ.IJ iffiq :servfces. ar~ lJ.eiqg pfQVide.d purs\}.@t to a P,rojeqt, ~,ch~u1¢ Wf6r¢e at tlieJiroe. lf a
      Pr9ject Schedule {$ in force,; 't11~n: µ11til·su()J'i: :Project ScJ:iedtjle js :C,omp1¢ted, Contra:ctor ini:t:Y
      tennjn_!).te tbJs. Agreement: only jf)JLTA .fu.il$ t9 perfqpn or qtljerwise bre~qhes ~y material
     ·pr9.Vis1¢rt .of thi$ Agre.@ent ~4- f~i~s tQ cµl'.e the bt¢a.ch Withi11 tlitrty·,(gQ) days· after receiving
      Mt{c(;~ofthe b;:eacn ·1.1:om.:Oo11ttactof.                                         · ·. ·

13:.4 l]pon: tb:e t~rrttil).ation of this:Agr~~illent for any rea:son: (a) each patty :will he release.CL from all
      obJig:aJions' Jo th'e ti:ther arisin~ after the d~~e ofterm.illatiorr, ;eAc~t those that by thefr· terms
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       survive silch termirlat:fon; and (b) Contractor will promptlynotify ULTA Qf any Work Product in
       Contractor's pP:s..sessiOn and, at the expense :of Cont!"actor and. in accordance with ULTA's
       insfi'.l!cti9µs, d~li'ver to ULT.A all such Work Product and r.eturn or destroy all ULTA
       Confidential Information.
14. Limitation of Liability. IN NO EVE_NT SHALL ULTA ;BE LIABLE TO CONTRACTOR OR
    CO_NTRJ\-CTQR'S. ASSISTANTS OR A,NY .THIRD P.ARTY FOR, Al'fY. INCIDENTAL,
       1Nilll;lliC1\ SP~GIA,.L OR, GQNS,1JQ1JENT!AL OAM.AG~.$.QF ANY ~IND ARISING our.
       OF QR IN'OQ'NNECT~p_N· 'VII1JI THIS ..AQREEiyfE_NT; ·WH~T'BER QR NQT lJ.LTA WAS
       APVlSEJ) OFTHE.fQSSIB.lLITY ·op SUCHPAMAGE.
15, Force Majeur:e~ Neither party shall be liable for any d,elay or failure' in perfort11C111ce clue to
    causes beyond. the.·teasonable. c:Oiitrblofthat party.

16.   Initirictive Reliet ContractoJ::·agr.ees.thatjts obligations W:td promises tinder t.his Agreement ~e
      o'fa unique, intellectual n:a~:re giving them particular va:Iue~ ¢ontractdr further agrees that
      Cohtrac;tor'sfrreaqh ofany of theproniiS'esor agreements co11taineQ.il;lthfaAgreement will tesult
      in irreparable and eontii:liiinK damag~. to ULTA for which th~e will be no adequate remedy at
      law, and in the event.Of su.ch bi:'each ULT,A will be entitled to seek; injmictive relief, or a decree
      of specific ,perfotmanee, ot bothJ ruid such other and. furthei: .relief as· may be proper (ineluding
      moile.tary dam&ges;ff appropriate).
17.   Assignment. Contractor may riot assign or transfer this Agreement or any of Contractor's rights
      9r obligatiol).s under this Agreement without the prior written coi1Sent ofULTA, except as set
      .fotthJn Sectioi14 above.                                                                    ·

18. Severa:bilitv• :Jf ariy proy'i~iop of' Qiis Agreement ~s. deeiited fo be invalid, .illegal or
    uliehforceabl¢, the validity, legality. and enforceability ofthe remaining provisions shall not in
      anyway be affected orimpaired thereby.

19.   Waiver. No failure to enforce any covenant, tenn or condition of this Agreement shall be
      construed as a waiver of ariy breach ofany other covenant, term or condition. ·

20.   Notices. Any notices required,to be given under this.Agreement shall b,e sufficient if given in
      writing and delivered in person, sent by fac8imile transmissicni, by certified inail, return receipt
      requested, or by commercial overnight courier, addressed. to the respecti:ve parties at the address
      set forth on the first~page hereof, or such .other address as a party may, from time to time,
      designate .in writing..Notices,sball he effective whert received.  ·

21.   Survival of Obligations. All.provisions.hereof'that by their nature should extend beyond the
      termination of this Agreem~nt; :including, without limitation warianties, taxes, ;indemnity,
      confid~ntiality;. ownership .of ·Work Product, Moral Rights :Waiver and ·nonsolicitation, shall
      s:urvive thetenriip~tiC:m ofthis. Agreement.·.

22~   Governing Law, This Agreement shall be construed,. interpreted and enfQrced according: to the
      laws .of' the State. of Illinois, excluding .its conflict of':law rules. The. Circuit Court of Cook
      County or the· United' States District Court for the Northern Disn1ct of Illinois shall have
      jurisdiction and venue 9ver all controversies arising out of or relating to.this.Agreement.

23. Insurance.

23:1 Required Insurance Coverages. Contractor shall obtain, pay for and maintain in full force and
     effo9t.during the term ofthis Agreement, insurance as follows:

      A.   Workers' cqfl!.p\!p.sation and employers' liability ins:urance with li,rnits to conform with the
           greater of t4e ·amount required by Illinois law or One Million Dollars ($.1 ,000,000) each
           accident, ;including occupational disease ~overage;;

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         B.      Commercial general Hability insurance with limits not less than Two Million Dollars
                 ($2,000,000) combined single limit for bodily injury, death, and property damage, including
                 personal injury, contractual liability; independent contractors, broad,.forrn property damage,
                 ana products and completed 6pera:tions coverage;

         C.      Cbmriiercial automobile liability fo.surance with limits .not less than One Million Dollars
                 ($1,QOO,Q.00) ea.ch occurrence co111bined single limit'Qfiiapilify for bodily injury, d,eath, 8I1Cf
                 properly darnag~; inclµding. owned and non-owned and hired automobile cov:erages, as
                 appliciible~. and

         I)...   ::Prof~s{o~~l'li~bjlity:insµran~ (Errors and Omissioµs) ;(.Vjth liinjfanotless than"two; Million:
                 Dollars ($2,00,0,000) annual: aggregate for .a.11 claims each policy year for computer
                 programming and efocttobic data processing services.

 23.2 Claim.8' Made Coverages. To ~the extent any insurance coverage required under this Section is
      'purchased on a "elfilins.,maqe'.' basis~ such· insUI'ance shajl cover all prior acts of Contractor
      during the t~ of this Agreement, and such insurance shalrbe continuously maintained until at
      least three (3) years beyond the expfration or termination of the term, or Contractor shall
      purchase""tail' 1 coverage~ effective upon termination of any such policy or· upon tennination or
      expiration of the form, to provide coverage for at least one. (l) year from the occurrenc.e of
      either such event.                                                  ·

23.3 Certificates of'Jnsurailce; Cciiificat~s of Insurance evidencing all coverages described in this
     Section shall be. furnished.to Ulta prior to the Effective Date.

23 A Cancellation or Lapse· of Insurance.. Contractor shall ~v~ tl1h:ty (30) days prior written notice
     to Ulta of cancellation, nonrenewal; or material change fo cover.ag~, scope, or amount of any
     policy. Sl:).ould Contractor-fail to keep ia effect at all times the insurance coverages i"equired
     under this Section 23, Ulta may, in -addition to and cumulative with any other remedies
     available at law~ equity, or here4ni!er, withhold payments to Contractor required under this
     A~eelii ¢ht iri .ah •arti9imt :$ilfficienJ to procµre'J}Je.il)surabc¢Jeqliired herein.

24. Entire. Agreement; Modification.· This is the sole and. complete Agreement of the parties
    cartceqiirjg. the ~bj~ct in.after .nereof and supersedes any :prior promises, agreements and
    unqerstand_ing~ betw~err the parties. This Agreement may,· be amended only by a writing signed
         by both parties.                                                ·                                    ·

.IN WITNESS WHEREOF,. the parties 'have. executed .this Agreement to become effective as of the
Effective DC,\te.

CONVERGENCE·MARi<EfrNG,. iNc;                                                                   FRAGRANCE,. INC


By:                                                            By:
Name:                                                           Name:        --~··· ;.M#&z~
Title:
                  C~o
                                                                Title:
                                                                              /(// ~4; 2/tfV
Date:            \.( \'] \1?..                                 DCJ,te:                 l-/f-/2-
                                                                                     .Approved t~al _.pj,,
                                                                                          Date: fJ J~( 11..



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                                                 EXHIBIT A

                                      . PrQJect -,Pescrip.tfon 'Schedule
                                                     ·fo
                              :M~st¢r'J:i;id¢pencl~nt C9µfra:c~or Agi;eeineliJ
                                                  between            ··
          'ULTA Salon, Cosmetics:&.Fragrance11nc.ciuid.____ _ _ _ _ _ _ _ _ __

          Th~s P,E:01ECT l,)I{SQRIP.T:I(J!'{, SCHE,J)~p-(''Schec!µle~;)~.·effectiye. a~ ;of·---'---'---'·
20:.___; is an addendum to the Master Independent Contractor Agreement between. ULT.A Salon,
:cosmetics & Fragrance, foe, with principal offices.located at i'OOO.Remi11gton Boulevard, Suite 120,
~qlJ.iigbrook Illin.oi!;; 604.40, :its•: subsidiaries and affiliates (colieqtively "ULTA") ap.d
'--~---'"--~--~--("Gonir<J.ctor"}dated.                                    . ,20_. {"Agreement");

 Description .ofPtoJectandJ:;ervices: _ ___,,__ _ _ _--,----,---~-----,-__,,.,.,._--




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Statement of Wa:& shall MJ ~xcee:d             No additiona:l .wofk shall be undertaken without·
the express written consent of ULTA. Invoic~s will b.e sub~itted to. ULTA- with am'.?roved
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 including'the,               account leam.J\ny concerns regarding the qualify ofdeliverables will be
·escalatedJc»the             . :A:cco:Urif Executive teaJ.n. Firtaf.payment wiiL oe released upon ULTA"s
acceptance bf the'ddiyerab,te~'note:Cba_bov.e.

Jffqr any.reason this Statement ofi W<:>rk ·is terminated,. ULTA .shall be:responsible only for :actual
:hours worked ..




:By:

Name:

Title:                                                    fitle:

bate:                                                     Date:



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                                                   EXIDBITB.
                            Subcontractor Nondiscfosiire, Conflicf.of Interest
                                  and Proprietary Rights Agreement


This,.:t\greement is: macie on               _, ·20~ between ULTA Salon,. Cosmetics· & Fragrance,
'Irie, with principal offices l_ocated at lOoo· Remirt@cin B.oulevard,. S:U:ite. 120~ 'Bolingbrook .Illinois,
 60440,      · its ·   Silbsidi'aries      and       affiliates   (collectively         "ULTA"),         and
        ·                                located a:t              ·                     ,("Sub¢ontractor") ..

Su}:icontract0 r is•perforining.w:orl<: for                                                     (''Contractor"),
whicli is in.the busines.s o(providihg·                                                :serV:ices ..to. C'ompanies
s_i.iQh. as ULTA. .Coritj.'actor. qas ~Jit¢red into a Master ~dependent. Contractor J\:greement
'("Conttaotor· .Agr~ertfe11tl) ,with ULTA,,. pursµant to..~hieh C<mttac.to!' -sltall, . either directl)i" or
fociirectly 0through_ Subconttactqt;;,prov.i(:ie :set.Vfoes to ULTA. This: Am-~emenu~vb.efog. deliverea by
Sub·oontractotto:ULT'A. as 0reqtiired'~:Y.the.:tenns ancl:conditions . Ofthe.·Corittactor.A.gteemerit.

Wheiefotei th~parties ~gree as:folfoWs:·
1.    ConfllCtsi of In.te:r¢st; Sul:iqoiitta.Ctor cert{fies as, follows: Ji} tb¢i't'. ape no. olitsfandfug.
      agreein~iits or :Obligations that. ¥e in .¢onflkt With or would' ptecltide Subc.on'tfactor :from:
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      a11y such :coritlie:tirig .agreementS dtinng the term ofthis Agreement~ arid (iii)' Subcontfacforwill
      not qiscfose ~o _ _ iin:y corifidentiru; secret ari:dlor proprietaryinformatfon that.is the property
      ofothers an·d thatSilbcorttractor is n0.t authorized to discfose; ·                         ·

2.   Subcontractor's Agents·. :Subcontfactor ·agrees that;, prior to pef.Inittirig an einployee,
      subeontractot or agent of; .ot ·any other fo.di'viduat r¢sporisi0Ie to;· Subcontractor
      ('1 Sub~ontractoi'.'s Agents''} fo assist Subcorifracfor frrany way ih p~forirting sel'.vices for or on
     ·behalfofULTA, Suhconfractor shall .(i}notifyULTA in writingofSubcontfactor's intention to
     ·obtain such. assistanc.e; (ii) identify the· type of,assistance. to be provided, (iii) receive ULTA's
     prior written permission fo allow· such assistance, and (iv) require Subcontractor's Agents to
     sign anag!eeinent provided byUL'I'A similarcto this.Agreement, and todetutri such agreement
     toULTA.                                                                                         .

3;    Confidentialify•.
3.1 Subcontractor acknowledges, thatit wi1Lacquire:knowledge ofULTA Confidential Information
    :(defined helew) fo connectforn wi:th,iits performance hereunder -and agrees during ·and for five
     ;(~) years:followirrg,temifuafibn.or e:x:piration of the Contractor Agreeriient;.to.keep S\ICh UL'.fA
     'Confidyntfal- Information in, confidence: Notwithstanding .the foregoing, Subcontractor shall
     treat as 'Confidential and: shall not, directly·or,indirectl:y, disclose or otherwise make available
     .a11y ULTA Con:fj.dential Iilfo1mation that.is accorded f':trade secret"::statu~ under imy· app11c~ble
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     doet.tm~1J:tation, :(iv) :tha,Hs:he:reafter)awfrilly fttniiShed to Sµhc.ontractotby a third party.as a
     matter of right and Witho)lt :re$triction on disclosm;e, or (v) that is. required.to. be ·disclosed
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       pursuant to a -require~ent of a govetnmertt ·agency ot law so long as Subcontractor provides
       jm::liript ri9ti¢e to. ULTAofsuch requirement prior to discl0.$:Ure_.

'3.2. SU.bcontractot agrees rtoJ 'fo ·~.opy· (ex~ept with l.JLTN:s pr,ipt written. c,onscµt} or <llre:ctly .or
       indirectly disclQs~ . any t.JLTA Confid,eri.tia.l Infonnation .. Without Iimiti!lg the ~fOP.t'.: of the
       foregohig~ Subt;o,nttactor agr:ees ·to liir!~t its jnternal , dis,tril?\iti9n pf U.LTA Confidential
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      regµiredcin connt;ctionW,,ith perfonpirrg servi(fes.for the bem:fit ofULTA.
3.4    All ULTA Corrftdentiill Information is and shall re.main the prop·erty of ULT A, and
       Subcontractor shall have-nor~g~,ts; by liteilSe 9r_ otherwise;,in U~TA Confidential I:pfqrn:iation,
       except Cl.S' exp;re:s.sly proyided .herefo. Upon the earlier of ULTA's written request or the
       tern:rinatiq11 of Subcontra¢t<>i) ~~S.igl)ment, Suhc.ont.ractoi; sJ:ia:ll ret:urn, trans~er· ()r ;issign to
       U.LrA.,all (J~TA Confid.enti~r !hfohnation, i:ncludi~g all WO.rk Prqdµpt~. as definedj:n Section
       4J below;:and aJJ cppks thereof.

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4.,    Ow:ti~rshlp. qf Work Prod,tict,,

4. 1 fo:r pur.poses -~t' t'h1s Agt~em:¢nt, "Work Pxodu¢t;, shall jn¢Ju~~" witho~t limfra~ion, a)l: 4e~ig¢;,
     wor.Ks, ·work in, progress, <leliv¢rables, :fav.enti6ns, produc~s, drawjttgs, not~s., .do:cuments,
      irtfoi:matii;>:ti., aiid hrateri_als made; :conceiyed,, :or ·develop,ed by StibcqJi:fraqtor, afrm:e _or with
      others, which.result.from <)i'lelare:ro the s.er;Vicesperform:eaJ'ot:ULTA orfor ULTA;sbenefit.
      Alt such, Work P:todu.ct shall a:t all times 'be· and remain the sole an:d exclusive properfy _of
      ULTA. In·this regard 1 Su;bcontra.cfor hereby agrees to itrev:oc~bly as~ign and tr,ansfor to ULTA
      and.does·hereby:assign a:nd transfer to.:ULTA hll olitS'w.otldwid~\right, title. and interest in and
      to tlie Work Pfoducf i'heluding alt associated il)tellecfualproperty rights ,therefo:.. ·ULTA will
      have the sole;tiightto detenrtfoethe,freatment--bf any Wotlli Product, including,fue right to keep
      it as trade~secret; execute arid file patent applications on it; ·to use and.:disclose'it without prior
      patent application, to file registrations for copyright or trademark in its oWn name or to follow
      any other procedure that ULTA .deems appropriate. Subcontractor agrees: (a) to disclose
      promptlyin writing to UL:rA,all Work Product; (b) to cooperate with and assist ULTAto. apply
      for and execukany applications ·and/or assignments reasonablynecessary to obtain ay;ypatent,
      copyright, ttademarkor other statutory protections for the Work Productin ULTA'.s name.as it
      deems appropriate; and (c:J to otherwise. treat all Work Product as ULTA Confidential
      Inf{)pnation as described abo;ve. These· obligations to :disclose, assist, execute and keep
      9onfidentia) su,ryive the expiration, or termination .of the Contractor Agreement: '~Work
      Product"; shal~ 1lOt include, Contr~ctor's Store-£4Mapping'.Program that 'it or a ·subcontractor
      mi:iy 9$.e ip tf1e, conJu:rr,ction Fith the Syrvic;es; However;, SubcoritJ:(l~tor: ~gree,s .th(lt any
      mapping qf TJI,J;j\;'s· .store, .al,o:ng with the output· of such :roappil),g, shall be treated as
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 4.2      Moral Rights Waiver. ''Moral Rights" means any right to claim authorship of a work, any right
          to- object to any distortio11 Qr other modification of the work; and any similar right, existing
          under. th~ law of any Cbl!Tl,try in the worlcl or unciet ~ny treaty. Subcontractor hereby
          irrevocab~y transfers an:d _assigns to ULTA any-and all_ Moral Rights thatit may have in any of
          the sentices or Work Product. Subcontractor also· hereby forever waives and agrees never to
          assert against ULTA,, its ;gucc~ssors or licensees, aIJ.Y and· all Moral Rights SubcOJ1tractor may
          h;:ive in any s_ervjces or Wor,k Product; even after expirat1on or termination of the Contractor
          Agr<;iement

 4.3      Suhc.ontractor Wilt 'ensure that Sup·conttactor's. Agents. appropriately ·waiv.e any and alf claims
          and.assign-to U:bTA- ahyahdall rights or any lnterests in.anyWorkProduct or oiiginarworks
         -created: in connection.with:Sl.,lbcontractor's_perf6rm11J1c~ qf servi_cesfor lJLTA (or for ULTA's
          benefit) by ·h~ryil,fg_ sµch 'Sl:tbc;ontractqr's Agents execute. i;m agreem<mt sub~tantially similar to'
         this Agr:ee.tn.ent.

4.4       ULTA will not have. rights to any wotk product coneeived _or- reduced to practice by
         Subcontractor that was developed entirely .on S'ubcontraetof's own time without using
         equipment, supplies, facilities or trade secrets of ULTA .or ULTA Confidential Infonni].tio~,
         unless (i) such worJcpro~uct. relates to ULTJ\.'s busines~, or ULTA!s actual or demonstrably
         anticipated researc;h or develop1m;mt, O,\ _ (ii)' such w:ork product results from any work
         performed.by Subcohttactorfor ULTA or for..ULTA's behefit:

4.5 Subcontractor represents and warrants that all inventions or works and authorship relating to
         ULTA's actual or anticipated business, or resear~h and development, that Subcontractor has
         made, conceived or reduced to practice at the time of signing this Agreement have been
         disclosed to ULTA an:_c;l are set forth on Attachment 1 hereto; which is incorporated herein by
         this Tefere1ice .

.5.       Miscellaneous. This Agreement constitutes the entire-agreement between the parties hereto and
          $Uper~edys anY im4 ,aj1 prior or co~temporaneous agreements or understandings between the
          p_a,rti,est~Jating to ,the,~upje.ct:111~tt.er hereof. If any prov:isibn 9:fthis,Agreementis deemed to.be
          invalid, illegal or unenfotceaole, the v~lidity, legality -ajld enfqrqeabiHty of the· r.emaining
          provisfons shall not .irt any way be affected or impaired thereby. This· Agreement may -not be
          amended or modifiediexceptih awritihg signed by the_ parties hereto. This Agreement:shallbe.
          go:vemed by the]aw,s of the State of Illinoi;:;, except as -to its conflict of law rules .. All
          provisions h~r,eoft}1_a~.-py fu~ir natµi:e.sl:J.ouki extend bey(ln,d the t_ermin<i,tiqn of this Agr!;!ement,
         .in~lu,dillg"wifuou,t;li:rnitqtion ·W~rra,nties, ·conficie11tia1ity, ownership· of-Work Produ<;.t and Moral
          Rights waiver shall sutvive the.termination of this A~eeinent.                ·


                                                                  ULTASALQN, :COSMETICS & FRAGRANCE, INC.
               ·(Subcontractor}
By:                                                               By:

Name:                                                             Name:

Title:                                                            Title:

Date:                                                             Date:




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                                              ATTACHMENT 1
                                 Subcontracfor's Disclosur.e ofln~eritions·
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                                        Project. Dcsc.ripti()n Schedule
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                               Master fod~pJ~fi.dent C(lnt~a~torAgree.Ql.cnt
                                                 between
             UL'.I'A S.a,IQu,CosmctiCs Q.!.$ragrance, in~. and Conv~rgcn(:e Mall"~eting, lnc.


ThiSJ~ROJECT DESCRIRTlON SCHEPULE ~·~sc}iedule 1 '). effcctiye :as of Jari.:umy l~t, 20t2,js an
addendum tq the Master Independent Contractor Agreement between ULTA Salon, Coi.wetics &
Fragrance, Inc, with prir;iCipal ott1ces l'ocatcd at l<)OO Remington Boulevard, Suite 120,, Bolingbrook
lllinois, 60440~ its subs.idiaries and affiliates (collectively "UL'f;A'.') and Convergence M~kctihg,
Inc. ("Contra.ctor'~) dated January l st,.2-0.J 2 ('"Agreement").

Oescription ofProject and Servi cm;;

(jener?l m-crchandisi:n.g and planogram implementation to Ulta standards. This includes produce
pJacr.;me~t,Jwplcm2i1tadortofpticc cQll)ri'l.uni~ation, making and.placing of"test~rs~· wh~ applicable
and installation of mcrchand1sfog/pr1Cing signage, etc. Sec below for more dt-1:ail.

New Stores

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ULT A Remodel Store Program Nfanpower Requirement~ Conxfan; of:

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                                  Remodel La5ks include but?re not limited to:
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                                      ..r Prc·sct re~ponsibilities
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Project Fees, Pr, if applic~~bJc, Per Hour Billlng Rate; -

N.anu: of lndividual(s) Assigned:       Billy Teagle


This· statcni¢.oJ 6f work covers the period fro111 Wl/12 to 12/~l/12, .howevcl\ in accord.anc~ with
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The total funding for this:'Stat<.-'1~1ent·ofWork shall nQt exceed -      ·:No additional wor'k,shall.·bc·
-Undett?~en witho:¢dhe e~p.r¢ss written eons·ynt.ofUD'f:A. Invoic¢s '\vill be.sub~itted to ULtA. \\•ith
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any other pr0Jectmaiters;;Thesf!medi11gswill be atten<lcdcby representatives,,from· both Ulta and
Contract~r including thc~Oontractor''i1ccpunt t<.:am. Any concern.~ regardi~gthequality of deI°l:verables
will be escala!~ to the Contractor Acc.oJ.lnf Ex~tivc:tcam. :Finul paYJ)ieiit w:i:Jl be .teleasci:l upon
ULT A's a:cceptaricc of'thc deli.vetilbles ndted above.

If {or any reason this Stntcmcnt of Work ,is tenn inated, ULTA shall be responsible only for actual
hours worked.



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By:                                                             'By:

Name:                                                            Name:
Title:                                                          Ti tic:
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              .. A{ \q. I 1··~                                  Date:                l-/f-/2-
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                                                                                                 Date: f\t.\)iY




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            EXHIBIT ''G''




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                                                                     Match Converge (Formerly                                               f     1!'11        ®
                                                                     Convergence Marketing)
                                                                     Marketing & Advertising


                                                   Website                                                         Phone
                                            0      £QD.Wgfill=k!g.<.Q!U                                        \ , (443) 688-5100


                                                   Employees                                                         Headquarters
                                            M      230                                                          'f 7361 Coca Cola Dr, Hanover, Maryland, United States,
                                                                                                                     21076


                                                   Headquarters
                                            1ff 7361 Coca Cola Dr, Hanover, Maryland, United States,
                                                   21076


                                            ,.. marketing & advertising, marketing, advertising, lead generation, sales


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                                         About Match Converge (Formerly Convergence Marketing)

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                                         Canada. Centralized web based technology, deployment and advanced data retrieval. Thre ...
                                         Read more




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                                                                              Convergence Marketing)

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                                        Contacts at Match Converge (Formerly Convergence
                                        Marketing)


                                        Retail                                                                      Public Services Worker

                                                                                                                    Bob Bender
                                                                                                                                                                                                   Case ID: 191200012
https://www.apollo.io/companies/Match-Converge-Formerly·Convergence-Marketing·/54a12a6f69702da220541102?chart=count                                                                                             113
 6/12/2020           Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 255 of 267
                                         Vi'iual Merchandiser                                               VP Finance

                                                                                                            Brenda Carrera
                                          Retail Morchandis(Jr                                              Arca Manager

                                          CaSJie Stevenson
                                          Merchandiser                                                      Roal Estate Agent

                                                                                                            Derrick Crawford
                                          Houseman                                                          Nye




                                          Notable Alumni
                                         --------------
                                         Alexander UndsleY.
                                         ISO Inspector/Quality Control-~~                                Payroll Manager - B(lacon Stre<1t Ssryjces



                                         Anne Sieber                                                     Annette Greer
                                         Analyst- Retail Merchandising~                                  Project Admin Support Specialist • filBlKE




                                         Account Executive - Cal!Tr;i-kjngMg..l!.i£;.                    Regional Project Mannger - fQQlerint Retail Seivices



                                         Chavarria McCarter                                              Cjndi Leblanc
                                         Housekeopar- ~g~gi2ml.AirP-Q!l                                  CVS Sales Manager - CosPro M;;irf<qtiog



                                         Damara Mauti
                                         Registered Nurso - YE.MC.                                       Sales Representative - Arnerjcao E2storjors LLC




                                         Similar Companies to Match Converge (Formerly
                                         Convergence Marketing)

                                                                                        Barton E. Graf                                                          fimli~port Advertising

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                                         Technologies Used

                                         Microsoft-HS                                                    ASP.NET
                                         Load Balancers                                                  Frameworks and Programming Languages

                                         Outlook                                                         GoDaddy Hosting
                                         Email Providers.                                                Ho:;ting




                                         Browse Apollo 1 s Directories



                                           (pl       Company Directory Search



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             EXHIBIT ''H''




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        Corporations .....       Search Business Entities (corpsearch.aspx)

        Search UCC Transactions (uccsearch.aspx)             Forms .....


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               EXHIBIT ''I''




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                                          800 Connecticut Avenue
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                                             Norwalk, CT 06854




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                                                 5225 Satellite Drive
                                                Mississauga, Ontario
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                                                   Montreal
                                          4422A Rue Louis-B.-Mayer
                                            Laval, Quebec H7POG1




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              EXHIBIT ''J''




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        Corporations ...,.       Search Business Entities (corpsearch.aspx)


        Search UCC Transactions (uccsearch.aspx)             Forms...,.


        Contact Corporations (http://www.dos.pa.gov/BusinessCharities/Pages/default.aspx)

                                                                              Login (https://hub. business. pa.gov/login)



       Search entity I Select entity I Order documents



       Select Business Entity

            Search Results for term match marketing group type: Starting with




            No results found for search term



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             EXHIBIT ''K''




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                           FIR • :i"' . ~~' . .qrc'tf ~ENNSYLVANIA
                                   .      · Nll~ R\t~~L.        . rAL DIVISION
                                            T.· ITALIANO
 DIANNE COCHRAN                                                          Case ID #191200012


 v.
 ULTA BEAUTY, INC. and ULTA BEAUTY and
ERICA S. HARRELL



              CASE MANAGEMENT CONFERENCE MEMORANDUM

Filing party: DIANNE COCHRAN                                            By: TODD SAILER                                 , Esq.

Counsel's address and telephone .number (IMPORTANT) Todd M. Sailer, Esquire Falcon Law Finn, LLC
                          122 E. Court Street Doylestown PA 18901 Tel: 215-360-3880




                                                               Part A
                                          (to he completed in personal injury cases)

  1.    Date of accident or occurrence: ...:;M:.=:a::L.y--=6_,_,2::.;0:. : 1.:;_8_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        1 (a). Age of Plaintiff(s): _50~y.._r_s_D_IA_NNE
                                                     __C_O_C_HRA
                                                             _ _N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  2. Most serious injuries sustained: Cervical disc disorder w myelopathy, cervical radiculopathy, cervicalgia, lumbar
       radiculopathy, tear of medial meniscus of the left knee, post-concussional syndrome, post-traumatic headaches and head
       in'uries.

  3. Is there any permanent injury claimed?                                              0 Yes      D No
       If yes, indicate the type of permanent injury: _H_e_ad_,_,_ne_c-'k,,_b_ac_k-'----,le-"-ft.:::kn:c:..e'-e-----------




 4. Dates of medical treatment: _M_a~y_6~,_20_1_8_to_t_h_e,_pr_es_e_nt_~----------------

 5. Is medical treaiment continuing?                                                     0 Yes      D No
 6. Has there been an inpatient hospitalization?                                         0 Yes      0 No

This form shall be presented to the Case Manager and copies served upon all parties at
the Case Management Conference by counsel prepared to discuss its contents.
01-106 (Rev. 10/99) (1)




                                                                                                                 Case ID: 191200012
           Case 2:20-cv-04997-AB Document 2 Filed 10/21/20 Page 267 of 267
  7. Has t~as-ee4n20rf¥n9~~7-AB Document 1-1 Filed 10/08f?lJ1Ye'P.9ei:§~f65
        If yes, indicate the type of surgery: ::..:K:::;nc:...ee:....;s:..:ur::.Jg....:e..:..ry'----------------------

  8. Approximate medical bills to date: $.--'-To"-"-be;;_d=e..:...te'"'"'nn=1'"""·n_ed"'-------------------
        Approximate medical bills recoverable in this case: $_T..:...o_;;_be.:...·"""de-'--t_enn~in;;;..e;..;_d_ _ _ _ _ _ _ _ _ _ __

  9. Are there any existing liens {Workers Compensation, DPW, Medical, etc.)?                                 !ZI Yes D No
        If yes, what type and approximate amount? _W_o_rk_e_rs_c_o_m...:p_e_ns_a_ti_on_ _ _ _ _ _ _ _ _ _ _ _ __
10. Time lost from work: _5_/6_/2_0_1_8_to_t_h_e~pr_e_se_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~

11. Approximate past lost wages: _T_o_b_e_d_et_e_rmm_·_e_d_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

12. Is there a claim for future lost earning capacity?                                       IZI Yes      D No
       If yes, approximate future lost earning capacity: - - - - - - - - - - - - - - - - - - -
13. Are there any related cases or claims pending?                                          D Yes         IZI No
        if so, lis~ caption(s) or other appropriate identifier: - - - - - - - - - - - - - - - - - - -




14. Do you anticipate joining additional parties?                                           0 Yes         III No
15. Plaintiff's factual position as to liability: Plaintiff was working on a display at Defendants' store when due to
        Defendants' negligence an endcap shelving unit suddenly fell on top of her and violently knocked her backwards causing

         her .to fall to the floor and sustain serious injuries.



16. Defense factual position as to l i a b i l i t y : - - - - - - - - - - - - - - - - - - - - - - -




17. Defense position as to causation of injuries alleged: - - - - - - - - - - ' - - - - - - - - - -
18. Identify all applicable insurance coverage:
                          Defendant                                Insurance Carrier·                       Coverage Limits




       Are there issues as:to the applicability
       of the above insurance coverage:                                                     D Yes        0 No
19. Demand: $_P_o_l_ic~y_li_m_its_ _ _ _ _ _ _ _ _~                          Offer: $_o_.o_o_ _ _ _ _ _ _ _ _ __
01-105 (Rev. 10199) (2)




                                                                                                                        Case ID: 191200012
